Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 1 of 174




               The COVID-19 Outbreak at the
                Soldiers’ Home in Holyoke
                  An Independent Investigation
           Conducted for the Governor of Massachusetts
                          June 23, 2020




                                          Mark W. Pearlstein
                                          MCDERMOTT WILL & EMERY LLP
                                          200 Clarendon Street, 58th Floor
                                          Boston, Massachusetts 02116
                                          Telephone: +1 617.535.4000
                                          Email: mpearlstein@mwe.com
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 2 of 174




                                            TABLE OF CONTENTS


I.          Introduction ........................................................................................................6

II.         Executive Summary ............................................................................................9

III.        Scope and Approach to the Investigation ........................................................ 18

IV.         Fact-finding ...................................................................................................... 22
       A.   Background: the Soldiers’ Home .............................................................................................. 22
            1.         Legal posture ................................................................................................................. 22
            2.         Licensing, surveys, and inspections ........................................................................... 24
            3.         Funding .......................................................................................................................... 26
            4.         Physical plant and layout ............................................................................................. 27
            5.         Veteran population and services ................................................................................ 28
            6.         Leadership and staffing ................................................................................................ 29
            7.         General strengths and weaknesses of the Soldiers’ Home, and
                       comparison to the Chelsea facility ............................................................................. 30
       B.   Disputes concerning staffing levels and reporting structures during
            Superintendent Barabani’s tenure ............................................................................................. 33
       C.   Superintendent Walsh’s tenure ................................................................................................. 36
            1.         Background and selection as Superintendent ........................................................... 36
            2.         Management and leadership style............................................................................... 37
            3.         Interactions with the Board of Trustees ................................................................... 39
            4.         Leadership team ............................................................................................................ 41
                       i.           The Deputy Superintendent’s role ............................................................... 43
            5.         Quality of care and survey results .............................................................................. 45
            6.         Staffing levels................................................................................................................. 48
                       i.           The Moakley study ......................................................................................... 49
                       ii.          BRG analysis ................................................................................................... 51
                       iii.         Permanent schedule ....................................................................................... 56
       D.   The COVID-19 outbreak .......................................................................................................... 57
            1.         Guidance for healthcare facilities on the emerging COVID-19
                       pandemic ........................................................................................................................ 57
            2.         COVID-19 preparations at the Soldiers’ Home ...................................................... 63


                                                                    2
Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 3 of 174



           i.          2020 flu outbreak and response ................................................................... 63
           ii.         Initial COVID-19 preparations .................................................................... 64
           iii.        The Board of Trustees’ role during the outbreak ...................................... 65
           iv.         Additional restrictions on visitation and screening
                       measures for staff ........................................................................................... 67
           v.          Recreation and dining .................................................................................... 70
           vi.         Personal protective equipment ..................................................................... 71
           vii.        Other communications with staff about COVID-19
                       preparations ..................................................................................................... 72
           viii.       Communications with veterans’ families .................................................... 73
           ix.         Communications with the state agencies prior to the first
                       suspected case ................................................................................................. 74
           x.          Communications with labor unions regarding COVID-
                       19 preparations ............................................................................................... 74
           xi.         Creation of isolation areas in preparation for COVID-19
                       cases .................................................................................................................. 76
     3.    The response to suspected and confirmed cases of COVID-19 at
           the Soldiers’ Home ....................................................................................................... 78
           i.          Veteran 1 shows symptoms and is tested for COVID-19 ....................... 78
           ii.         Dr. Clinton becomes ill and leaves work .................................................... 80
           iii.        Response to Veteran 1’s positive test results ............................................. 80
           iv.         Discussions with families regarding MOLST forms ................................. 82
           v.          Continued discussions and disputes with labor unions
                       regarding COVID-19.................................................................................... 83
           vi.         Updated guidance and continued disputes regarding
                       protective equipment and infection control ............................................... 84
           vii.        Unit 2-North is closed and consolidated with Unit 1-
                       North ................................................................................................................ 87
           viii.       The outbreak spreads: more veterans test positive and the
                       death toll grows .............................................................................................. 92
     4.    Reporting out: requests for assistance and communications
           regarding reportable events ......................................................................................... 94
           i.          Reporting requirements related to COVID-19.......................................... 94
           ii.         Summary of reports-out and requests for advice and
                       assistance.......................................................................................................... 96



                                                        3
     Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 4 of 174



                      iii.         State and local leaders’ knowledge of the evolving crisis
                                   at the Soldiers’ Home .................................................................................. 108
          5.          Superintendent Walsh is placed on administrative leave, and an
                      Interim Administrator takes command of the Soldiers’ Home ........................... 109
                      i.           Val Liptak is appointed Interim Administrator, and a
                                   response team arrives at the facility ........................................................... 109
                      ii.          The response team’s observations regarding the
                                   condition of the Soldiers’ Home ................................................................ 111
                      iii.         Additional discussions with family members regarding
                                   MOLST status............................................................................................... 112
                      iv.          Final death toll .............................................................................................. 113

V.        Analysis and Recommendations .....................................................................114
     A.   The Soldiers’ Home leadership team made serious errors in responding to
          the COVID-19 outbreak.......................................................................................................... 114
          1.          Combining two locked dementia units containing veterans with a
                      mix of COVID-19 statuses, and failing to ensure an appropriate
                      standard of care on the newly combined unit ........................................................ 114
          2.          Failure to promptly isolate patients suspected of COVID-19
                      using the rooms set aside for isolation .................................................................... 116
          3.          Delays in testing additional veterans for COVID-19............................................ 117
          4.          Delays in closing common spaces ............................................................................ 118
          5.          Failure to stop rotation of staff among units ......................................................... 119
          6.          Inconsistent policies and practices with respect to personal
                      protective equipment ................................................................................................. 120
          7.          Document and recordkeeping failures .................................................................... 121
     B.   The Department of Veterans’ Services did not take steps to address
          substantial and long-standing concerns regarding the leadership of the
          Soldiers’ Home .......................................................................................................................... 122
     C.   Although Mr. Walsh reported other information that was inaccurate and
          incomplete, we have not identified any material violations of the reporting
          requirements concerning COVID-19 test results and deaths ............................................ 124
          1.          Inaccurate and incomplete information .................................................................. 124
          2.          No material violations of reporting requirements ................................................. 126
     D.   The Soldiers’ Home should not be exempt from the requirements for
          licensing and inspection that apply to other long-term care facilities in
          Massachusetts ............................................................................................................................ 128




                                                                   4
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 5 of 174



       E.   Staffing, technology, and physical plant improvements would help protect
            the veterans at the Soldiers’ Home......................................................................................... 129

VI.         Conclusion .......................................................................................................131

VII.        Table of Interviews Conducted ...................................................................... 133




                                                               5
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 6 of 174



                            “There are a lot of heroes in that building.”
                               Son of a veteran at the Soldiers’ Home
                                    Boston Globe, March 31, 2020


                                     I.      INTRODUCTION

        The Soldiers’ Home in Holyoke is a long-term care facility operated by the Commonwealth of

Massachusetts. Its residents are veterans, all of whom served this nation with honor, and in many instances

were responsible for acts of heroism during wartime. The employees of the Home—some of whom are

veterans themselves—are mission-driven and regard caring for the veterans as a special form of service.

Prior to the COVID-19 outbreak, i the care provided at the Home was generally quite good, and the

veterans were treated consistent with the Home’s mission to provide “Care with Honor and Dignity.”

        This investigation focuses on the COVID-19 outbreak at the Home in the spring of 2020. During

this tragedy, at least 76 veterans died with ii COVID-19, and an additional 84 veterans and over 80 staff

tested positive. 1 Governor Baker retained us to investigate the causes of this outbreak, with a goal of

preventing similar tragedies in the future. We were also asked to investigate whether the Home complied

with rules for timely reporting of COVID-19 infections and deaths to the Massachusetts Department of

Veterans’ Services and the Executive Office of Health and Human Services (“EOHHS”).

        To be sure, COVID-19 has exacted an almost unimaginable toll of death and devastation

throughout the United States. Long-term care facilities such as the Soldiers’ Home have been hit especially

hard: at least 80 long-term care facilities in Massachusetts alone had 20 or more COVID-19 deaths. 2 The

residents of any congregate living facility are at a heightened risk of contracting the disease, and when

those residents are elderly, the consequences of COVID-19 are substantially greater. The residents of the

Soldiers’ Home are indeed elderly, with an average age of 85,3 and many suffer from serious medical


iFor simplicity, we will refer to the SARS-COV-2 coronavirus and the resulting COVID-19 illness together as
“COVID-19.”
iiWe say died “with” COVID-19 because the scope of our investigation did not include determining causes of
death. The concept of deaths “with” COVID-19 is also consistent with EOHHS’s reporting requirements for
facilities such as the Soldiers’ Home.


                                                    6
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 7 of 174



conditions. Under ordinary circumstances, the baseline mortality rate at the Home is 10 to 12 veterans

per month. In this setting, the veterans were particularly at risk during the COVID-19 outbreak.

         Standing alone, neither the existence nor even the extensive scope of the COVID-19 outbreak at

the Soldiers’ Home demonstrate that the Home’s leaders—Superintendent Bennett Walsh and his clinical

and administrative teams—failed in their mission, or that the Commonwealth’s oversight of the Home

was insufficient. However, as detailed below, our analysis of the Home’s preparations for and response

to COVID-19 in light of existing public health recommendations has identified substantial errors and

failures by the Home’s leadership that likely contributed to the death toll during the outbreak. Indeed,

some of the critical decisions made by Mr. Walsh and his leadership team during the final two weeks of

March 2020 were utterly baffling from an infection-control perspective, and were inconsistent with the

Home’s mission to treat its veterans with honor and dignity.

         Our investigation also reveals failures relating to the appointment and oversight of Superintendent

Walsh by the Massachusetts Department of Veterans’ Services. While the Home’s leadership team bears

principal responsibility for the events described in this report, Mr. Walsh was not qualified to manage a

long-term care facility, and his shortcomings were well known to the Department of Veterans’ Services—

yet the agency failed to effectively oversee the Home during his tenure despite a statutory responsibility to

do so.

         The most substantial error by the Home’s leadership team was a decision on March 27, 2020 to

move all veterans from one of the two locked dementia units (2-North) into the other locked dementia

unit (1-North), where they would be crowded in with the veterans already living there. At the time, each

unit had some veterans who were COVID-19 positive, some who were suspected of having the disease,

and others who were displaying no COVID-19 symptoms. Rather than isolating those with the disease

from those who were asymptomatic—a basic tenet of infection control—the consolidation of these two

units resulted in more than 40 veterans crowded into a space designed to hold 25. This overcrowding was




                                                     7
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 8 of 174



the opposite of infection control; instead, it put those who were asymptomatic at even greater risk of

contracting COVID-19.

        Our interviews with the staff who were ordered to move veterans from 2-North into 1-North

were searing. One nurse described the move as “total pandemonium.”4 A recreational therapist who was

instructed to help with the move said that she felt like she was “walking [the veterans] to their death” and

that the veterans were “terrified.” 5 A social worker “felt it was like moving the concentration camp—we

[were] moving these unknowing veterans off to die.” 6 After the consolidation was completed, one nurse

described 1-North as being “like a battlefield tent where the cots are all next to each other.” 7 An

experienced healthcare administrator sent in three days later to address the crisis described the unit as

resembling “a war zone,” with some veterans clothed, some unclothed, and some obviously in the process

of dying from COVID-19. 8 A social worker vividly described the scene:

        I was sitting with a veteran holding his hand, rubbing his chest a little bit. Across from
        him is a veteran moaning and actively dying. Next to me is another veteran who is alert
        and oriented, even though he is on a locked dementia unit. There is not a curtain to shield
        him from the man across from him actively dying and moaning, or a curtain to divide me
        and the veteran I am with at the time, from this alert, oriented veteran from making small
        talk with the confused little fellow. He is alert and oriented, pleasantly confused, and
        talking about the Swedish meatballs at lunch and comparing them with the ones his wife
        used to make. I am trying to not have him concentrate on the veteran across from him
        who is actively dying, or the one next to him who I am holding his hand while he is dying.

        It was surreal . . . I don’t know how the staff over in that unit, how many of us will ever
        recover from those images. You want to talk about never wanting this to happen again. 9

        It appears that when COVID-19 struck the locked dementia units, the Home’s leaders’ focus

shifted from any attempt to prevent the spread of the virus within those units to preparing for the deaths

of scores of residents. Social workers were assigned to contact family members to discuss end-of-life

preferences. 10 On the afternoon of the consolidation, 13 additional body bags were delivered to the 1-

North unit. 11 A refrigerated truck, intended to supplement the limited capacity of the Home’s morgue,

arrived on Saturday, March 28. 12

        While decisions made by the Home’s leadership team contributed to this tragedy, and while Mr.

Walsh at times conveyed inaccurate or incomplete information about the Home’s response efforts, we do


                                                     8
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 9 of 174



not find a failure of reporting or an effort to conceal COVID-19 cases or deaths from the Department of

Veterans’ Services or EOHHS.           During the period through Sunday, March 29 (the day before

Superintendent Walsh was placed on administrative leave) the Home substantially complied with reporting

requirements established by state leaders. Those requirements called for notifications about (i) positive

COVID-19 tests and (ii) deaths of people who tested positive for COVID-19, but explicitly did not require

disclosure of the deaths of people suspected of having COVID-19 but for whom a positive test result had

yet to be obtained. 13 (The rules were soon updated to require the latter information).

        This limitation on reporting, which was not understood by senior leaders in the executive branch,

contributed to the confusion on March 29, when—on a widely reported phone call—Health and Human

Services Secretary Marylou Sudders told Holyoke Mayor Alex Morse that he was wrong in claiming that

eight residents had died over the weekend, and that there had been only two recent deaths. Mayor Morse

was, in fact, correct: the information on which Secretary Sudders relied had been accurately reported by

the Home as of that morning, but did not reflect other veterans who had passed after the Home’s daily

report had been submitted, or those for whom COVID-19 test results were still pending. That evening,

once the correct death toll was confirmed, Secretary Sudders organized a response team to arrive the next

morning and take command of the Home.


                                 II.      EXECUTIVE SUMMARY

        This report has three primary components. First, in Section III (Scope and Approach), we describe

how we conducted the investigation and the questions we sought to answer. The key point: this is an

independent investigation, and although Governor Baker retained us, neither he nor his team made any

effort to prescribe the scope, methods, or conclusions in this report. No one in state government has

made or requested any changes or redactions to it.

        In preparing this report, we conducted 111 interviews with 100 witnesses, and reviewed over

17,000 documents. No witnesses whom we deem critical to our work refused to be interviewed. This is




                                                     9
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 10 of 174



not a report based on anonymous sources: each material fact is cited to the references section on page 138,

identifying the documents and interviews we relied on.

        Next, in Section IV (Fact-finding) we review the legal structure, licensing, funding, leadership,

oversight, and operations of the Soldiers’ Home. While our report is not a history of the Soldiers’ Home,

we endeavored to analyze the relevant factors and events of the past several years that may have

contributed to what happened in the spring of 2020. This section also includes a quantitative analysis of

staffing levels, and a qualitative discussion of long-standing disputes between the Home and labor unions

concerning staffing. It also reviews complaints and disputes regarding Mr. Walsh’s management style prior

to the COVID-19 outbreak. We then present a detailed chronology of what happened inside the Soldiers’

Home during the COVID-19 outbreak, and of the Home’s reports out to state leaders and other efforts

to seek external assistance and advice.

        Finally, in Section V (Analysis and Recommendations) we present our findings and analysis of the

facts. The following is a brief summary of our analysis and recommendations:

        A.      The Soldiers’ Home leadership team made substantial errors in responding to the

COVID-19 outbreak. Even the best preparations and most careful response cannot eliminate the threat

of COVID-19. But this does not excuse a failure to plan and execute on long-standing infection control

principles and to seek outside help when it is required to keep patients safe—indeed, the extraordinary

danger of COVID-19 makes these steps all the more important. The following are the most important

errors and omissions that we identified on the part of the Soldiers’ Home leadership team:

    •   Combining two locked dementia units containing veterans with a mix of COVID-19
        statuses, and failing to ensure an appropriate standard of care on the combined unit.

        The worst decision made during the Soldiers’ Home’s response to COVID-19 occurred on the

afternoon of Friday, March 27, 2020. On that afternoon, a number of staff members had called in sick

for the evening shift that was about to begin. Because of the looming staff shortage, the Chief Nursing

Officer, with Mr. Walsh’s approval, decided that one of the Home’s two locked dementia units (2-North)

would be closed and consolidated with the other (1-North). 14 One social worker recalled raising concerns


                                                    10
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 11 of 174



with the Chief Nursing Officer about the risk of COVID-19 spreading, and the Chief Nursing Officer

responded that “it didn’t matter because [the veterans] were all exposed anyway and there was not enough

staff to cover both units.” 15

        This decision was a catastrophe. Staff describe the move as “total pandemonium,” “when hell

broke loose,” and “a nightmare.” 16 One staff member stated that she “will never get those images out of

my mind—what we did, what was done to those veterans,” and “thought my god, where is the respect and

dignity for these men?” 17 Other witnesses, including a command-response leader brought in three days

later to stabilize the situation, report that this “hot” unit had veterans “crammed in on top of each other,”

some of whom “were clearly dying.”18 There were “chairs of people lined up, some were clothed, some

unclothed, some were wearing masks, some weren’t.” 19 A number of witness accounts suggest that

veterans on the combined unit did not receive sufficient nursing care, hydration, or pain-relief medications

during the weekend of March 28 and 29, 2020. 20 We also note that several days before and after the

consolidation, the Chief Nursing Officer instructed social workers to call veterans’ family members in an

effort to persuade them to change their end-of-life healthcare preferences, such that they would not be

transferred to the hospital. 21

        During our interviews, no one apart from Vanessa Lauziere (the Chief Nursing Officer) would

admit to being involved in making the decision to consolidate the two units. Medical Director Dr. David

Clinton, who was present at the Home on the day of the consolidation, asserts that he “was not involved

in, or consulted” in this decision, and that he disagrees with it.22 We find this not to be credible, and at

the very least, that Dr. Clinton was aware (or should have been aware) of the move and did nothing to

stop it. The Assistant Director of Nursing and the Infection Control Nurse both report that they likewise

were not consulted about the decision, and believed it was a bad idea. 23 Superintendent Walsh indicates

that he was advised of the decision in a short phone call with Ms. Lauziere, and did nothing to probe or

evaluate whether this dramatic step was appropriate, or to speak with Dr. Clinton, the Infection Control

Nurse, or outside public health resources to obtain their views on this dramatic step. 24 Mr. Walsh knew



                                                     11
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 12 of 174



that the 1-North and 2-North units contained a mix of residents who were COVID-19 positive, who were

awaiting test results, and those who were asymptomatic. 25

        Mr. Walsh and Ms. Lauziere argue that because of staffing shortages, they had no choice but to

combine these units. 26    They are incorrect.      Within hours of arriving on March 30, 2020, the

Commonwealth’s emergency response team assessed the acuity of the patients and quickly sent many of

them to hospitals and other acute-care facilities.27 The same option was available to Mr. Walsh and his

team.

    •   Failure to promptly isolate patients suspected of COVID-19 using the rooms set aside for
        isolation.

        The first veteran (“Veteran 1”) was tested for COVID-19 on March 17, 2020—after showing

symptoms for weeks and after testing negative for other common respiratory conditions. 28 At the time,

testing guidelines authorized testing only of suspected COVID-19 cases, 29 and by any reasonable measure,

Veteran 1 represented a suspected case. But the Soldiers’ Home did nothing to isolate Veteran 1 at the

time of his test: he remained on the dementia unit, living in a room with three roommates, spending time

in a common room, and wandering the unit. 30 Only when his result came back positive four days later did

the staff move his roommates out and make efforts (largely unsuccessful) to keep Veteran 1 in his room.31

        Isolation of suspected and confirmed cases is required under the written COVID-19 guidelines

that the Centers for Disease Control and Prevention (“CDC”) and Massachusetts Department of Health

promulgated earlier in March 2020. Here, the failure to promptly isolate veterans suspected of COVID-

19 is egregious because the Home had already moved other veterans to create designated negative-pressure

isolation rooms, and later emptied a hospice unit for use as isolation space. These empty rooms were

never used. It appears that Dr. Clinton concluded that because Veteran 1 had already been walking around

the unit, the whole unit should be considered contaminated. Another factor was a perception that the

Home did not have enough staff to provide dedicated nurses or nursing aides to monitor veterans if they

were moved to the designated isolation unit. 32 This too is an inadequate justification. If in a long-term

care facility with a capacity for 248 veterans, there were a staff shortage that made it impossible to comply


                                                     12
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 13 of 174



with public health guidance and isolate one veteran, this would have been the time for Mr. Walsh and his

team to sound the alarm and seek more staff.33 They did not do so until much later.

        The failure to separate Veteran 1 from other asymptomatic residents was a mistake that was

repeated over and over again between March 17 and March 30, when Mr. Walsh was relieved of duty.

During that period, dozens of residents of the Soldiers’ Home were tested because they were suspected of

COVID-19, but in every instance they were allowed to remain in their units, posing continued infection

risks to their asymptomatic neighbors. Even positive test results did not prompt meaningful changes in

approach, as such residents were still allowed to remain in their units.

    •   Delays in testing additional veterans for COVID-19 when they were showing symptoms.

        Several witnesses report that the Soldiers’ Home leadership were reluctant to test Veteran 1, even

though he was showing COVID-19 symptoms. 34 Even after he was tested on March 17, 2020, the

leadership team failed to test additional veterans on the same unit who were showing COVID-19

symptoms. Instead, they waited until Veteran 1’s test results came back positive, allowing the virus

additional days to spread unchecked. 35 There is no justification for this delay, particularly where Dr.

Clinton had concluded earlier—at the time Veteran 1 was tested on March 17—that the whole unit had

likely been exposed to COVID-19.

    •   Delays in closing common spaces.

        The Soldiers’ Home leadership team was inexcusably slow in taking steps to close communal areas

to reduce the spread of COVID-19. Veterans were permitted in common recreation rooms until at least

March 16, and even then the canteen remained open to veterans living on the floor where it was located.36

Likewise, staff members were permitted to gather in the canteen and other common rooms until late

March. 37   Veterans were permitted to congregate in indoor smoking rooms until March 28 (a senior

physician with MassHealth noted that these smoking rooms should have been closed “a while ago.”).38

And even in heavily infected units such as 1-North, veterans were not restricted to their rooms and were

permitted to congregate in common areas as late as March 27. 39 One staff member saw Veteran 1 asleep



                                                     13
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 14 of 174



on the common area couch the evening after he was tested, and another staff member said that Veteran 1

was “still out with the other veterans and in the common area” as late as March 26. 40

    •   Failure to stop rotation of staff among units.

        The leadership of the Soldiers’ Home failed to prevent the rotation or “floating” of staff members

from unit to unit. This floating presents a substantial and obvious transmission risk.

        On March 29, 2020, as the crisis unfolded, Secretary Urena sent a series of text messages to Mr.

Walsh asking whether he had ensured that staff in the two infected units were not being “floated” to other

units. 41 Mr. Walsh replied: “We’ve done that for two weeks, attempt to keep same staff on same unit.”42

Mr. Walsh’s statement to Secretary Urena was false. For example, a registered nurse recalled that even

after Veteran 1 tested positive, nursing aides would be scheduled to work two hours on 1-North and then

directed to complete their shift on the third floor. 43 Another nursing aide reports that he treated Veteran

1 during a night shift on March 16-17, and then worked a shift on the 4-East unit the next evening—where

he was given a written reprimand by the Chief Nursing Officer for wearing personal protective equipment

while treating another veteran (who was vomiting and had diarrhea) because his decision to wear protective

equipment was “causing panic/anxiety among other staff members.” 44

        A number of staff members who floated from unit to unit later tested positive for COVID-19. 45

    •   Inconsistent policies and practices with respect to personal protective equipment.

        Upon her arrival at the Soldiers’ Home on March 30, 2020, the Interim Administrator observed

some staff with gowns but no masks; some with only masks; and some with only gloves on. 46 Her initial

assessment was that there was “no understanding of what the infection control guidelines were.”47

        Staff members also reported inconsistent policies for the use of personal protective equipment

(especially masks and gowns), and that the Soldiers’ Home took steps to make it more difficult to access

such equipment. As of early March, dispensers were removed from units based on concerns about

pilfering. The Soldiers’ Home’s approach to the use of personal protective equipment during the COVID-

19 crisis was inconsistent and unduly restrictive. Although healthcare facilities across the nation dealt with



                                                     14
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 15 of 174



limited supplies of personal protective equipment during the COVID-19 crisis, the Soldiers’ Home never

experienced a substantial shortage. Indeed, on March 19, 2020, the Soldiers’ Home in Holyoke provided

a supply of 60 extra N95 masks to the Soldiers’ Home in Chelsea, to help with a shortage there. 48

        At least 80 staff members at the Soldiers’ Home in Holyoke tested positive for COVID-19, likely

due at least in part as the Home’s failure to provide and require the use of proper protective equipment.49

    •   Recordkeeping and documentation failures.

        When the response team arrived to take command of the Soldiers’ Home on March 30, 2020, they

found an organization in disarray. Upon arrival, “we did not know what patients were in the Home or

where they were.” 50 The team began work to count, assess, and cohort the patients. The existing census

records were “incorrect” and “disorganize[d],” at best. 51 It was “complete mayhem.” There were “not

assessments being made on all patients,” and the physicians working at the facility were reluctant to

conduct rounds and examine veterans because of the risk of COVID-19. 52 The records concerning

veterans’ advanced directives (i.e., whether they wished to be hospitalized, intubated, or resuscitated) were

incomplete and disorganized. As one member of the team put it, “in my 35 years of nursing, I have never

seen such a cluster . . . When we asked [them] to describe census/staffing, there was nothing.”53 Tracking

where patients are within a facility and their medical conditions is, of course, a fundamental task in

healthcare administration. Reflecting long-standing failures of leadership and organization, the Soldiers’

Home failed this basic requirement.

                                             *       *        *

        These choices that Mr. Walsh made or approved show that he was unqualified to lead the Soldiers

Home. The clinical staff made the wrong clinical decisions, and Mr. Walsh failed in his duty to oversee

them and ensure a robust decision-making process.

        Massachusetts law requires that those in charge of long-term care facilities be licensed nursing

home administrators. This is not to say that they must be clinicians, but rather that they must have a

baseline understanding of the operations of a healthcare facility, how to supervise clinical decisions and



                                                     15
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 16 of 174



medical care, and how to ensure that the needs of patients are met. This is a difficult standard, and such

administrators are in high demand.

        The Massachusetts Department of Public Health considers the Soldiers’ Home to be exempt from

the requirement to have a licensed administrator, because it is a state-run facility. 54 Indeed, Mr. Walsh

lacked such a license, or any experience whatsoever in managing a healthcare facility. When he began

searching for employment following the conclusion of his distinguished military career, Mr. Walsh initially

sought a position as a security consultant, and even pursued such a position at the MGM Casino in

Springfield, Massachusetts.55 He only pivoted his career search to long-term care when a state legislator

suggested he apply to run the Soldiers’ Home, and assured him that his lack of clinical experience would

not be an impediment. 56

        Once in his role, Mr. Walsh saw his job as being the “outside man” while the Deputy

Superintendent was the “inside man.”57 Secretary Francisco Urena (head of the Department of Veterans’

Services) “had conversations with [Mr. Walsh] about spending more time at the Home versus political

engagements.” 58 When the Deputy Superintendent (a licensed nursing home administrator) resigned in

frustration with Mr. Walsh in June 2019 and the role sat vacant until March 30, 2020, the Soldiers’ Home

faced a gaping leadership deficit. Making matters worse, there was extensive turnover among Mr. Walsh’s

leadership team during this period, including the Chief Nursing Officer, Agency Counsel, Operations

Manager, and others.

        B.      The Department of Veterans’ Services did not take steps to address substantial and

long-standing concerns regarding the leadership of the Soldiers’ Home.                  We find that the

Department of Veterans’ Services failed in its responsibility to oversee the Soldiers’ Home. Secretary

Urena recommended and approved Mr. Walsh’s appointment despite his lack of any healthcare

administration experience. Once Mr. Walsh was in the role, Secretary Urena and his Chief of Staff soon

developed concerns about his performance. They felt his communication skills were “poor” and he was

“cryptic” and “not forthright in his communications.” 59 They thought he was “in over his head” and did



                                                    16
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 17 of 174



not spend enough time at the Home. 60 They observed massive turnover in Mr. Walsh’s staff, including

clinical leadership positions. They had to hire an executive coach to work with Mr. Walsh on his anger

management, and then had to extend this appointment in response to more complaints. And they were

concerned that Mr. Walsh tried to control the flow of information in and out of the Home. Secretary

Urena asserts that at one point, Mr. Walsh asked the Secretary of EOHHS to bar Secretary Urena from

visiting the Home without giving Mr. Walsh prior notice. 61 Despite all this, Secretary Urena did not take

sufficient action to address Mr. Walsh’s deficits, and allowed the Deputy Superintendent role to remain

open for nine months—including the period of the COVID-19 outbreak.

        One resource that should have been available to bring healthcare oversight experience was the

Executive Director of Veterans’ Homes. In 2016, the Legislature created this role within the Department

of Veterans’ Services with reporting and oversite responsibilities for the Soldiers’ Home. The statute

requires that an experienced healthcare executive hold this role. But the position—mandated by statute—

was never filled, for budget reasons.

        A key oversight function is to make sure the right people are in important jobs. Here—for good

reason—the Department of Veterans’ Services leaders did not believe Mr. Walsh was the right person for

the job, but they did not take action to assure that there was competent leadership in place at the Soldiers’

Home.

        C.      Although Mr. Walsh reported other information that was inaccurate and

incomplete, we have not identified any material violations of the reporting requirements

concerning COVID-19 test results and deaths. Mr. Walsh’s communications with the Department of

Veterans’ Services and the Department of Public Health omitted important information, and at times,

contained affirmatively inaccurate information. But we find no instances where the Soldiers’ Home

leadership committed material violations of the reporting requirements concerning COVID-19 test results

and deaths. Indeed, much of the confusion on this issue appears to be the result of evolving reporting

requirements including a policy (during the relevant time period) that only deceased veterans who were



                                                     17
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 18 of 174



confirmed to be COVID-19 positive (rather than those awaiting test results) were to be included in certain

death tolls. 62 Thus, when the Home reported the number of “deaths” through March 30, this total—

consistent with the requirements—referred to the number of deaths of veterans who had tested positive

for COVID-19 as of the time of each report. However, it appears that leaders in EOHHS misunderstood

these reports, thinking that they reflected the total death toll including veterans who were symptomatic

and awaiting test results.

        D.       Finally, we suggest a number of staffing, technology, and physical plant

improvements, and recommend that the Soldiers’ Home should not be exempt from the

requirements for licensing and inspection that apply to other long-term care facilities in

Massachusetts. Our recommendations concerning licensing and inspections stem from a simple premise:

the veterans who served our country and spend the last years of their lives at the Soldiers’ Home deserve—

at a minimum—the same standards and protections as residents at private long-term care and nursing

facilities. This is not to say that someone cannot do a good job as Superintendent without being licensed—

but licensure in this profession (like other professions for which Massachusetts requires licensure) is one

way to help ensure a baseline of competence. The same is true as to the Commonwealth’s licensing and

inspection regime for long-term care facilities. Again, we can think of no reason or explanation why the

veterans at the Soldiers’ Home should not receive the same protections as residents at private facilities.


               III.    SCOPE AND APPROACH TO THE INVESTIGATION

        On April 1, 2020, Governor Baker retained Mark W. Pearlstein of McDermott Will & Emery LLP

(“McDermott”) to investigate the COVID-19 outbreak at the Soldiers’ Home. We have been tasked with

answering three questions.

    •   First, what caused and contributed to the COVID-19 outbreak at the Soldiers’ Home?

    •   Second, did the Soldiers’ Home’s leadership comply with applicable requirements to provide
        timely and accurate counts of the number of infected patients and staff, and the number of deaths
        associated with COVID-19?




                                                     18
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 19 of 174




    •     Third, what if anything can be done in the future to prevent or reduce the likelihood of a similar
          outbreak?

          In addressing these questions and preparing this report, we have focused on the period of the

COVID-19 outbreak during the tenure of Bennett Walsh as Superintendent of the Soldiers’ Home (i.e.,

from early March 2020 until Mr. Walsh was placed on administrative leave on March 30, 2020). However,

to understand the events of this time period, we have studied and will summarize events long before the

spring of 2020, as well as the work of the emergency response team that took command of the Soldiers’

Home after Mr. Walsh was placed on leave. That said, this report is not a comprehensive modern history

of the Soldiers’ Home. We do not purport to catalog all important events that occurred at the Home, and

focus instead on the facts, people, and issues relevant to the questions Governor Baker has assigned us to

answer.

          It is important to emphasize the independence of our work. Although Governor Baker retained

us, neither he nor his team made any effort to prescribe the scope, methods, or conclusions of this

investigation. No one in state government has made or requested any changes or redactions to it.

          We conducted this investigation based on interviews with witnesses and subject-matter experts (all

using video- and tele-conferencing), statistical analysis regarding staffing patterns, and an extensive review

of paper and electronic documents. We operated without the authority to compel testimony or the

production of documents. However, we are grateful that the witnesses we contacted were overwhelmingly

cooperative. Some of these interviews were extraordinarily difficult conversations: they included

discussions with staff members still battling COVID-19 and grappling with the trauma they observed and

experienced during the outbreak, as well as conversations with family members who had recently lost loved

ones whom they had been unable to visit from the time the outbreak began.

          No witnesses whom we deem critical to our work refused to be interviewed or materially limited

the time that they made available to speak with us, or refused to answer any questions that we deem

material to our work. We did not agree to conduct any interviews about the events of March 2020 on an

anonymous basis. We have generally included the names of important actors within the body of our


                                                     19
          Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 20 of 174



report, while referring to other witnesses based on their roles or titles. However, all sources of information

are identified by name in the compendium of references and citations that appears in Section VIII of this

report.

          Likewise, a number of witnesses agreed to provide documents and records to aid our investigation.

In particular, we are grateful to the team at the Massachusetts Executive Office of Health and Human

Services (“EOHHS”), led by its General Counsel Sharon Boyle, who coordinated the collection and

production of hard-copy and electronic documents and communications from the Soldiers’ Home and

other agencies and departments within the executive branch of state government (and did so on a highly

expedited basis). Among other things, we collected emails and text messages from a number of senior

EOHHS and Soldiers’ Home leaders. iii

          EOHHS attorneys withheld 138 responsive documents based on an assertion of attorney client

privilege.

          In all, the McDermott team reviewed over 17,000 documents and conducted 111 interviews with

100 distinct witnesses. We interviewed Mr. Walsh three times, each in the presence of his attorneys. Two

other witnesses (Assistant Director of Nursing Celeste Surreira and former Medical Director Dr. David

Clinton) also elected to have their personal attorneys present for our interviews. Ms. Boyle attended the

interviews of a number of witnesses in her role as General Counsel of EOHHS. Some members of the

labor unions that provide staffing at the Soldiers’ Home exercised their rights to have union representatives

attend their interviews.

          We note that the labor unions in question—SEIU Local 888 and the Massachusetts Nurses

Association—cooperated with our investigation and indeed were vital in helping to identify their members




  The custodians from whom we collected emails or text messages include: Bennett Walsh, Vanessa Lauziere,
iii

Vanessa Gosselin, Celeste Surreira, Mark Yankopoulos, Jessica Powers, Marylou Sudders, Catherine Mick,
Daniel Tsai, Catherine Starr, Marianne Dill, and Francisco Urena.


                                                     20
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 21 of 174



who might have relevant information, and to coordinate and encourage their members to participate in

our interviews.

        We also relied on statistical and subject-matter expertise from consultants at Berkeley Research

Group, LLC, whom we retained in support of our investigation. Greg Russo led the statistical analysis of

staffing patterns discussed in Section IV(C)(6). Karl Bartscht—an experienced skilled-nursing home

administrator and consultant—shared his expertise to give context to our observations and

recommendations.

        Our investigation was one of several parallel investigations reviewing the COVID-19 outbreak at

the Soldiers’ Home. In addition to the McDermott team, investigators from the Office of the Attorney

General of Massachusetts and the United States Attorney for the District of Massachusetts are conducting

active investigations of this matter. Likewise, other state and federal government institutions have

announced their intent to investigate. There are also public reports that the Massachusetts Office of the

Inspector General is investigating Mr. Walsh and other matters related to the Soldiers’ Home. 63 However,

with one exception, we conducted all of our interviews and research separately and independently from

the other investigations. The only exception was interviews with seven family members of Soldiers’ Home

veterans. We conducted these interviews together with teams from the Office of the Attorney General

and the United States Attorney’s Office in order to avoid further traumatizing family members with

requests for repeated interviews about the same painful subject-matter. Earlier in the course of our work,

we conducted interviews with a number of other family members of veterans at the Home independently

from the teams conducting the other investigations.

        In addition to Mr. Pearlstein, the McDermott team working on this investigation consisted of

attorneys Matthew Knowles, Elizabeth Rodd, Greer Griffith, Natasha Dobrott, Jeffrey York, Adam

Camiel, Dean Butkovich, and Rachel Lewis, as well as paralegal Alyse Mauro.




                                                   21
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 22 of 174




                                        IV.      FACT-FINDING

A.      Background: the Soldiers’ Home

        1.        Legal posture

        There are two state veterans’ homes iv in Massachusetts: the Soldiers’ Home in Holyoke and the

Soldiers’ Home in Chelsea. v The legislature established the Soldiers’ Home in Holyoke in Chapter 475 of

the session laws of 1946, which authorized construction of a 200-bed veterans’ home in which “hospital

and domiciliary care shall be provided in like manner as that provided” at the Soldiers’ Home in Chelsea,

which has been in operation from 1882. 64 The Soldiers’ Home in Holyoke opened and began accepting

veterans in 1952. 65

        Section 70 of Chapter 6 of the General Laws created a volunteer Board of Trustees to manage the

Soldiers’ Home:

        There shall be a board of trustees of the Soldiers’ Home in Holyoke, consisting of seven
        persons, who shall be residents of the counties of Berkshire, Franklin, Hampden and
        Hampshire. Each of said counties shall be represented on said board by at least one trustee
        who is a resident therein. Upon the expiration of the term of office of a member, his
        successor shall be appointed by the governor, with the advice and consent of the council,
        to serve for seven years. The governor shall designate one of the members as chairman.
        The members shall serve without compensation, but shall receive their necessary expenses
        incurred in the discharge of their official duties.

Mass. Gen. Laws ch. 6, § 70.          The next section specifies the Board’s powers and those of the

Superintendent whom the Board is authorized to appoint:

        The board of trustees of the Soldiers’ Home in Holyoke shall manage and control the
        Soldiers’ Home in Holyoke and all property, real and personal, of the commonwealth that
        is occupied or used by the home. In the management and control of the home, the board
        of trustees shall: (i) adopt reasonable rules and regulations governing outpatient treatment
        at, admission to and hospitalization in the home; and (ii) appoint a superintendent. The

ivA state veterans’ home is defined as “a home recognized and, to the extent required by this part, certified
pursuant to this part that a State established primarily for veterans disabled by age, disease, or otherwise, who
by reason of such disability are incapable of earning a living. A State home must provide at least one program
of care (i.e., domiciliary care, nursing home care, or adult day health care).” 38 C.F.R. § 51.2.
v The formal name of the Chelsea facility is the “Soldiers’ Home in Massachusetts,” and it is referred to in this
way in the General Laws. See Mass. Gen. Laws. ch. 6 § 41. To avoid confusion, we will refer to the Chelsea
facility as the “Soldiers’ Home in Chelsea,” and the Holyoke facility as the “Soldiers’ Home in Holyoke” or
simply the “Soldiers’ Home.”


                                                       22
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 23 of 174



        superintendent shall be the administrative head of the home. The superintendent shall,
        subject to the approval of the trustees, appoint and may remove a medical director, a
        treasurer and an assistant treasurer . . . The medical director shall have responsibility for
        the medical, surgical and outpatient facilities and shall make recommendations to the
        superintendent regarding the appointments of all physicians, nurses and other medical
        staff. The superintendent shall also appoint and remove such other persons as the
        superintendent deems necessary for the proper and efficient operation of the facilities of
        the home.

Mass. Gen. Laws ch. 6, § 71. However, Section 71 (last amended in 2016) should be read in conjunction

with Mass. Gen. Laws ch. 17 § 17 (“Commissions and boards serving under the governor”) (last amended

in 2013), which provides that:

        the superintendent [and] the board of trustees of the Soldiers’ Home in Holyoke . . . shall
        serve under the governor, and shall be subject to such supervision as the governor deems
        necessary and proper.

        There is no express statutory requirement that the Superintendent of the Soldiers’ Home be a

licensed nursing home administrator, or that the Superintendent have any health care or medical

experience.

        The Department of Veterans’ Services, an agency within EOHHS, has supervisory and

administrative responsibility for the Soldiers’ Home. 66 In 2016, the Legislature created an additional

position within the Department of Veterans’ Services with reporting and oversite responsibilities for the

Soldiers’ Home:

        (a) There shall be within the department of veterans’ services an office of veterans’ homes
        and housing. The commissioner of veterans’ services shall appoint an executive director
        of veterans’ homes and housing who shall have: (i) at least 5 years of management,
        healthcare experience and (ii) military or other experience working with veterans . . . The
        executive director may, with the approval of the commissioner of veterans’ services,
        appoint and remove any employees necessary to carry out the duties of the office . . .

        The office shall: (i) coordinate and oversee implementation and enforcement of laws,
        regulations and policies relative to the veterans’ homes and other housing for veterans;
        and (ii) investigate and make recommendations on best practices for providing housing
        for veterans.

        The executive director shall meet with the board of trustees of the Soldiers’ Home in
        Massachusetts and the Soldiers’ Home in Holyoke jointly at least twice per calendar year.
        The executive director shall have access to all property of the commonwealth under the
        oversight of the department of veterans services to carry out the duties of the office;
        provided, however, that the boards of trustees of the Soldiers’ Home in Massachusetts


                                                     23
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 24 of 174



        and the Soldiers’ Home in Holyoke shall not be subject to the control of the executive
        director; and provided further, that the executive director shall not have control over the
        day-to-day operations of the Soldiers’ Home in Massachusetts or the Soldiers’ Home in
        Holyoke.

        (b) Annually, not later than November 1, the office shall submit a report to the general
        court on the state of the soldiers’ homes. The report shall include findings relative to: (i)
        the quality of care provided at the homes; (ii) the financial status of the homes; (iii) the
        uniformity of programs at the homes; (iv) the capital needs of the homes; and (v) the status
        of the United States Department of Veterans Affairs’ accreditation, including the efforts
        necessary to maintain compliance and the efforts necessary to become fully compliant
        with the United States Department of Veterans Affairs’ standards at each soldiers’ home
        ....

Mass. Gen. Laws ch. 115A, § 12.

        During our investigation, Francisco Urena (who serves as the Secretary of the Department of

Veterans’ Services) explained that the role of Executive Director of Veterans’ Services was never filled, for

budget reasons. 67 Specifically, according to Secretary Urena, the position was “never funded” by the

Legislature. 68 The Soldiers’ Home has submitted four annual reports to the legislature pursuant to

subsection (b) of § 12. 69 None of these reports reference that the role created under § 12(a) was unfunded

and unfilled.

        2.       Licensing, surveys, and inspections

        Under Massachusetts law, “no person shall establish or maintain a long-term care facility without

first having obtained a license from the Department [of Public Health] or submitted an application for a

license.” 70 A long-term care facility is:

        Any institution, whether conducted for charity or profit, that is advertised, announced or
        maintained for the express or implied purpose of providing four or more individuals
        admitted thereto with long-term resident, nursing, convalescent or rehabilitative care;
        supervision and care incident to old age for ambulatory persons; or retirement home care
        for elderly persons. Long-term care facility shall include convalescent or nursing homes,
        rest homes, infirmaries maintained in towns and charitable homes for the aged. 71




                                                     24
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 25 of 174



          Department of Health regulations provide that “[i]n facilities providing Level I, II or III care, vi the

administrator shall be a nursing home administrator licensed by the Board of Registration of Nursing

Home Administrators.” 72 The “Administrator” is “the person charged with general administration of the

facility.” 73

          Licensed facilities in Massachusetts are also required to be inspected at least once a year. 74 Federal

regulations provide that state veterans’ homes must comply with state and local licensure laws “where

licensing is required” 75 in order to receive per diem payments from the VA. 76

          However, notwithstanding these requirements, the Soldiers’ Home is not licensed by EOHHS or

enrolled as a provider with the Centers for Medicare and Medicaid Services (“CMS”), which means the

Home is not subject to Medicare Requirements of Participation. vii In determining that the Soldiers’ Home

and its administrator are not subject to licensing requirements, EOHHS looks 77 to Mass. Gen. Laws ch.

111 § 71, which delegates licensing authority to the Department of Public Health to issue licenses to “any

person” suitable to hold a license—and notes that the statutory definition of “person” includes natural

persons and corporations, but not government entities. 78 Likewise, § 71 enumerates the facilities to which

it applies—“an infirmary maintained in a town, a convalescent or nursing home, a rest home, a charitable

home for the aged or an intermediate care facility for persons with an intellectual disability”—and this list

does not include veterans’ homes. 79

          Unlike licensed long-term care facilities in Massachusetts, the Soldiers’ Home is not inspected

annually by the Department of Public Health. Instead, the Soldiers’ Home is surveyed annually by the VA

and every three years by The Joint Commission (formerly known as the Joint Commission on

Accreditation of Healthcare Organizations), a private accrediting organization. VA surveys take

approximately about three days, which is about the same amount of time as conventional state surveys. 80


 The Soldiers’ Home has units that provides Level II and Level III care under the applicable regulations. See
vi

105 C.M.R. § 105.001.
  The Soldiers’ Home in Chelsea is licensed and surveyed by CMS through the Division of Health Care Facility
vii

Licensure and Certification. See State of the Commonwealth’s Soldiers’ Homes (October 2019) (GOV0083327).


                                                        25
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 26 of 174



Surveys conducted by The Joint Commission take approximately three to seven days, depending on the

size and condition of the facility.

         We asked several witnesses for their impressions of the various survey processes. Mark Bowman,

President of the National Association of State Veterans’ Homes, observed that there is a difference in what

each survey evaluates because there is a difference in the CMS requirements and the VA guidelines.81

Ronald Patenaude, a former SEIU Local 888 union representative and current Massachusetts Nursing

Association representative, expressed concerns about the rigor of the VA and Joint Commission surveys,

noting that in his view, the VA survey is not based on “science or need,” and that the Joint Commission

is a private, member-funded organization. 82

         3.      Funding

         The Soldiers’ Home receives funding from the Commonwealth’s annual general appropriations

acts. 83 Reimbursements received by the Soldiers’ Home for care rendered, from either patients or the VA,

revert to the Commonwealth to offset operating costs, with the exception of a small portion set aside for

retained revenues. 84 The table below compares the Soldiers’ Home 2019 and 2020 funding 85:

 Holyoke Soldiers’ Home State Funding                       Fiscal Year 2019     Fiscal Year 2020
 Holyoke Soldiers’ Home Administration and Operations       $ 22,592,998         $ 23,859,727
 Holyoke Antenna Retained Revenue                           $ 5,000              $ 5,000
 Pharmacy Co-Payment Retained Revenue                       $ 110,000            $ 110,000
 Holyoke Telephone and Television Retained Revenue          $ 50,000             $ 50,000
 Holyoke 12 Bed Retained Revenue                            $ 744,043            $ 909,000
 License Plate Retained Revenue                             $ 400,000            $ 990,000
 Total                                                      $ 23,902,041         $ 25,424,627

         The Soldiers’ Home charges veterans $10 per day for dormitory services and $30 per day for long-

term care services, including hospice and dementia care. 86 Under the State Home Per Diem program, the

VA pays recognized state veterans’ homes a per-diem amount for care provided to eligible veterans. The

per-diem rates for state veterans’ homes vary based on the level of care and disability rates and are




                                                    26
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 27 of 174



determined by the federal Secretary of Veterans’ Affairs. 87 In Fiscal Year 2020, the VA’s basic per diem

rates were $48.50 for veterans staying in a dormitory, and $112.36 for veterans receiving long-term care.88

         In addition, the Soldiers’ Home is eligible to receive VA funds under the Veterans’ Affairs State

Home Construction Grant Program, which disburses grants covering 65% of expenses for select projects

for state veterans’ homes. In early 2020, the Soldiers’ Home was in the process of securing a State Home

Construction Grant for an electronic medical record system to replace its existing paper system.89

         The Soldiers’ Home Board of Trustees manages funds (separate from the state budget) in the form

of “trustee funds.” 90 Trustee funds are mainly comprised of donations from families, as well as donations

from events such as motorcycle rides.91 These funds are discretionary in nature; the Board of Trustees can

deploy them as it sees fit, or on a recommendation from the Superintendent. 92 For example, when the

Soldiers’ Home was short on electrical hospital beds, the Board of Trustees used trustee funds to make up

the gap. 93

         Unlike the Soldiers’ Home in Holyoke, the Soldiers’ Home in Chelsea is authorized to bill Medicare

for care reimbursement as to a certain number of beds in the facility. 94

         4.       Physical plant and layout

         The Soldiers’ Home in Holyoke consists of two primary buildings: the main building that houses

the long-term care facility and administrative offices, and a separate building that houses the 30-bed

dormitory facility. 95

         Designed in 1948 by William Nelson Jacobs, the main building was first occupied in 1952. 96 A

large “north addition” was added in 1972, further expanding the campus’ footprint. 97 The main building

and north addition is 227,915 square feet, with a maximum capacity of 278 beds. 98 There are veteran care

units on four floors of the building, which are divided into five “Care Centers.” There are two specialty

Care Centers. Care Center 1 consists of two locked units (Units 1-North and 2-North) for patients with

dementia or other cognitive problems who are at risk of wandering off the unit. Care Center 2S consists

of Unit 2-South, a twelve-bed hospice unit. The remainder of the units in the long-term care facility house



                                                     27
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 28 of 174



the general veteran population. This table describes the units and average veteran census at the Soldiers’

Home as of February 2020:

 Care Center:          Units:                      Census (Feb. 2020 average): Notes:
 Care Center 1         1 North, 2 North            44.3                        Locked dementia units
 Care Center 2         2 East, 2 West              55.5
 Care Center 2S        2 South                     7.5                         Hospice unit
 Care Center 3         3 North, 3 East, 3 West     73.9
 Care Center 4         4 East, 4 West              46.3

        The first floor of the facility includes the kitchen and main dining area as well as a chapel.99 The

second floor has a restaurant-style canteen and patio, as well as a smoking lounge. 100 The administrative

offices for the Superintendant and other senior staff at the facility are located on the fifth floor of the

building, separate from the veteran floors. 101

        Impressions of the physical state of the Soldiers Home in Holyoke are mixed. Some witnesses

described a dirty and tired facility with outdated infrastructure in need of updating, with peeling wallpaper

and ripped furniture. 102 Some family interviews described a “filthy,” un-vacuumed facility, with staff using

dirty mops to clean. 103 Some witnesses described a building with the odor of urine and feces, with unclean

bathrooms. 104 Several family members noted that the smell problems have become worse in the past few

years. 105 We do not doubt the accuracy of these observations, but many others we interviewed, including

staff, depicted the facility as clean and “well-maintained” in light of being built in 1952. 106

        Generally, veteran rooms measure at least 115 square feet per resident in multiple-resident

bedrooms, and have no more than four residents per room. 107 “Small” double resident bedrooms measure

at least 245 square feet, and “large” double resident bedrooms measure at least 305 square feet.108 Single

resident bedrooms measure at least 150 square feet.109 Veteran rooms in the dementia units house four

veterans each, with a living room in the center of each Unit. 110 Solariums (common lounges) are located

on the second, third, and fourth floors. 111

        5.       Veteran population and services

        The Soldiers’ Home provides housing, long-term care, and outpatient health care services to

eligible veterans in Massachusetts. It is one of the largest long-term care facilities in New England.112


                                                       28
          Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 29 of 174



Veterans are eligible to receive services at the Soldiers’ Home if they were honorably discharged and

(i) served 180 days of regular active-duty military service, or (ii) served 90 days on active-duty, at least one

day of which was during wartime. Veterans who received the Purple Heart or have a service-connected

disability are also eligible. 113

            The Soldiers’ Home’s dormitory enables veterans to live independently—the facility primarily

provides food and shelter. Veterans housed in the dormitory receive psychosocial support, as well as

medical care from the outpatient department at the Home. 114

            The long-term care units house and treat veterans with wide varieties of ailments who cannot live

in an independent environment. 115 Staff provide veterans in the long-term care units with nursing care,

assistance with daily living, toileting care, eating assistance, transferring assistance, medication

management, wound care, restorative care, and maintenance care.116 In addition, Soldiers’ Home staff

coordinate general activities such as bingo, music activities, and other games in the recreational area. 117

            The specialty hospice unit is staffed by an outside hospice service provider. The Soldiers’ Home

also contracts with an outside service that provides rehabilitation services to veterans in the long-term care

facility. viii

            Between 2016 and 2019, the average yearly mortality rate of the Soldiers’ Home long-term care

residents, including the hospice and dementia units, was 147 veterans per year. 118

            6.      Leadership and staffing

            Massachusetts General Laws ch. 6, § 71 provides that the Board of Trustees “shall manage and

control” the Soldiers’ Home and appoint a Superintendent who “shall be the administrative head of the

home.” The statute authorizes the Superintendent (with approval of the Trustees) to appoint a Medical

Director, Treasurer, Assistant Treasurer, and “other persons as the [S]uperintendent deems necessary and

proper for the efficient operation of the facilities of the home.” 119



   The rehabilitation services provider, Genesis Rehab Services, declined to speak with McDermott despite
viii

several requests to participate in an interview.


                                                       29
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 30 of 174



        In recent years, the Superintendent and Trustees have established and filled a series of additional

leadership positions.   In addition to the Superintendent and Medical Director, there is a Deputy

Superintendent, Chief Financial Officer, Chief Operations Officer (primarily tasked with operating the

physical plant and facilities department), Agency Counsel, Chief Nursing Officer (until the fall of 2019,

this role was known as the Director of Nursing), Assistant Director of Nursing, Director of Human

Resources, Communications Director, and Infection Control Nurse. 120 As discussed below, not all of

these roles were filled consistently, and they experienced considerable turnover in the last decade.

        The next level of leadership within the Soldiers’ Home is the Veteran Care Coordinators, a role

akin to a unit manager—each a registered nurse with overall responsibilities for one of the five Care

Centers. 121 The majority of the veteran care is provided by the nursing staff, consisting of a mix of

registered nurses, licensed practical nurses, and certified nursing assistants (i.e., nursing aides). 122 The

Soldiers’ Home also employs social workers, recreational staff, housekeeping staff, a dietary staff, and a

maintenance staff.123

        7.      General strengths and weaknesses of the Soldiers’ Home, and comparison to the
                Chelsea facility

        The interviews we conducted revealed a remarkable and commendable theme: the front-line staff

at the Soldiers’ Home provide quality, compassionate, and affordable care for veterans. 124 These are

mission-driven healthcare workers. Working in a nursing home or long-term care facility is challenging,

but it is apparent that the Soldiers’ Home staff take great pride in caring for the veterans and providing a

nurturing environment. Indeed, the Soldiers’ Home staff are deeply devoted to the veterans, frequently

referring to veterans receiving care at the facility as “our guys,” or “our veterans.” 125 A number expressed

their grief about the deaths of veterans on their units with whom they had become close over the years.

EOHHS Secretary Marylou Sudders lauded the “homey” feel of the Soldiers’ Home, noting that it is more

“than a nursing home, per se.” 126 It is. Staff at the Soldiers’ Home feel a genuine connection with the

veterans, and some care providers have been at the facility for many years (e.g., tenures of 20+ years are




                                                     30
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 31 of 174



not uncommon). Trustee Cindy Lacoste described the home as a “jewel and treasure in the area” and

reports that families of veterans have told her the care they received is “phenomenal.” 127

        Staff frequently refer to the facility as “a wonderful place” 128 and note that it is “100% better than

nursing homes.” 129 Staff members also informed us that up until recently, “it was hard to get a job at the

home” and “you had to know people to get in.” 130 Staff explained that historically, it was difficult to get

a job at the Soldiers’’ Home because it “had a reputation as a great place to work.” 131 Staff and

administrators agree that the wages at the Soldiers’ Home are generally competitive with private facilities,

and that workers are drawn to the additional benefit of a state pension. 132

        Another significant strength of the Soldiers’ Home is the cost of care. Superintendent Walsh

noted that the average family paying for veterans’ care at the home saves approximately $115,000 when

compared to alternative care arrangements. 133 With veterans only having to pay a modest daily fee to

receive care, including high-acuity veterans with dementia, the cost is indeed modest. 134

        One tradition at the Soldiers’ Home merits special mention. When veterans die (and several

typically pass away each week), the Home generally conducts a “dignified transfer” ceremony where staff

and other veterans salute the deceased veteran and Taps is played to honor the veteran’s service to our

nation. 135 A number of family members and staff commented on the importance of this meaningful

ceremony, and regret that it was suspended during the COVID-19 outbreak. 136

        Nonetheless, like most healthcare facilities, the Soldiers’ Home faces a number of headwinds. As

described above, the facility is older and in need of some aesthetic updates. 137 Some family members

commented that the Soldiers’ Home is “filthy,” 138 and “the smell of feces and urine was prevalent” on the

Care Centers 139. The facility does not currently use an electronic medical records system, and instead uses

paper medical records. 140 Similarly, the Soldiers’ Home is an older-style “medical model” facility, as

opposed to a modern “Community Living Center” facility. 141 “Community Living Center” facilities are

built to withstand viral spreads, while “medical model” facilities are not as well equipped due to their layout

and number of patients per room. 142 The Soldiers’ Home also had issues with its HVAC system.143



                                                      31
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 32 of 174



        In evaluating the general strengths and weaknesses of the facility, the Soldiers’ Home in Chelsea

provides a useful reference point. First, although the Soldiers’ Home at Holyoke and the Soldiers’ Home

at Chelsea both have a Board of Trustees and a Superintendent, the statutory rules concerning their

appointment differ between the two homes. Like the Soldiers’ Home in Holyoke, the Soldiers’ Home in

Chelsea offers both dormitory and long-term care services. 144 However, the Soldiers’ Home at Holyoke

has a larger long-term care facility (248 beds) compared to Chelsea (170 beds), and the Soldiers’ Home at

Chelsea has a larger dormitory (158 beds) compared to Holyoke (30 beds).145 Unlike Holyoke, which

receives no Medicare funding, 66 of Chelsea’s long-term beds are approved by Medicare to be billed as a

“skilled level of care.” In addition, Holyoke has an outpatient facility, whereas Chelsea does not.146

Chelsea has been actively working to implement an electronic medical record system for several

years. 147 In 2019, both Soldiers’ Homes submitted a joint grant to the federal VA for an electronic medical

record solution. 148

        Compared to Chelsea, the Soldiers Home in Holyoke is generally in better condition; this includes

the physical plant and infrastructure. 149 Structurally, the Soldiers’ Home in Chelsea is an open-ward design

with no private rooms for veterans receiving care. 150 Chelsea recently received a State Home Construction

Grant from the VA to build a new facility. The new campus will include a building better designed for

long-term care, with private rooms and private bathrooms for veterans. 151

        With respect to staffing and labor relations, Chelsea has implemented a permanent staffing

schedule—i.e., a schedule that does not change week-to-week—whereas Holyoke has not. Furthermore,

unlike Holyoke, Chelsea does not “mandate” staff to work overtime (i.e., forcing a staff member to work

a shift on short notice, regardless of whether they are scheduled or not; staff who refuse are disciplined).152

        Finally, the two facilities have differences in funding. Both receive per-diem funding from the

federal VA, but the Soldiers’ Home in Chelsea bills Medicare for skilled beds, whereas Holyoke does not.153

Chelsea also has a larger budget than its counterpart in Holyoke. In Fiscal Years 2019 and 2020, Chelsea

received an additional $4.8 million and $4.4 million, respectively, in funding from the General



                                                      32
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 33 of 174



Appropriations Act. 154 Historically, Chelsea has received greater General Appropriations funding

compared to Holyoke: for example, in Fiscal Year 2014, Holyoke received about $6.8 million less funding

than Chelsea, despite having more than 100 additional beds to service. 155 Roughly $2.6 million of that gap

was attributed to salary. 156

B.      Disputes concerning staffing levels and reporting structures during Superintendent
        Barabani’s tenure

        Paul Barabani, the previous permanent Superintendent of the Soldiers’ Home, served from 2011

through early 2016. 157 His tenure was contentious, leading up to his resignation and the resignation of Mr.

Barabani’s deputy superintendent in late 2015. This report does not purport to chronicle Mr. Barabani’s

tenure; rather, we will focus on issues that arose with respect to staffing and reporting structures that are

relevant to our analysis of the COVID-19 outbreak in 2020.

        Governor Deval Patrick appointed Mr. Barabani to be the Superintendent of the Holyoke Soldiers’

Home in spring of 2011, following a 32-year career in the military. Mr. Barabani did not have a medical

or long-term care background, nor was he a licensed nursing home administrator. 158 During an interview,

he opined that he did “not need to be a licensed medical-care provider [or] a nurse or doctor” because he

had “nurses and doctors” who advised him and he “capitalized on the expertise of others.” Mr. Barabani

explained that his role was to be “the leader of the facility.”159 As of 2014, Mr. Barabani’s deputy

superintendent was John Paradis. Mr. Paradis likewise did not have a long-term care background. 160

        Throughout his tenure, Mr. Barabani was concerned that nursing staff levels were too low. For

example, in 2014 Mr. Barabani attended an annual legislative breakfast with approximately 15 to 20 western

Massachusetts legislators.161 He presented data showing what he consider to be deficiencies, especially

with regard to the number of registered nurses. 162 Mr. Barabani reports that he was reprimanded by

Coleman Nee, who served as Secretary of the Department of Veterans’ Services at the time, for raising

this topic with the legislators. 163 However, he indicates that as a result of his presentation, he received

additional funding and was able to raise the number of registered nurse minutes per resident day, and that

this increase “became a life preserver to keep us afloat.” 164


                                                      33
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 34 of 174



        Governor Baker took office in January 2015, and appointed Francisco Urena to serve as Secretary

of the Department of Veterans’ Services. Mr. Barabani met with Mr. Urena for the first time in February

2015. 165 During this meeting, Mr. Barabani reported that staffing remained a “priority issue” and presented

a two-tier approach to increase staffing levels. 166 Mr. Barabani indicated that he never received a response

from Secretary Urena about this presentation and his request to increase staffing levels. 167

        In early 2015, in response to state budget challenges, the Baker administration instituted a hiring

freeze and Early Retirement Incentive Program (“ERIP”) across state government. 168 The ERIP had a

profound and lasting effect on the Soldiers’ Home’s nursing staff; the facility immediately lost 46 staff

members (approximately 30 of whom were nurses, including the Chief Nursing Officer and Chief Social

Worker). 169 Numerous staff members report that the loss of experienced nurses as a result of the ERIP

continues to present substantial challenges to the mission of the Soldiers’ Home today. 170 Mr. Barabani

presented a similar view in his April 9, 2015 testimony before the Joint Committee on Ways and Means,

where he testified that the ERIP would have a detrimental impact upon the Soldiers’ Home ability to

achieve its mission. 171

        Mr. Barabani also asserts that he was placed under a “gag order” in 2015 by the Department of

Veterans’ Services that prevented him from informing the Governor or legislators about staffing issues at

the Soldiers’ Home. 172 Secretary Urena disputed that Mr. Barabani was prohibited from raising these

issues, but acknowledged that he required that Mr. Barabani do so “in concert with that of HHS. If a

conversation was had with a member of the legislature or a member of the press, we wanted the

conversation shared with us. This was a constant reminder, and the role of Anthony Preston [Director of

Legislative and Media Relations, Department of Veterans’ Services] in our office was to write down those

interactions and bring them to the awareness of our superiors at HHS.” 173 Mr. Barabani also asserts that

the Department of Veterans’ Services blocked his effort to hire a new Chief Financial Officer in 2015. 174

        Frustrated with these challenges, Mr. Barabani announced his intention to retire from the

superintendent position during the December 2015 Soldiers’ Home Board of Trustees meeting.175 He



                                                     34
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 35 of 174



formally left the post in January 2016. 176 John Paradis, the Deputy Superintendent, resigned in December

2015. 177

            Following Mr. Barabani’s resignation, Cheryl Poppe—the Superintendent of the Soldiers’ Home

in Chelsea—served as the interim director at the Soldiers’ Home in Holyoke from February 1, 2016

through May 27, 2016. She worked full-time at the facility during this period.178 On her arrival, she

perceived a power vacuum at the Soldiers’ Home: there was no Superintendent or Deputy Superintendent,

the CFO had just been hired, all medical doctors were at the facility only part-time, the facilities director

was new, and the Director of Nursing died suddenly during a meeting at the Soldiers’ Home in early 2016,

near the start of Ms. Poppe’s tenure as interim director. 179

            When Bennett Walsh was appointed as the new Superintendent, Ms. Poppe held a two-day

transition meeting with him and prepared a detailed transition memorandum. 180 The memorandum

highlighted “some areas that may require attention in the near future,” including staffing concerns. 181 Ms.

Poppe “found two major facets to this [staffing] issue” which were (1) there was not sufficient planning

to deploy the ERIP; and (2) although nursing staff exceeded the minimum hours per patient day in the

high-acuity areas, structural issues related to how senior nurses were staffed created difficulties and

shortages at times.182 To combat these issues, Ms. Poppe recommended that Mr. Walsh exercise increased

collaboration when reviewing staffing needs, consider whether certain nursing positions could be

combined or converted to a part-time position, and to consider a more flexible nursing schedule around

peak times in certain areas. 183 She also noted that the “Holyoke Soldiers’ Home has been making dedicated

efforts to strengthen Labor Relations with a continued emphasis on regular meetings and clear

communications of issues,” and cited EOHHS’ labor relations teams as being helpful in facilitating these

improvements. 184 Ms. Poppe provided a copy of this memorandum to Secretary Urena, his then-Chief of

Staff Michael Rigas, and staff at EOHHS. 185




                                                      35
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 36 of 174




C.      Superintendent Walsh’s tenure

        1.      Background and selection as Superintendent

        Mr. Walsh was born and raised in Springfield, Massachusetts, and graduated from Providence

College in 1992. 186   He had a distinguished 24-year military career, which included seven combat

deployments from 2002 through 2011 in Somalia, Iraq, Afghanistan, and elsewhere. 187 Mr. Walsh left the

military in 2016 at the rank of Lieutenant Colonel. 188

        After his retirement, Mr. Walsh began a career search. A copy of his resume available on LinkedIn

indicated that he was “[s]eeking a position in Management / Security Consulting,” and he explained in an

interview that after leaving the military, he began the process of applying to serve as the local deputy for

security operations at the MGM Springfield casino. 189

        A number of witnesses remarked that Mr. Walsh’s family has strong political connections in

western Massachusetts.190 Indeed, Mr. Walsh pivoted his career search when a state legislator—

Representative John Velis—reached out to suggest that Mr. Walsh apply to be the Superintendent at the

Soldiers’ Home. 191 At the time, a job posting for this role published in the Boston Globe indicated that the

Soldiers’ Home sought an “experienced administrator for superintendent” and the “ideal candidate” would

have “a proven track record in supervising, operating a residential/outpatient facility, budget management,

planning/developing, medical, residential, long-term and acute care programs for veterans.” 192 Mr. Walsh

expressed his concerns to Representative Velis that he did not have a clinical background, but

Representative Velis assured Mr. Walsh that this was not a requirement for the job. 193

        Mr. Walsh interviewed with the Board of Trustees and with Secretary Urena. 194 Secretary Urena

indicated that the Board decided only to consider candidates who were military veterans. 195 Secretary

Urena suggested that he “did not have a lot of influence” with respect to the Board’s decision. He

explained that he encouraged the Board to wait and interview one candidate who was both a veteran and

licensed nursing home administrator—this candidate, John Crotty, was temporarily out of the country at

the time. 196 Nevertheless, the Board settled on Mr. Walsh, and Secretary Urena then recommended to



                                                     36
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 37 of 174



Secretary Sudders that Mr. Walsh be appointed. 197 Secretary Sudders likewise recalls that Mr. Walsh was

“overwhelmingly” the choice of the Soldiers’ Home Board of Trustees, and Secretary Urena’s choice for

the role, 198 and she accepted these recommendations. ix Governor Baker formally appointed Mr. Walsh to

be the Superintendent of the Soldiers’ Home on May 29, 2016.

        Given Mr. Walsh’s lack of experience, Secretary Sudders instructed Secretary Urena to ensure that

Mr. Walsh’s Deputy Superintendent (the role was vacant at the time) would have a background in long-

term care. 199 Mr. Crotty was eventually hired to serve as Deputy Superintendent under Mr. Walsh. 200

        Secretary Urena noted his surprise that shortly after Mr. Walsh was appointed, Mr. Walsh’s

“family” issued a press release about the new position. 201 Secretary Urena indicated that he found this to

be out of place, as in his view the announcement should have come from the Governor’s office. 202

        2.      Management and leadership style

        Mr. Walsh is a polarizing figure. Some staff members we interviewed emphasized that he “was

passionate about the veterans” and “he knew veterans by name and would come in on the weekends.”203

Mark Yankopoulos (Agency Counsel at the Soldiers’ Home) likewise viewed Mr. Walsh as “an excellent

leader and capable executive.” 204 During our interviews, Mr. Walsh emphasized that he “loves” the

Soldiers’ Home, and that his time there does not feel like work. 205

        However, staff repeatedly raised concerns that there are two sides to Mr. Walsh’s leadership: what

the families of veterans see and what the staff observes. 206 With respect to Mr. Walsh’s leadership style,

our interviews with staff members echoed common themes of fear about retaliation and lack of

communication. 207 As one staff member put it, “Walsh could run us as troops but not as people” and




ixSecretary Sudders noted that the appointing and supervision authority with respect to the Superintendent is
the subject of “varying interpretations.” Section 71 of chapter 6 of the General Laws grants the Board the
authority to appoint a Superintendent, but § 17 of chapter 17 provides that the Superintendent “shall serve
under the governor, and shall be subject to such supervision as the governor deems necessary and proper.” In
contrast, the General Laws expressly provide that “[t]he secretary of health and human services shall appoint,
with the approval of the governor, the superintendent of the soldiers’ home” in Chelsea. Mass. Gen. Laws c. 6,
§ 40.


                                                     37
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 38 of 174



there is an “isolation” or “aloofness” about him. 208 Another staff member explained that “the Walsh

administration has ruled with a lot of retaliation, bullying, unnecessary commentary, and not enough

training.” 209 The Soldiers’ Home staff that we spoke with feel that Walsh’s mantra is “what I say goes,”

and anyone who questions him is targeted.210

        John Crotty, who served as Deputy Superintendent under Mr. Walsh from January 2017 until June

2019, also offered blunt observations about Mr. Walsh’s leadership style. He reports that he was initially

“close” with Mr. Walsh and consulted on major decisions—but after he disagreed with Mr. Walsh in front

of other staff, he was isolated and shut out from consultation on important matters. 211 As Mr. Crotty put

it, “don’t disagree with him with others present, or you will pay a dear price.” 212 He described Mr. Walsh’s

interactions with others whom he thought Mr. Walsh disfavored as “bullying” and “psychological warfare

to wear down an enemy.” 213 He cited instances where Mr. Walsh would stop into a small office and greet

the staff members he liked, while making a point to ignore those present with whom he was unhappy. 214

        Other staff members were frustrated with Mr. Walsh’s lack of attention to detail. Some report

that he would change subjects repeatedly and had trouble focusing and staying on-topic during meetings,

and indicate that he would be more interested in making references to movies and talking about sports

than the business at hand. 215 Likewise, the Assistant Director of Nursing referenced Mr. Walsh’s lack of

healthcare experience, and explained that when Mr. Walsh started, she had to explain the meaning of

common terms like productivity standards, FTEs (full-time equivalents), CMS (the Centers for Medicare

and Medicaid Services), and the Joint Commission. 216

        Our conversations with Secretary Urena and his Chief of Staff Paul Moran identified similar

concerns:

    •   In March 2020, during the COVID-19 outbreak at the Soldiers’ Home, Mr. Moran expressed
        concern to Secretary Urena that Mr. Walsh’s “communication skills are not good and he is never
        thorough or forthright in his communication.” 217 Secretary Urena agreed with this assessment,
        and explained that “everything [Mr. Walsh sent] over four years was cryptic.” 218

    •   Secretary Urena noted that the high rate of staff turnover under Walsh’s leadership was a red flag
        and “if one more employee had quit [under Mr. Walsh’s management], there would be a more



                                                     38
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 39 of 174



        serious conversation that had to happen with him.” 219 Secretary Urena explained that no other
        department had staff turnover at the level of the Soldiers’ Home in Holyoke. 220 He emphasized
        that Mr. Walsh would get defensive if asked about the resignations, and the Department of
        Veterans’ Services could not conduct exit interviews with the staff because they felt retaliation
        would ensue if they were to share their views in an exit interview. 221 In this regard, Secretary Urena
        perceives a “culture of retaliation” under Mr. Walsh’s leadership. 222

    •   Secretary Urena asserted that on March 30, 2020, when a state emergency response team arrived
        at the Soldiers’ Home, Mr. Walsh informed them that the facility manager (Jerimiah LaPlante) was
        resigning, effective at the end of the week. Secretary Urena indicated that he when asked Mr.
        Walsh when he learned about this departure, Mr. Walsh “lied” and indicated that it was a verbal
        resignation and he just learned about it. 223 However, Secretary Urena later saw a copy of a written
        resignation letter dated about ten days earlier. 224

    •   Secretary Urena also reported that when he arrived at the Soldiers’ Home unannounced for a visit
        during Mr. Walsh’s first year, Mr. Walsh called Secretary Sudders to object and suggested that
        Secretary Urena must seek permission from Mr. Walsh before coming to the facility. 225

    •   As Secretary Urena put it, “the management style of Bennett Walsh was to never have anyone else
        have conversations with us.” 226

    •   After an employee raised concerns about Mr. Walsh’s ability to manage his temper, he was assigned
        to work with an executive coach to address anger management issues. This appointment was
        extended after the initial six-month term when another similar complaint arose. 227

    •   Secretary Urena reports that he and Secretary Sudders had concerns that Mr. Walsh did not spend
        enough time at the facility. Secretary Urena indicated that Mr. Walsh’s “schedule would be
        inundated with free lunches and ways of promoting the Home.”228 Mr. Moran reports that
        Secretary Urena rebuked Mr. Walsh for spending too much time at political engagements, and not
        enough time at the Home. 229 Secretary Urena also recounted that during an exit interview, former
        Deputy Superintendent John Crotty reported that Mr. Walsh told him that Mr. Crotty was to be
        the “inside man” at the Home, and Mr. Walsh would be the “outside man.” 230

    •   Media reports indicate that Mr. Walsh was under investigation by the Massachusetts Office of the
        Inspector General as of January 30, 2020, relating to issues prior to the COVID-19 outbreak.231
        The nature of this investigation has not been disclosed publicly.

        3.      Interactions with the Board of Trustees

        The Soldiers’ Home is subject to supervision and oversight by both the Department of Veterans’

Services and the Home’s Board of Trustees. By statute, the board consists of “seven persons, who shall

be residents of the counties of Berkshire, Franklin, Hampden and Hampshire. Each of said counties shall

be represented on said board by at least one trustee who is a resident therein . . . [and] the members shall

serve without compensation.” 232 Massachusetts law provides that the Board “shall manage and control”




                                                     39
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 40 of 174



the Home, and appoint its Superintendent. 233 Another statute established the role of an “executive director

of veterans’ homes” within the Department of Veterans’ Services, but clarified that the “board[] of trustees

. . . shall not be subject to the control of the executive director; and provided further, that the executive

director shall not have control over the day-to-day operations of the . . . Soldiers’ Home in Holyoke.” 234

         Kevin Jourdain (the Board’s current chairperson) describes the Board’s role as the “conscience of

the community.” 235 A former Board of Trustees member explained that the Board of Trustees was “not

there to run the institution, but to try to make sure that the institution runs well.”236 The Board administers

a designated “Trustees’ fund,” but the Department of Veterans’ Services has responsibility to prepare and

approve the Home’s main budget.

         The current Board of Trustees is comprised of Kevin Jourdain (Chair), Christopher Dupont,

Cindy Lacoste, Cesar Lopez, Carmen Ostrander, Isaac Mass, and Richard Girard. 237 Generally,

appointments to the Board of Trustees are for seven-year terms. 238 When Mr. Walsh was appointed

Superintendent of the Soldiers’ Home in 2016, the members of the Board were Michael F. Case (Chair),

Benjamin H. Cluff, Spiros Hatiras, Cesar A. Lopez, Margaret E. Oglesby, Daniel J. Smith, and Brian Q.

Corridan. 239

         During Mr. Walsh’s tenure, the Board of Trustees held meetings once a month for one to two

hours in-person at the Soldiers’ Home. 240 Department of Veterans’ Services officials also attended, as did

senior leaders from the Soldiers’ Home, including Mr. Walsh, the Chief Nursing Officer, and the Medical

Director. 241 The Board’s meeting agendas were generally prepared by Mr. Walsh with input from Mr.

Jourdain. 242

         Mr. Jourdain explained that after he joined the Board in October of 2018 and became Chairperson

in November of 2019, he started to shift the focus of the Board of Trustees to more substantive issues,

including discussions about financials, the trustees’ account, strategy, and Board policies. 243 The Board

was also involved with the search process for the Superintendent position in 2016. 244 Secretary Urena

described his role as a “guide” to the “Trustees who were the hiring authority.” 245 Mr. Walsh was the



                                                      40
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 41 of 174



Board’s clear choice for the role. Trustee Brian Corridan explained that after meeting Mr. Walsh, he felt

that “leadership oozed out of him.” 246

        Mr. Walsh’s relationship with the Board remained strong during his tenure, and our interviews

with Trustees suggest he maintains substantial support within the Board.247

        4.      Leadership team

        Superintendent Walsh relied on and worked with a broad leadership team to operate the Soldiers’

Home. At the time of the outbreak in March 2020, this team consisted of:

    •   Vanessa Lauziere (Chief Nursing Officer)

    •   Celeste Surreira (Assistant Director of Nursing)

    •   Vanessa Gosselin (Infection Control Nurse)

    •   Dr. David Clinton (Medical Director)

    •   Jessica Powers (Human Resources Liaison)

    •   Mark Yankopoulos (Agency Counsel)

    •   Deb Foley (Director of Communications)

    •   Jeremiah Laplante (Director of Operations)

    •   Norman Gousy (Director of Finance)

        Mr. Walsh’s team had experienced substantial turnover in the years leading up to the outbreak.

Three of these leaders—Ms. Lauziere, Mr. Yankopoulos and Mr. Goussy—assumed their positions in late

2019, and Ms. Powers had just returned in March 2020 from maternity leave. There has been more

turnover subsequently: Dr. Clinton recently resigned from his role as Medical Director, Mr. Laplante

resigned from his role as Director of Operations, and Ms. Surreira has been placed on administrative leave.

        While one Soldiers’ Home Trustee perceived that everyone on the leadership team “seems to work

as a cohesive unit [and] there does not seem to be any tension or animosity at the meetings [and] they all

seem knowledgeable about what was going on,” 248 interviews with Soldiers’ Home staff suggest a different

picture. Many staff members sensed that “there was no stable leadership” because of this turnover.249


                                                    41
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 42 of 174



Likewise, a number of staff members expressed concern about favoritism and insularity among Mr.

Walsh’s leadership team. 250

         Some people who were ostensibly included in the leadership team report that they were not

listened to, and were excluded from meetings and decision-making in favor of a smaller, favored circle.

Vanessa Gosselin, a registered nurse who was in charge of infection control, reported that Mr. Walsh

“didn’t listen to people,” and “didn’t like me because I am open and honest.” 251 Ms. Gosselin indicated

that during the COVID-19 outbreak, she was not consulted on decisions (discussed in more detail below)

about isolating veterans or moving veterans between rooms and units, and was not part of meetings in

which the “administration” of the Home addressed personal protective equipment or interactions with

public health authorities. 252 Similarly, Celeste Surreira, the Assistant Director of Nursing and a licensed

nurse practitioner, asserted that she was not part of the Soldiers’ Home “executive team” and that she

attended executive team meetings only “once in a blue moon, if someone was out.” 253 Ms. Surreira

reported that even before the outbreak, she pushed the executive team to focus more on disaster

preparedness, but “felt like I was on a sinking ship and waving the flag wasn’t working, and that is a horrible

feeling.” 254

         Several members of the leadership team also expressed concerns about Dr. Clinton’s performance

in his role as Medical Director. The Medical Director role is a 20-hours per week position, with a salary

of approximately $116,000. Ms. Lauziere (the Chief Nursing Officer) stated that she would have expected

the Medical Director to be at the facility full-time and to be “more available.” 255 She indicated that she

“was not really impressed with Dr. Clinton’s practice—or lack of it—as a Medical Director” and that in

her view, Dr. Clinton did not spend enough time “getting into the detail of the care.” 256 Val Liptak, (an

experienced healthcare executive appointed as the Interim Administrator of the Soldiers’ Home after Mr.

Walsh’s suspension) observed that Dr. Clinton is “not a strong physician to lead the organization especially

if they are going to get their medical records up to snuff.” 257 Ms. Liptak noted that upon her arrival, the

facility did not have an accurate list of health care directives and healthcare proxies for each veteran, and



                                                      42
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 43 of 174



Dr. Clinton “only knew his patients on his floor” and did not know the majority of the veterans in the

facility. 258 Lisa Colombo (the Executive Vice Chancellor of Commonwealth Medicine, and a member of

Ms. Liptak’s response team) asked Dr. Clinton why he was not going to the floors of the facility and

evaluating veterans, and Dr. Clinton responded that he was at “high risk” for COVID-19 and “did not

want to go on the floors.” 259

         On the other hand, Mr. Walsh’s impressions of Dr. Clinton’s performance as the Medical Director

were positive, and he emphasized that “in four years I never overrode a decision made by Dr. Clinton.”260

Mr. Crotty (the former Deputy Superintendent) described Dr. Clinton as “a competent clinician” but “very

laid back.” 261

                   i.      The Deputy Superintendent’s role

         The position of Deputy Superintendent merits further discussion. At the time Mr. Walsh was

appointed Superintendent, Secretary Sudders instructed Secretary Urena to ensure that the Soldiers’ Home

had a Deputy Superintendent with healthcare experience. 262 John Crotty, a licensed nursing-home

administrator, was appointed to this role in 2016. Staff members describe Mr. Crotty as “fantastic”, “old

school,” “transparent,” and that “he knew what he was doing.” 263 However, Mr. Crotty resigned in June

2019, because of clashes with Walsh and the [then-]Director of Nursing, Randy Stone. 264 The role

remained vacant from June 2019 until March 30, 2020, and is again vacant as of the date of this report

because the most recent Deputy Superintendent resigned after only several weeks at the Home.

         In searching for a new Deputy Superintendent in 2019, Secretary Urena again sought a candidate

who was a licensed nursing home administrator because “Walsh did not come from a medical

background.” 265 David Laplante, x a licensed nursing home administrator and experienced healthcare

executive, applied for the position in September 2019, and was ultimately selected for the position after




xDavid Laplante is not related to Jeramiah Laplante, who served as the Director of Operations at the Soldiers’
Home until April 2020.


                                                     43
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 44 of 174



interviewing with Mr. Walsh, Paul Moran (Secretary Urena’s Chief of Staff), and Secretary Urena in early

2020. 266

            Even understanding that state hiring processes move slowly, it is remarkable that Mr. Laplante did

not start work at the facility until March 30, 2020 (and resigned several weeks later). Secretary Urena

explained that “there was always a hesitation from Walsh” about Mr. Laplante because “he was not the

candidate that Walsh wanted.” 267 The candidate that Mr. Walsh apparently favored was one who was in

the National Guard, but did not have a background in healthcare. 268 Secretary Urena and Mr. Moran were

particularly concerned about this candidate, as the primary “accomplishment” listed on her resume was

that she “busted a union.” 269 In Mr. Moran’s view, given the labor-relations difficulties at the Home, Mr.

Walsh’s decision to “even bring that person up the chain” for approval with this “accomplishment” on

her on her resume, reflected a “total lack of judgment.” 270 Secretary Urena expressed the same concern

about Mr. Walsh’s judgment with respect to this candidate. 271

            Secretary Urena emphasized that it was important for the Deputy Superintendent “to have a

medical background and [be] licensed as an expert” but “Walsh was not interested in that.” 272 Likewise,

Mr. Moran reported that “Walsh was reluctant to move quickly” in hiring Mr. Laplante, and “it became

clear that Walsh wanted to control the timeline.” 273 Mr. Laplante reported that once he was offered the

position and was ready to start, “Walsh was not easy to track down” to conduct final negotiations and

logistical discussion about starting work.274 He finally reported for work on March 23, 2020—in the midst

of the COVID-19 crisis in which Mr. Walsh reported substantial staffing shortages—but Mr. Walsh sent

him home for a week to await the results of his tuberculosis test. 275

            We asked Mr. Walsh to explain the delay in Mr. Laplante starting work. He represented to us that

Mr. Laplante started work “virtually” on March 23, and participated in leadership meetings during the

week of March 23 via videoconference. 276 The information that Mr. Walsh provided to us does not appear

to be accurate: there is no record of Mr. Laplante participating in videoconferences during the week of

March 23, 2020, no one else recalls him participating, and in a follow-up conversation Mr. Laplante stated



                                                       44
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 45 of 174



affirmatively that he did not participate in any meetings (remotely, or otherwise) prior to finally starting

work in person on March 30, 2020—the day that Mr. Walsh was placed on administrative leave. 277

        5.       Quality of care and survey results

        To assess how COVID-19 affected the Soldiers’ Home, we sought to understand and evaluate the

quality of care provided at the Home before the outbreak.

        One way to measure the quality of care is to ask staff and family members about their perceptions

of the facility. The consistent sentiment among family members was that prior to the COVID-19 outbreak,

the Soldiers’ Home “is the best place for someone to be” and that the Soldiers’ Home has a strong

reputation within the community. 278 Staff confirmed to us that they “truly care about the veterans” and

take “good care of them on a day-to-day basis.” 279 One staff member who also had a family member living

at the Soldiers’ Home said that the Home “was phenomenal” and he was “impressed” with the quality of

care. 280 Even when facing staffing concerns and shortages, the Home prides itself “on our quality of care

and the relationships that the nursing assistants have with the veterans that can go on for years.” 281 The

general perception from family members was that the “care was as good as it could be with the staffing

they had.” 282 Holyoke Mayor Alex Morse noted similarly that his sense about the quality of care provided

at the Soldiers’ Home was “they do the best they can with the resources they have.” 283

        However, despite the facility’s strong reputation in the community and the unquestioned

dedication of its staff, family members and some staff expressed concerns about the facility’s staffing levels.

We asked a number of staff members whether they would recommend the Soldiers’ Home to a family

member who needed long-term care. In response, one senior nursing leader emphasized that while the

“staff is very caring . . . the level of care could be enhanced, there is room for improvement.” 284 Another

staff member explained that “when a unit is staffed at staffing minimums, care is provided but at a

barebones, minimal level.” 285 One family member felt that the care her father received at the Soldiers’

Home was “mediocre at best due to problems with understaffing.” 286




                                                      45
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 46 of 174



        Survey results provide additional information about the quality of care. The Soldiers’ Home is

surveyed on an annual basis by inspectors from the federal VA and every three years by the private Joint

Commission. 287 Indeed, members of the Board of Trustees and senior executive branch leaders such as

Secretary Urena emphasized that they relied heavily on the survey results in their oversight of the Soldiers’

Home—they saw the surveys as the facility’s “guide.”288

        The results of these surveys steadily improved during Superintendent Walsh’s tenure. The VA

surveyed the home four times during this period. The first survey conducted in January 2017, and the

Soldiers’ Home failed to meet three standards. 289 First, the accidents standard, requiring that the facility

management must ensure “the resident environment remains free of accident hazards . . . and each resident

receives adequate supervision and assistance devices to prevent accidents” was not met because the Home

failed to directly supervise cognitively impaired residents while they smoked. 290 Second, the facility

management standard, requiring that the facility must be designed, constructed, equipped and maintained

to protect the health and safety of residents, personnel and the public, was not met because “the facility

failed to provide a clear path of egress” which affected 6 of 20 smoking compartments, staff and

approximately 14 residents.” 291 Third, the residents rooms standard, requiring that resident rooms be

designed and equipped for adequate nursing care, comfort, and privacy, was not met because “the facility

failed to limit resident rooms to four residents involving 2 resident rooms on the secured units.”292 In

addition, there were several standards that were met but the VA made recommendations for improvement.

For example, the “infection control” standard was met but the VA recommended that “the superintendent,

interim director of nursing and infection control nurse . . . have the CDC guidance for the Influenza within

the infection control policy and procedure.” 293

        In the 2018 VA survey, the Soldiers’ Home provisionally met two standards, and fully met the

remaining standards. Specifically, the Soldiers’ Home provisionally met the per-diem drugs and medicines

standard and the financial security standard. 294 In 2019, the Soldiers’ Home provisionally met four

standards, and fully met the remaining standards.295      The Home provisionally met the quality of care



                                                     46
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 47 of 174



standard because “the facility failed to report a sentinel event for one resident following a major functional

decline caused by a fall and fractured hip,” provisionally met the physical environment standard because

“the facility failed to provide the minimum required clear path of egress”, and provisionally met the

resident rooms standard because “the facility failed to provide resident rooms of the required minimum

size.” 296

             In the 2020 survey (completed on January 31, 2020), the Soldiers’ Home did not meet two

standards, provisionally met 11 standards, and met the remaining standards.297 The Soldiers’ Home did

not meet the standard that a resident has a right to be fully informed in the language that he or she can

understand of his or her total health status because “the facility failed to inform veterans of how to directly

contact the State Ombudsman office to file a complaint,” and did not meet the standard requiring the

facility to care for residents in a manner and in an environment that promotes maintenance or

enhancement of each resident’s quality of life because “it was determined that the facility failed to ensure

resident cared for was always provided in a manner that maintained or enhanced each resident’s dignity.”298

Four residents were observed being shaved in common areas of the facility and were not provided privacy

when personal care was being provided. 299 Among the standards that were met only “provisionally,”

several were related to the quality of care, including:

     •       the comprehensive care plans standard, because “nursing staff failed to ensure care plans were
             developed for two of 30 sampled residents”

     •       the requirements of the comprehensive care plan, because “nursing staff failed to update a
             nutrition care plan for one of 30 sampled residents”

     •       the standard requiring that services provided meet professional standards of quality, because
             “nursing staff failed to ensure that services met professional standards of quality for one of 30
             sampled residents when nursing staff did not provide appropriate assessment for a resident with
             a history of seizure activity and recurrent vasovagal episodes”

     •       the standard that facility management must report sentinel events to the director of the VA medical
             center, because the facility failed to report two sentinel events to the VA within 24 hours of
             identification

     •       the nutrition standard, because “the facility failed to ensure one of 30 sampled residents received
             a therapeutic diet”


                                                         47
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 48 of 174




    •    the provision of services standard, because “the facility failed to obtain outside mental health
         services under a written sharing agreement for the provision of mental health services for one
         sampled resident which received mental health services at the VA”

    •    the requirement to provide routine and emergency drugs, because “nursing staff failed to ensure
         the accurate administration of medication for one of 30 sampled residents.”

         After receiving the 2020 VA survey results, Mr. Walsh informed Secretary Urena on March 4, 2020

that the Soldiers’ Home “met (or provisionally met) all required VA health care standards” for the “third

year in a row” which was the “first time this has occurred in the home’s 68 year history.” 300 Mr. Walsh

stated that this was a “wonderful accomplishment for our entire staff and our embrace of all employees

(myself included) are care givers (in some way) for our veterans.” 301 Paul Moran (Department of Veterans’

Services Chief of Staff) noted that Mr. Walsh gave the impression that the VA survey was “100%” but

argued this was not so—the Home received “3 dings from the VA.” Mr. Moran explained that his

“skepticism towards Walsh is built on little things” like this that show “his information did not seem

accurate.” 302

         Several days later, Mr. Walsh reported to the Board of Trustees at its March 10, 2020 meeting that

the Soldiers’ Home had recently received the results from the VA survey and he was “happy to report a

‘three-peat’” having met or provisionally met all healthcare standards for the third year in a row. 303 He

noted during that meeting that there were certain areas to be addressed. During our interviews, Trustees

from the Soldiers’ Home cited the Joint Commission and VA inspections as indicators that the Home was

being run well. 304

         6.      Staffing levels

         The levels of nurse staffingxi at the Soldiers’ Home have been a source of controversy for years.

A number of current and former leaders at the Soldiers’ Home (including former Superintendent Barabani

and Deputy Superintendent John Paradis), current and former nurses and nursing aides, and family



xi Except where otherwise indicated, references to “nurse staffing” include registered nurses, licensed practical

nurses, and certified nursing assistants.


                                                       48
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 49 of 174



members of veterans report that staffing levels are too low. 305 Family members observed consistent

“problems with staffing” and at times “there would be no one around” on the care centers. 306 Staff

reported that there would be practically “nobody on the weekends and they would mandate every single

weekend to staff the second shift.”307 The Chief Nursing Officer suggested that staffing resources

available to her were “inadequate,” and the Assistant Director of Nursing reported that the day-shift

staffing levels are “fine,” but the evening staff levels need to be increased.308

        Apart from the question whether enough nursing staff are assigned to each shift, it is clear that the

Soldiers’ Home relies heavily on the undesirable practice of staff mandation. “Mandation” refers to a

scenario when insufficient staff are available for a shift and (absent volunteers) staff from the previous

shift are ordered to remain at work to cover the next shift. The practice is deeply unpopular and disruptive

to the lives of the staff. 309 Indeed, some nurses and nursing aides report that when they had commitments

outside of work after a scheduled shift, they might call in sick before the scheduled shift just to avoid the

possibility that they might be mandated to work another shift after the scheduled shift ended. In contrast

to the Soldiers’ Home at Holyoke, mandation is rarely if ever used at the Soldiers’ Home at Chelsea. 310

                   i.      The Moakley study

        Persistent staffing concerns led EOHHS leaders to commission a 2019 study of the Soldiers’

Home by the Moakley Center for Public Management at Suffolk University. The principal investigator for

the study, Nicole Rivers, previously conducted a similar study at the Chelsea facility. 311 Ms. Rivers also

taught a class at Suffolk in which Mr. Walsh enrolled as part of his continuing education in public

management. 312

        There were both qualitative and quantitative facets of the Moakley study. Ms. Rivers met with a

series of focus groups at the Soldiers’ Home, interviewed leaders, and reviewed relevant literature and

staffing regulations. She also worked with the scheduling staff at the Home to download and replicate

recent staff schedules in electronic format, so that she could conduct a statistical analysis. 313 Ms. Rivers’

reports from the staff interviews are striking: she recounts that “staff were crying” during the interviews



                                                      49
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 50 of 174



because they “need more help,” that they “felt bullied by management,” and were “overwhelmed with the

amount of care they had to provide with limited resources.” xii Ms. Rivers concluded that “it was clear that

was a major disconnect between what the Superintendent thought was going on, and what was actually

going on.” 314 She spoke privately with Mr. Walsh to convey some of this feedback.

        The quantitative portion of the Moakley study concluded that the average healthcare provider

hours per patient day (“HPPD”) are substantially above the hours required in applicable VA regulations,315

and “just 0.15 care hours below the recommended 4.10 care hours” set out in recommendations from

CMS. 316 But there are substantial analytical flaws in the study. First, the numbers are taken—and

conclusions are drawn—from scheduled rather than worked hours. Ms. Rivers agreed that the scheduling

numbers were “aspirational” and were “not realistic” with respect to the hours actually worked, but

nevertheless relied on them to conclude that the staffing levels were generally sufficient. 317 She indicated

that it was not feasible to evaluate the hours actually worked, due to data-format limitations. Second, the

study’s computation of average HPPD for the facility is marred by methodological errors. To compute

the “average” HPPD, the study uses a simple average of the HPPD for each Care Center within the

Soldiers’ Home (without weighting by unit size). But some small Care Centers (such as the 12-bed hospice

unit) are heavily staffed (6.0 HPPD) while other large Care Centers are much more leanly staffed (the 56-

bed Care Center 2 had 2.72 HPPD, according to the study)—this skews the unweighted average upward.

Although the study recommends more recruiting and other efforts to reduce overtime, it does not

prescribe higher staffing levels.

        The final version of the Moakley study was subject to review and editing by Mr. Walsh and

EOHHS leaders. Ms. Rivers explained that she received “a few edits with wording” because they “didn’t

want to use certain words in the union environment.” 318 Mr. Walsh proposed a series of edits to the

report’s executive summary that amounted to a rebuttal of several of its conclusions. 319 Undersecretary



  Ms. Rivers shared these observations during an interview with the McDermott team, but did not include
xii

them in the study itself.


                                                     50
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 51 of 174



Catherine Mick rejected these edits as “irrelevant” to the study, and in a later interview described them as

“par for the course” as Mr. Walsh would want to explain away any criticism he received as incorrect. 320

                  ii.     BRG analysis

        Because of the limitations and methodological errors in the Moakley study, McDermott retained

Berkeley Research Group, LLC (“BRG”) to analyze staffing data from the Soldiers’ Home. We tasked

BRG to answer two questions with respect to a recent month shortly before the COVID-19 outbreak

(February 2020): (1) what is the HPPD per unit, per shift, and by rank (i.e., registered nurses, licensed

practical nurses, and certified nursing assistants), and (2) how do these levels compare to those prescribed

by regulations and those observed at similar facilities elsewhere in Massachusetts and across the nation?

        To perform its analysis, BRG relied on data sources provided by the Soldiers’ Home and the

Commonwealth’s payroll data. To avoid conflating scheduled hours with hours actually worked, BRG

used state payroll data as the source-of-truth for hours worked, and then associated that data to the

scheduling records to identify the units on which each staff member worked. Finally, BRG identified

comparison data from public sources for other facilities—both skilled-nursing facilities generally, and

(where available) other state veterans’ homes.

        We draw several conclusions from the BRG analysis. First, the mix of nursing staff across ranks

at the Soldiers’ Home is similar to that at other state veterans’ homes and other skilled-nursing facilities

(in Massachusetts and elsewhere):




                                                    51
                                   Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 52 of 174




                                                                 Nursing Hours by Provider Type
                                   100%

                                   90%

                                   80%
  Percent of Total Nursing Hours




                                   70%            61%                  57%                   57%                  60%                   59%

                                   60%

                                   50%

                                   40%

                                   30%                                 25%                   25%                  20%                   24%
                                                  25%
                                   20%

                                   10%                                 18%                   18%                  20%                   17%
                                                  14%
                                    0%
                                            Soldiers' Home       Holyoke Geozip      All Massachusetts Veterans' Facilities           All U.S.
                                               Holyoke

                                                   Registered Nurse          Licensed Practical Nurse         Nursing Assistant

                                     Figure 1: This chart compares the mix of nursing staff by rank at the Soldiers’ Home to other facilities

In the chart above, “Holyoke Geozip” refers to other skilled-nursing facilities in the greater Holyoke

region; “all Massachusetts” refers to skilled-nursing facilities in Massachusetts; “Veterans’ Facilities” refers

to other state veterans’ homes for which public data is available, and “All U.S.” refers to all skilled-nursing

facilities in the United States. The Soldiers’ Home has the lowest percentage of registered nurses and

highest percentage of nursing assistants of the comparison data sources, but the differences are fairly small.

                                    Second, the aggregate staffing levels (measured as HPPD) at Soldiers’ Home are similar to other

state veterans’ homes, and higher (i.e., better) than those seen at most skilled-nursing facilities:




                                                                                       52
                                   Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 53 of 174




                                                                  Nursing Hours per Occupied Bed
                                   5.00



                                   4.50
  Nursing Hours per Occupied Bed




                                   4.00



                                   3.50



                                   3.00



                                   2.50
                                          1-Feb

                                                  3-Feb

                                                          5-Feb

                                                                  7-Feb

                                                                           9-Feb

                                                                                   11-Feb

                                                                                            13-Feb

                                                                                                     15-Feb

                                                                                                              17-Feb

                                                                                                                       19-Feb

                                                                                                                                21-Feb

                                                                                                                                         23-Feb

                                                                                                                                                  25-Feb

                                                                                                                                                           27-Feb
                                                    20th to 80th Percentile of All SNFs                 Soldiers' Home Holyoke
                                                    Veterans' Facilities                                All SNFs


                                                          Figure 2: Comparison of Aggregate Staffing Hours (as HPPD)

The shaded region in the chart above represents the 20th and 80th percentiles in the dataset of skilled-

nursing facilities across the country. The peaks and valleys in the chart reflect differences between weekday

and weekend staffing; the Soldiers’ Home, like most facilities, has considerably less staff on weekends.

The chart confirms that the Soldiers’ Home’s aggregate staffing levels are similar (although slightly lower

with respect to weekday shifts) when compared to other veterans’ homes, and markedly higher than the

average for skilled-nursing facilities generally.

                                    Third, there is substantial variance in staffing levels among the Care Centers within the Soldiers’

Homes. The most thinly staffed Care Center (Care Center 2) has HPPD levels well below the average,

but still above the 20th percentile of other skilled-nursing facilities:




                                                                                            53
                                 Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 54 of 174




                                                          Nursing Hours per Occupied Bed – By Unit
                                 5.50




                                 5.00




                                 4.50
Nursing Hours per Occupied Bed




                                 4.00




                                 3.50




                                 3.00




                                 2.50
                                        1-Feb

                                                  3-Feb

                                                          5-Feb

                                                                  7-Feb

                                                                             9-Feb

                                                                                     11-Feb

                                                                                              13-Feb

                                                                                                       15-Feb

                                                                                                                17-Feb

                                                                                                                         19-Feb

                                                                                                                                  21-Feb

                                                                                                                                           23-Feb

                                                                                                                                                    25-Feb

                                                                                                                                                             27-Feb




                                                20th to 80th Percentile of All SNFs                                Soldiers' Home Holyoke - Total

                                                CC#1 Locked Dementia (49)                                          CC#2 (56)

                                                CC#3 (81)                                                          CC#4 (50)


                                                                          Figure 3: Comparison of HPPD by unit




                                                                                              54
                                        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 55 of 174



The chart above excludes the small hospice unit, as the considerably higher HPPD in this 12-bed unit

would skew the axis of the chart.

                                         Finally, BRG’s analysis confirms that (as our interviews suggested) Soldiers’ Home is staffed at

markedly lower levels during the night shift. However, this pattern is similar to that observed at other

state veteran homes elsewhere in the country:xiii


                                                                         Scheduled Nursing Hours per Occupied Bed, By Shift
                                        2.00

                                        1.80

                                        1.60
       Nursing Hours per Occupied Bed




                                        1.40

                                        1.20

                                        1.00
                                                                          NJ Veterans Memorial Home:



                                                                          NJ Veterans Memorial Home:




                                                                                                                                          NJ Veterans Memorial Home:



                                                                                                                                          NJ Veterans Memorial Home:




                                                                                                                                                                                                          NJ Veterans Memorial Home:



                                                                                                                                                                                                          NJ Veterans Memorial Home:
                                                                          NJ Veterans Memorial Home:




                                                                                                                                          NJ Veterans Memorial Home:




                                                                                                                                                                                                          NJ Veterans Memorial Home:
                                        0.80
                                                Soldiers' Home Holyoke




                                                                                                                 Soldiers' Home Holyoke




                                                                                                                                                                                 Soldiers' Home Holyoke
                                                                                   Menlo Park




                                                                                                                                                   Menlo Park




                                                                                                                                                                                                                   Menlo Park
                                                                                    Paramus




                                                                                                                                                    Paramus




                                                                                                                                                                                                                    Paramus
                                                                                    Vineland




                                                                                                                                                    Vineland




                                                                                                                                                                                                                    Vineland
                                        0.60

                                        0.40
                                                                                                       NJ SNFs




                                                                                                                                                                       NJ SNFs




                                                                                                                                                                                                                                       NJ SNFs
                                        0.20

                                          -
                                                                                Day Shift                                                    Evening Shift                                                     Night Shift

                                                                         Soldiers' Home Holyoke                                                               NJ Veterans Memorial Home:
                                                                                                                                                              Paramus
                                                                         NJ Veterans Memorial Home:                                                           NJ Veterans Memorial Home:
                                                                         Menlo Park                                                                           Vineland


                                                                                                  Figure 4: Comparison of HPPD by shift

                                         There is no doubt that there are staffing problems at the Soldiers’ Home, and that staffing

resources need to be better allocated among different Care Centers and shifts. The staffing levels in some



  This chart compares the Soldiers’ Home to state veterans’ homes in New Jersey, which were the only facilities
xiii

for which BRG was able to identify shift-level data for the purposes of comparison.


                                                                                                                                            55
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 56 of 174



units—Care Centers 2 and 3, in particular—are considerably below what CMS recommends. Likewise, as

the Moakley study indicates, the modern approach of staffing levels set based on patient acuity levels (in

other words, having more staff work in areas with sicker patients) rather than merely the number of

patients would produce more uniform staffing coverage. There is also heavy turnover at the Soldiers’

Home, and the prevalence of new staff likely contributes to the problems that staff members reported in

our interviews. However, we conclude from BRG’s analysis that the Soldiers’ Home’s staffing levels are

not substantially different from similar facilities, and that the staff shortages that occurred during the peak

of the COVID-19 outbreak did not result from systemically low staffing levels prior to the outbreak.

                   iii.    Permanent schedule

        The Moakley study—released in August 2019—recommended that the Soldiers’ Home implement

a permanent staffing schedule to reduce uncertainty among staff, reduce overtime (including mandated

overtime), and stabilize the facility. Under the present approach, staff are scheduled on a rotating basis,

or in other words, they do not typically work the same days and shifts each week. Under a permanent

schedule, staff “bid” (usually based on seniority) for certain days and particular shifts, and then work their

assigned shifts on a consistent and predictable basis.

        Management and labor—and every witness we interviewed who had an opinion on the subject—

favor this approach. 321 Undersecretary Mick explained that she “does not see any upside of not having a

permanent schedule for staff” because “she does not understand how a facility could operate and how

staff could plan their life and operate without a clear schedule.” 322

        The Soldiers’ Home in Chelsea transitioned to a permanent schedule several years ago, a process

that took somewhere between two and six months to implement. 323 However, despite the general support

for this approach and the Moakley recommendation, it appears that through the time that Mr. Walsh was

placed on administrative leave, the Soldiers’ Home in Holyoke has not taken any substantial steps to design

and implement the permanent schedule, beyond initial discussions about the idea. 324 The cause of the

delays is unclear, but we identified email correspondence reflecting that EOHHS’s leadership were



                                                      56
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 57 of 174



frustrated by the delays. 325 As one EOHHS staffer wrote to Mr. Walsh on February 27, 2020, “[t]ime is

of the essence, as you yourself noted, this study was done a long time ago.” 326

D.      The COVID-19 outbreak

        1.       Guidance for healthcare facilities on the emerging COVID-19 pandemic

        In evaluating the preparations for and response to the COVID-19 pandemic by the Soldiers’

Home’s leadership, we sought to identify the relevant guidance from public health authorities in

Massachusetts and at the federal level.

        Critically, however, we note that this guidance evolved over time as the nature and scope of the

pandemic—and characteristics of the virus—became clear. Accordingly, the question must be whether

the Soldiers’ Home team responded to and implemented the advice that was available to them at the time

they faced each critical decision. In particular, we note that (as discussed below) as recently as early March

2020, state public health officials were advising that the risk of COVID-19 was low, and that the flu was a

greater risk to residents at long-term care facilities.

                                                *         *    *

        The first COVID-19 outbreak in the United States was at a skilled-nursing facility in Kirkland,

Washington. Two residents died with COVID-19 on February 26, 2020, and the facility was put on

lockdown. In all, over the next several weeks, 35 people died with the virus. The outbreak was widely

reported in the press, and the Soldiers’ Home’s leadership team was aware of it. 327

        COVID-19 had arrived in Massachusetts even earlier. The Commonwealth identified its first

COVID-19 case on February 1, 2020. 328 An international conference hosted by a large pharmaceutical

company in Boston on February 26 and 27, 2020 apparently catalyzed the spread of the virus in

Massachusetts.329 By the time Governor Baker declared a State of Emergency on March 10, 2020, 70 of

the 92 cases were linked to the conference.330

        The Commonwealth began promulgating guidance, literature, and recommendations directed at

protecting citizens from COVID-19 in February 2020. Early in February, the Department of Public Health



                                                          57
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 58 of 174



circulated a “fact sheet” for long-term care facilities, stating it was preferable to use alcohol-based hand

rubs rather than other type of hand rubs in order to prevent the spread of infectious agents. 331 But this

guidance did not specifically mention COVID-19. 332 On February 21, 2020, the CDC released a

preparedness checklist aimed at healthcare professionals, detailing procedures that should be in place to

prepare for the arrival of patients with confirmed or possible COVID-19. 333 These procedures included

reviewing a facility’s infection-control procedures for visitor management and restriction, the usage of

personal protective equipment for healthcare workers and patients, and ensuring proper patient placement

in light of an infectious disease outbreak. 334

        On February 27, 2020, the Massachusetts Department of Public Health released guidance directed

at long-term care facilities, noting the agency was closely monitoring the spread of COVID-19. 335 The

guidance letter recommended that long-term care facilities: (i) minimize the chance of exposure through

communications with patients/residents/families; (ii) ensure triage procedures are in place at facility entry

points to detect and isolate patients who may require evaluation for COVID-19; (iii) require healthcare

personnel at risk of exposure to adhere to “Standard, Contact, and Airborne Precautions, including

donning eye protection (e.g., goggles, face shield);” (iv) ensure healthcare personnel are educated, trained,

and have practiced appropriate usage of protective equipment prior to caring for patients; and (v) perform

alcohol-based hand hygiene. 336

        On March 2, 2020 Leslie Darcy (EOHHS Chief of Staff) sent an email to a variety of agency

officials—including Mr. Walsh—regarding the Commonwealth’s preparations for a potential outbreak of

COVID-19. 337 In her email, Ms. Darcy reported that “[t]he risk of COVID-19 in the Commonwealth is

low; in contrast, the risk of flu is high.” 338 The same day, the Department of Public Health issued a press

release announcing a presumptive positive case of COVD-19 in Massachusetts after testing began on

February 28, 2020 at the State Public Health Laboratory. 339 This result, if confirmed, would be the second

positive COVID-19 case in Massachusetts. 340 The press release reiterated that “[t]he risk to the public

from COVID-19 remains low in Massachusetts.”341



                                                     58
             Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 59 of 174



             On March 4, 2020 the Baker administration convened a meeting of various leaders representing

hospitals, public health boards, emergency response, long-term care facilities, and higher education to

discuss ongoing preparations for COIVD-19. 342 Governor Baker remarked “[w]hile the risk for COVID-

19 in Massachusetts remains low, our partnership with these organizations and leaders is crucial to ensuring

that the Commonwealth remains safe and prepared.” 343 Public Health Commissioner Dr. Monica Bharel

stated “[w]hile the risk of COVID-19 is low in Massachusetts, the administration strongly urges schools

to cancel all upcoming organized international travel for the foreseeable future.” 344 The press release

reiterated “[a]lthough the risk of COVID-19 to Massachusetts residents remains low, and the risk of the

flu is high, people are advised to take many of the same steps they do to help prevent colds and the flu

. . .” 345    On the same date, Dana Ohannessian (Communications Coordinator for the Department of

Public Health) circulated an email to various contacts, including Vanessa Gosselin (Infection Control

Nurse at the Soldiers’ Home) again stating that the risk “for COVID-19 is low, but the risk for flu is

high.” 346 The email attached updated guidance on optimizing the use of personal protective equipment

and advising procurement measures in case of shortage. 347

             On March 6, 2020, Catherine Starr (EOHHS Human Resources Officer) circulated a staff member

travel policy to agency contacts, including Mr. Walsh. 348 The policy directed staff to self-disclose to the

Hospital Employee Health Nurse xiv and their supervisor any planned or recent travel to COVID-19 risk

areas. 349 If staff did travel to risk areas, they were to disclose such travel for an appropriate assessment.

Those returning from “Warning Level 3” areas were required to stay home from work for 14 days. 350 Ms.

Starr also included resources providing an overview and fact sheet on COVID-19 and urged recipients to

ensure their workplaces have adequate disinfecting supplies. 351




xivThe Soldiers’ Home did not have an occupational nurse or occupational health function. Interim
Administrator Val Liptak later cited this as one of the challenges in managing staff wellness and call-outs due
to COVID-19.


                                                      59
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 60 of 174



        Also on March 6, 2020, Elvira Loncto (a federal VA employee) distributed COVID-19 guidance

to Mr. Walsh, Linda Lariviere (Minimum Data Set Coordinator), and Debra Foley (Director of

Communications). 352 The guidance advised limiting staff movements between COVID-19 contaminated

and unaffected areas, screening and limiting visitors, assessing residents daily for symptoms, developing

an isolation plan for suspected cases, and encouraging social distancing. 353

        In response to the growing COVID-19 crisis, Governor Baker declared a State of Emergency in

the Commonwealth on the afternoon of March 10, 2020. 354 There were 91 presumed cases of COVID-

19 as of this date. 355 On the same day, the VA issued a press release outlining precautions to be taken at

all VA facilities, including: (i) prohibiting visitors; (ii) suspending new admissions; and (iii) actively

screening staff for COVID-19 356

        Shortly after Governor Baker’s declaration of a State of Emergency, and the VA press release, the

Department of Public Health issued an order on March 11, 2020 mandating that all long-term care facilities

“implement procedures published by the [Department] to screen visitors . . . and [to] restrict visitation as

necessary to protect the health of residents and staff.” 357 The order mandated that anyone meeting

screening criteria be restricted from visiting long-term care facilities. 358 While not explicitly referenced in

the March 11, 2020 order, the text appears to suggest that long-term care facilities must follow the

Department’s guidance promulgated by the February 27, 2020 letter.359 The provisions mandated in the

March 11, 2020 guidance were to remain in effect from March 12, 2020 onwards. 360

        On the same day, the CDC promulgated a long-term care facility “Respiratory Surveillance List”—

a tool designed to assist healthcare personnel in tracking patients either confirmed or suspected of

COVID-19. 361 In turn, CMS published detailed guidance for nursing homes on March 13, 2020, which

included the recommendation that all facilities nationwide restrict visitors, cancel all communal dining and

group activities, and implement active screening of residents and staff for COVID-19. 362 As to testing,

CDC guidance as of March 14, 2020 largely deferred the decision to both state and local authorities, as

well as clinician judgment. 363



                                                      60
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 61 of 174



         On March 12, 2020, Paul Moran (Department of Veterans’ Services Chief of Staff) forwarded an

email from Ms. Darcy with COVID-19 guidance to Mr. Walsh and other contacts at the Department of

Veterans’ Services. 364 Mr. Moran’s email attached COVID-19 guidance for assisted-living facilities,

congregate care programs, agency based in-home caregivers and workers, community day programs, and

non-agency based in-home caregivers. 365 The documents provided largely the same guidance but differed

in some ways. All guidance counselled practicing good hygiene and screening individuals such as staff,

vendors, and clients. 366 The guidance for agency based in-home caregivers and workers, community day

programs, and congregate care programs all suggested providing personal protective equipment as

available, though the congregate care guidance specified that only symptomatic individuals should wear

masks. 367

         The community day program, congregate care program, and assisted living facilities guidance

directed isolating symptomatic individuals. 368 The assisted-living facility guidance specified that a

symptomatic resident should be moved to a single-person unit with the door closed. 369 The congregate

care guidance advised that symptomatic staff should be sent home and only permitted to return 24 hours

after their last symptoms. 370 Staff with a confirmed case of COVID-19 should only return after receiving

clearance from the local health board. 371

         Later that day, Mr. Moran forwarded an email to Mr. Walsh and others about updating “Continuity

of Operations” planning. 372 On March 13, 2020, Mr. Moran forwarded a message with contacts from the

State Purchasing Agent for the Commonwealth. 373 The message provided notice that statewide contract

vendors were experiencing significant shortages of certain COVID-19 response products, including hand

sanitizer and N95 masks, and invited agencies to reach out if they have urgent need to access certain

materials. 374

         On March 12, 2020, the CDC released guidance detailing “what healthcare personnel should know

about caring for patients with confirmed or possible” cases of COVID-19. 375 This March 12, 2020

guidance recommended isolating patients suspected of COVID-19, among other precautionary



                                                   61
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 62 of 174



measures. 376 In particular the guidance recommended “placing a facemask on the patient and placing them

in an examination room with the door closed in an Airborne Infection Isolation Room (AIIR), if

available.” 377

         The Department of Public Health issued another policy memorandum on March 16, 2020, focused

on long-term care facilities. 378 This memorandum replaced previous long-term care facility guidance issued

on March 11, 2020. 379 The memorandum: (i) restricted visitation by all visitors and non-essential health

care personnel, except in certain compassionate care situations; (ii) suspended all communal dining,

internal, and external group activities; (iii) recommended the use of eye protection, gowns, and gloves while

caring for residents; (iv) required facilities to perform temperature checks at entryways (individuals with

temperatures over 100.3 degrees Fahrenheit were not permitted to enter the facility); and (v) recommended

that patients with known or suspected COVID-19 be cared for in single-person rooms with the door

closed. 380

         Recognizing the stress placed on staffing by COVID-19, the Department of Public Health issued

an order on March 17, 2020, allowing all licensed clinical staff working at any hospital or facility to work

at any other hospital or facility if need be. 381 At the same time, on March 17, 2020, CDC issued a series

of guidance documents designed to help healthcare facilities optimize their supplies of eye protection,

facemasks, and isolation gowns. 382 On the same day, CDC released guidance detailing steps healthcare

facilities can take to prepare for COVID-19, including screening visitors entering facilities and ensuring

proper use of protective equipment. 383

         On March 22, 2020, the Department of Public Health issued guidance on the usage of personal

protective equipment, the first of which focused on the “Optimization of PPE,” and was applicable to all

healthcare facilities as well as first responders. 384 Healthcare workers were required to use N95 masks or

standard medical masks, standard medical gowns, full eye shields, and medical gloves in areas of medical

facilities providing general care to COVID-19 patients (whether confirmed or presumptive). 385 The

Department of Public Health also issued a chart detailing how facilities could request personal protective



                                                     62
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 63 of 174



equipment, and a table showing strategies for personal protective equipment “optimization” for all types

of medical facilities. 386

         On March 23, 2020, the CDC published a single page guidance on “preferred” and “acceptable”

personal protective equipment usage for healthcare providers—both standards recommend full isolation

gowns, gloves, a face shield, and either an N95 respirator or face mask. 387 The CDC expanded on this

guidance on how to use personal protective equipment when caring for patients with confirmed or

suspected COVID-19 on March 30, 2020, noting that the personal protective equipment should be donned

prior to entering a room of a patient confirmed or suspected of having COVID-19. 388 On April 5, 2020,

the CDC published detailed guidance on preparing nursing home facilities for COVID-19, as well as

detailed interim infection control and prevention measures for confirmed cases of COVID-19. 389

         2.       COVID-19 preparations at the Soldiers’ Home

                     i.      2020 flu outbreak and response

         The initial response to the COVID-19 threat at the Soldiers’ Home overlapped in part with its

response to an ongoing (but relatively minor) influenza outbreak in the facility. xv

         In February 2020, five veterans tested positive for the flu and 22 others showed symptoms. 390 On

the morning of February 12, 2020, Courtney Cottle (Health Information Management Supervisor at the

Home) sent an email to members of the Home’s medical team informing them of three confirmed flu

cases. 391 The Home’s infectious disease nurse, Vanessa Gosselin, organized a meeting later that day for

clinicians and senior staff to discuss the flu outbreak. 392




xv This overlap occurred at other skilled-nursing facilities as well. The early stages of the COVID-19 outbreak
at the skilled-nursing facility in Washington were initially identified as flu cases. See Jack Healy and Serge F.
Kovaleski, “The Coronavirus’s Rampage Through Suburban Nursing Home,” THE NEW YORK TIMES, March
21, 2020, https://www.nytimes.com/2020/03/21/us/coronavirus-nursing-home-kirkland-life-care.html. We
have been unable to determine whether any of the February 2020 flu infections at the Soldiers’ Home were in
fact COVID-19 cases. Staff reported that the first confirmed COVID-19 patient at the Soldiers’ Home had
symptoms of a dry cough in February, more than a month before his diagnosis. See Interview of Jillian
Orzechowski, Social Worker I (April 27, 2020); Interview of Mary Bergeron, Licensed Practical Nurse II (May
1, 2020); Interview of Cindy Cormier, Licensed Practical Nurse II (May 5, 2020).


                                                       63
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 64 of 174



          On February 13, 2020, Nancy Shimel, on behalf of Mr. Walsh, sent an email to the Soldiers’ Home

staff confirming that there were three flu cases at the Home and implementing protocols to contain the

spread. 393 The email directed staff to encourage infected veterans to remain in their rooms and all other

veterans to remain on their units, instructed staff to wear a mask if they were within five feet of an infected

veteran, promoted hand hygiene and surface decontamination, partially restricted visitation (barring

volunteers from entering the home and postponing community activities), and requested that staff who

feel unwell stay home.394 Later that day, Dr. Clinton distributed additional guidelines on influenza outbreak

measures during the medical staff meeting.395

                   ii.     Initial COVID-19 preparations

          In the wake of the flu outbreak, the Soldiers’ Home leadership team—including Mr. Walsh, Dr.

David Clinton (Medical Director), Vanessa Lauziere (Chief Nursing Officer), Celeste Surreira (Assistant

Director of Nursing), Debra Foley (Director of Communications), Mark Yankopoulos (Agency Counsel),

Jeremiah Laplante (Director of Operations), and Norman Gousy (Chief Financial Officer)—met in early

March to discuss precautionary measures to prevent the introduction and spread of COVID-19 at the

facility. 396

          On March 3, 2020, Ms. Gosselin posted signs asking visitors to consider refraining from visiting

if they felt ill, and to wear a mask if they had a cough. 397 On March 4, 2020, she sent an email to all staff

encouraging them to observe proper hand hygiene, “cough etiquette,” and continue surface cleaning.398

In this email, Ms. Gosselin reported a shortage of masks, and requested that only those staff who had not

received a flu vaccine, had a cough, or were working with a veteran who was ill and coughing wear masks.399

On March 5, 2020, Ms. Gosselin notified supervisory staff that she had removed masks from the floors

and public areas in order to conserve resources.400 She directed staff to speak to their assigned Veteran

Care Coordinator (i.e., unit manager) or another supervisor if they needed a mask. 401

          On March 6, 2020, Ms. Lauziere sent an email to staff promoting hand washing and cough

etiquette; lauding the infection control, housekeeping, and recreation teams for keeping the facility clean;



                                                      64
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 65 of 174



and notifying staff that flyers had been posted in the Home regarding COVID-19 safeguards. 402 Ms.

Gosselin also posted signs at entrances directing staff to notify a supervisor if a visitor had recently travelled

internationally. 403

         On the same day, Paul Moran (Department of Veterans’ Services Chief of Staff) sent an email to

the Superintendents of the two Soldiers’ Homes asking that they compile and send their external

distribution lists to him to facilitate COVID-19 communications from EOHHS. 404 The following day

(March 7, 2020), Mr. Moran followed up with Mr. Walsh, attaching the distribution list provided by the

Soldiers’ Home in Chelsea. 405 Mr. Walsh responded that he was presently checking on his list 406, and he

informed Mr. Moran that the Soldiers’ Home in Holyoke had instituted new visitation policies, including

restrictions on volunteer visits and discouraging family members who had recently travelled outside the

country from visiting.. During that week, the Soldiers’ Home department heads began to hold twice-daily

meetings to discuss COVID-19. 407

         On March 10, 2020, Secretary Urena sent an email to Mr. Walsh and his counterpart in Chelsea,

asking that the Superintendents document and compile all of their flu and COVID-19 policies in a

dedicated binder. 408 Secretary Urena also asked the Superintendents to document all cancelled events and

all events the executive teams refrained from attending due to COVID-19. 409 Mr. Walsh responded that

he had notified his staff of the new policies and that “[g]eneral sense in the building is super positive-

understanding the importance of preventing the spread and pro active (and teamwork) / good

communications going forward.” 410

                       iii.   The Board of Trustees’ role during the outbreak

         The Board of Trustees of the Soldiers’ Home held a regularly scheduled meeting on March 10,

2020 at the Home. 411 Trustees in attendance included Kevin Jourdain (Chair), Christopher Dupont, Cesar

Lopez, Carmen Ostrander, Isaac Mass, and Richard Girard. 412 Soldiers’ Home leadership in attendance

included Mr. Walsh, Deb Foley, Norman Gousy, Mark Yankopoulos, Vanessa Lauziere, Jeremiah




                                                       65
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 66 of 174



Laplante, Jessica Powers, and Nancy Shimel.413 Other attendees included Secretary Urena and Stuart

Ivimey (General Counsel of the Department of Veterans’ Services).414

        During the meeting, the Trustees and leadership discussed the February 2020 flu outbreak at the

Home. 415 Mr. Walsh’s presentation to the Board included a slide on “weathering the flu outbreak.” 416 Mr.

Walsh reported that the Soldiers’ Home had successfully contained the outbreak by implementing

measures including distributing early prophylactic medication to veterans and undertaking thorough

cleaning throughout the building. 417

        Mr. Walsh’s prepared presentation did not contain any information about COVID-19.418

Nonetheless, Board Chairman Kevin Jourdain asked whether the Soldiers’ Home could take proactive

measures given that the COVID-19 response criteria was changing rapidly. 419 Mr. Walsh reported that

while there were no positive COVID-19 cases at the Home, 420 in consultation with Dr. Clinton, he planned

to employ precautionary measures for COVID-19 similar to those that successfully contained the recent

flu outbreak. 421 These measures included limiting visitation, cancelling planned entertainment events, and

prioritizing hand sanitization and ensuring adequate supply of hand sanitization materials. 422         The

possibility of taking temperatures of staff prior to their shifts was also discussed. 423 Secretary Urena

expressed support for the proposal to restrict visitors. 424 Ms. Foley stated that, beginning March 11, 2020,

visitors will be restricted to a single point of entry where they will be screened upon arrival, and visitors

under the age of 12 will be prohibited from entering the Home. 425 Additionally, staff would be requested

to remain at home if they feel unwell and asked to report any travel plans. 426 There was no discussion of

clearing space at the Soldiers’ Home to use as isolation areas for infected residents. 427

        Trustee Isaac Mass inquired presciently whether the Home had developed a plan in case of staffing

shortages related to COVID-19. 428 In response, Mr. Walsh noted that the Soldiers’ Home works with four

outside staffing agencies that could deploy additional staff if the need arose. 429 However, Mr. Walsh has

subsequently confirmed that no steps were taken to confirm that the staffing agencies would continue to

deploy staff in the event of a COVID-19 outbreak at the home. 430



                                                      66
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 67 of 174



            During the meeting, Mr. Walsh reported that he had received a press inquiry about COVID-19

precautions. 431

            Trustee Cesar Lopez asked about the availability of COVID-19 testing kits.432 According to the

minutes, Dr. Clinton indicated that all lab testing from the Home would be sent to Holyoke Medical Center

by courier. 433

            On March 19, 2020 (two days after the first Veteran was tested for COVID-19, and two days

before his result came back positive), Mr. Jourdain sent Mr. Walsh an email proposing that Mr. Walsh

provide the Board with weekly updates on the COVID-19 situation. He did not receive a response. 434

            Mr. Jourdain also spoke with Mr. Walsh on Sunday March 29, 2020—the day before Mr. Walsh

was put on administrative leave. Mr. Jourdain explained that another Board member, Cindy Lacoste, had

heard “grumblings that there might be something going on at the home” and thus Mr. Jourdain reached

out. He reported that Mr. Walsh indicated that three veterans had died, and that he was working in close

coordination with state authorities. Mr. Jourdain also reported that Mr. Walsh indicated that the staffing

situation was “under control.” 435 Ms. Lacoste also reported speaking to Mr. Walsh on March 29 (a few

minutes before Mr. Jourdain did). According to Ms. Lacoste, Mr. Walsh reported that there had been five

deaths, of which two were linked to COVID-19. 436

            The Board was not consulted before Mr. Walsh was placed on administrative leave on March 30,

2020. 437

                     iv.     Additional restrictions on visitation and screening measures for staff

            Ms. Lauziere sent another set of guidelines to the Soldiers’ Home staff on March 11, 2020

implementing a variety of new policies. 438 The guidelines established a single entrance and screening

process for visitors (but not staff 439), which included answering a brief questionnaire about symptoms and

travel, and a temperature check. 440 The screening process was conducted by the administrative staff at a

check-in station that was initially set up in the front lobby, then was later moved to the outpatient entrance

(where there was better access to sinks for handwashing). 441 These staff members conducting the screening



                                                     67
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 68 of 174



were not told to wear personal protective equipment while they conducted these screenings, nor were they

provided with such equipment. 442 Hospice and agency (i.e., contract) nursing staff and veterans coming to

the home for outpatient or dental services were also required to undergo the screening process prior to

entering the home. 443

        The restrictions also prohibited visitors under 12 years old, limited each veteran to two visitors at

a time, and prescribed that visitation would only occur in veterans’ rooms. Visitors (but not veterans) were

prohibited from entering the canteen, dining room, or any other common areas. Visiting hours were

shortened to 11 a.m. to 7 p.m. 444 Volunteers remained barred from the facility, under a restriction

promulgated one week earlier. 445

        The March 11 policy also put a hold on new admissions to the Soldiers’ Home, and staff members

were discouraged from travelling. 446

        Further restrictions and policies were implemented the following day, March 12, 2020. 447 Under

these restrictions, veterans living in the dormitory and nursing students would now be screened prior to

entry to the long-term care building, and a sign-in sheet was implemented. (The experienced nursing-

home administrator whom we retained as an expert and consultant for this report expressed his surprise

that a sign-in sheet was not always in use at the Home. He was unfamiliar with any skilled-nursing or long-

term care facility that did not use sign-in procedures for visitors. 448)

        The March 12 policy also provided that staff members were to complete a self-screening, which

included taking their own temperature and answering the screening questions.449 Staff who registered a

temperature of 100.3 degrees or above, or answered “yes” to any of the questions on the screening

questionnaire were to return home. 450

        The policies were tightened again the next day, March 13, 2020. Visiting hours were again

narrowed, now to 12:00 p.m. until 5:00 p.m. (effective March 14). Under the March 13 policy, everyone

was to use a single entrance to the building, and all scheduled outpatient medical and dental appointments

for non-resident veterans were canceled effective March 16.451 When entering the building, staff were



                                                       68
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 69 of 174



asked screening questions by a colleague (rather than completing the questions on their own). As of this

date, dormitory veterans were no longer permitted to enter the long-term care building and their food was

sent to the dormitory building using disposable paper supplies. 452 Ms. Lauziere noted in a subsequent email

that in response to the restriction on dormitory veterans, “[t]en veterans actually said to me, it took long

enough for they roam all around the community.” 453

        On March 12, Mr. Walsh emailed Secretary Urena requesting permission to close the home to

visitors over the weekend (Saturday, March 14 and Sunday, March 15) because families had not been

adhering to the new restrictions. 454 On March 13, CMS recommended closing all long-term care facilities

to visitors. 455 The Soldiers’ Home implemented a prohibition on all visitors—with limited exceptions for

the families of veterans who were near death—effective March 14.456

        On March 15, Mr. Walsh notified staff by email that “effective immediately,” the Soldiers’ Home

was now “under flu protocol.” 457 He explained that there were “two vets who have the flu,” and noted

that “this is not COVID-19 restriction protocol as this is a different item all together [sic].” 458 Shortly

after this email, Mr. Walsh sent a follow up email with a “minor update,” that in fact the “flu results” were

still pending for the two veterans who may have the flu. 459 Mr. Walsh requested that all veterans remain

in their units while they awaited the results as a “precautionary measure.”460 A review of the Soldiers’ Home

records showed that two veterans, one on Unit 3-West and one on Unit 4-East were tested for influenza

and RSV on March 15. 461 Both veterans were kept in their rooms.462 One veteran tested negative for

influenza and RSV and his symptoms subsequently improved, while the other veteran was positive for

RSV. 463 This veteran was ultimately tested for COVID-19 on March 31, 202, and was negative.464

        On March 15, Governor Baker ordered that all non-essential state employees in the executive

branch agencies should not report to work effective March 16, 2020. 465 In response, Nancy Shimel sent

an email—at Mr. Walsh’s direction—on March 17 announcing that all Soldiers’ Home staff were declared

to be essential workers, and were to continue reporting to work. 466 In addition, the March 17




                                                     69
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 70 of 174



announcement required that any staff who were sick needed a “return to work note” from their medical

provider before coming back to work. 467

        As of March 18, the Soldiers’ Home began having a team take the temperature of staff upon arrival

for work (as had been the process for visitors and contract staff earlier). 468 Mr. Walsh explained that the

reason for the delay in implementing mandatory staff temperature checks (in lieu of the self-testing

procedure used before) was that, in his view, the Soldiers’ Home needed to receive union approval before

they could do so. 469 (These temperature checks were implemented in Chelsea beginning on March 16).470

The same email announcing this restriction also explained that veterans would no longer be able to send

their laundry home with family members to wash, effective March 21.471

                    v.      Recreation and dining

        The Soldiers’ Home also initiated restrictions on recreational programs and group activities during

the first three weeks of March. 472 As of March 10, the St. Patrick’s Day Parade had been canceled, but

families were still permitted to visit with veterans in the Canteen. One family member reported that when

she visited her father on March 10, the Canteen was “full of people.” 473 The recreation department

continued to host “socially-distant” activities in the indoor Canteen for veterans until the first COVID-19

positive test result in the third week of March.474

        As of March 11, all veteran activities outside the building were cancelled. 475 During this week, the

staff were also instructed to help families with “virtual visits” through Skype and FaceTime, although a

number of staff and families reported difficulties given the absence of devices equipped with these

services. 476 Some social workers reported using their personal phones to facilitate FaceTime calls between

veterans and their families. 477

        Even after the March 13 policy update, the Canteen on the second floor remained open to staff

and veterans who resided on that floor. The dining room was still open for communal dining. 478 Once

Walsh notified the staff that the facility was now on “flu protocol” as of March 15, the dining hall was

closed for the communal dining. 479 Yet as of March 17, veterans were still permitted to eat in the “Lion’s



                                                      70
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 71 of 174



Den” recreation room, and those who smoked were still permitted to go to the smoking rooms as long as

they were not experiencing symptoms. 480

                   vi.      Personal protective equipment

        Prior to the first positive test result on March 21, 2020, staff reported receiving little to no

communication regarding the use of personal protective equipment—other than being told that they

should minimize their use of such equipment to conserve resources. 481 For example, the March 11

guidelines did not contain instructions on the proper use of personal protective equipment. 482 Staff

members reported that they were discouraged from wearing masks unless they had not received a flu shot

or had COVID-19 symptoms. 483 This guidance was confusing because according to a “Coronavirus

Q&A” distributed on March 11 by Catherine Starr (a Human Resources Officer at EOHHS), individuals

who tested positive for COVID-19 were not to show up to work at all. 484 Guidance shared with Bennett

Walsh by Paul Moran (Chief of Staff to Secretary Urena) on March 12 instructed staff to stay home if they

were “displaying illness symptoms” and advised that if residents were symptomatic, staff should have them

put on a facemask and self-isolate in their units. 485

        On or around March 13, staff members raised concerns that Ms. Gosselin had removed surgical

masks from the floors on March 5 (apparently due to concerns about pilfering). 486 Ms. Gosselin instructed

staff members that if they wanted to obtain a mask, that they would have to ask Ms. Gosselin or another

supervisor. 487 Some staff members reported difficulties in obtaining masks through this process while

others reported that they never felt that masks were unavailable to them.488 Around this time, some staff

members began bringing their own masks from home. 489 Staff members were consistently reminded during

this time to be “mindful” of their use of masks and gowns, and in an email on March 17, Mr. Walsh noted

that the executive team was keeping a “watchful eye” on the supplies.490

        As discussed below, on March 19, 2020, Mr. Walsh directed that a box of 60 N95 masks be sent

to the Soldiers’ Home in Chelsea. 491




                                                         71
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 72 of 174




                  vii.     Other communications with staff about COVID-19 preparations

        Throughout the first two weeks of March, leadership provided limited instruction to staff on

COVID-19 policies and procedures, including the use of personal protective equipment. 492 At the time,

staff reported that COVID-19 did not seem like anything “scary” and the administration did not make it

seem like there was anything that they needed to worry about. 493

        Ms. Gosselin reported that she and Dr. Clinton went to each unit and shared education with staff

about COVID-19 and how to protect themselves and the veterans. 494 These trainings did not include how

to handle a suspected COVID-19 positive case, but were instead focused on preventative measures like

handwashing, social distancing, and the use of personal protective equipment.

        In mid-March, Mr. Walsh also made a series of announcements over the public address system at

the Soldiers’ Home. The public address system can be heard throughout the facility. During the week of

March 16, Mr. Walsh made a public announcement about use of marijuana by the staff. He announced

that he wanted staff to know that “doing a Mary Jane” is not acceptable before coming into work and that

“[j]ust to clarify as I am sure everyone understands, but I will say it anyway, Mary Jane is not a girl.” 495

When asked about the announcement and why he thought it would be appropriate to share this

information with veterans (who could also hear public announcements), Walsh said that it had been

brought to his attention that there had been a couple of staff members who came into work smelling like

marijuana. 496 Mr. Walsh also made comments over the public address system telling staff that they should

show up to work despite fears of COVID-19, and that those who did show up “would not be forgotten.” 497

Several staff members assert that Mr. Walsh made an announcement listing the names of staff members

who were being written-up or disciplined during this time period. 498 Mr. Walsh denied doing so, agreeing

that it would not have been appropriate to list staff members’ names. 499

        Again, many staff members reported hearing little from the administration about COVID-19

preparedness. 500 A contributing factor is that many staff members at the Soldiers’ Home rarely access their




                                                     72
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 73 of 174



email accounts during their shifts, and do not have access at home. 501 Multiple staff members have

reported that email is not an effective way of communicating with staff.502

         The staff was not instructed to take every veterans’ temperature on every shift, prior to

identification of the first COVID-19 case on March 21, 2020, discussed below. 503

                   viii.   Communications with veterans’ families

         The Soldiers’ Home’s evolving policies concerning COVID-19 were generally communicated to

families via Facebook postings, by phone, and through emails and letters. 504 As of March 14, family

members were no longer allowed to visit the facility, so the Soldiers’ Home began receiving an increased

number of calls from family members who were concerned about their loved ones and looking for

updates. 505

         By March 17, an iPad had been set up for FaceTime calls between the veterans and their families,

and the Soldiers’ Home recreation staff and social workers were called in to help facilitate these calls. 506

Exceptions to the visitation rule were made for the families of those veterans who were near death. 507

However, family members who visited in these circumstances report that they were not provided with

personal protective equipment. 508

         After the first COVID-19 case was confirmed at the Home on March 21, families reported that

there was a lack of communication from the Home and that it became increasingly difficult to get in touch

with the staff to get updates on their loved ones. Some family members learned about the first initial

deaths at the Soldiers’ Home through the media. 509 Colleen Croteau, whose father passed away with

COVID-19 at the Soldiers’ Home, reported calling the Soldiers’ Home three times on March 26, leaving

messages asking whether there was a COVID-19 outbreak. 510 Her calls, and those of her sister, were not

returned. 511 Ms. Croteau called again the next morning, and she was told that the Soldiers’ Home was

“taking precautions” but that there was not an outbreak. 512 Eileen Driscoll, another family member,

reported that the hotline set up for families “became a futile tool” because most of the time she had to

leave a message. 513 Ms. Driscoll recalled leaving a message on April 2 that was not returned until April 4. 514



                                                      73
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 74 of 174



         Susan Kenney had a similar experience using the hotline, which she described as ineffective and a

“joke.” 515 On April 3, after not hearing an update about her father in over 30 hours, Ms. Kenney wrote

“Is my dad alive?” on the windows of her car and drove to the Soldiers’ Home. 516 When she arrived, a

nursing assistant came out and told her that her father was alive. 517 Ms. Kenney reported that

communication from the Soldiers’ Home improved after this. 518

         Family members also had difficulties speaking directly with their loved ones as residents were

moved around in the building, and their landline telephones no longer rang at their current locations. 519

         For some family members, video calls were not an effective way of checking up on their loved

ones, especially for those veterans who were very ill or in advanced stages of dementia. 520

                   ix.     Communications with the state agencies prior to the first suspected
                           case

         Until the last week of March, the leadership team at the Soldiers’ Home relied primarily on written

guidance from external agencies such as the CDC and Department of Public Health to coordinate the

COVID-19 response.521 Mr. Walsh tasked Dr. Clinton with monitoring CDC and Department of Public

Health guidelines and providing updates to the team.522 Mr. Walsh reported that they would receive an

update and guidance from Department of Public Health “every once and a while” 523 and that he and

members of his team would attend teleconferences and video conferences such as the “Stakeholder

Conference Call” with the Department of Public Health 524 and local Holyoke Board of Health meetings. 525

         Prior to the first positive COVID-19 test result, Mr. Walsh reports that he did not have “frequent”

communications with the Department of Veterans’ Services about COVID-19.                  He continued to

participate in weekly calls with Secretary Urena and Ms. Poppe (Superintendent of the Soldiers’ Home in

Chelsea). 526

                   x.      Communications with labor unions regarding COVID-19 preparations

         Labor-relations tensions—already a significant problem at the Soldiers’ Home—increased in the

weeks leading up to the COVID-19 outbreak, as union members raised concerns about the Home’s

preparations for the pandemic.


                                                     74
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 75 of 174



        The SEIU Local 888 chapter was scheduled to have a membership meeting at the Soldiers’ Home

on March 11, with up to 200 members (plus union leaders who worked outside the Home) expected to be

in attendance. However, due to the concerns about COVID-19 and the increased emphasis on limiting

large group gatherings and visitors, the union representatives decided to cancel the meeting. 527 Cory

Bombredi (Internal Organizer for SEIU Local 888) cancelled a smaller labor-management meeting that

was scheduled for March 12 for the same reasons. The Massachusetts Nurses Association was also

scheduled to have a meeting at the Home on March 12 to discuss, among other agenda items, staffing and

“best practices/information regarding coronavirus crisis.” That meeting was also cancelled. 528

        Both SEIU Local 888 and the Massachusetts Nurses Association made inquiries into the measures

that the Soldiers’ Home was taking to prepare for COVID-19. Brenda Rodrigues (SEIU Local 888

President) reported that members were concerned that they were not hearing “anything” from

management about preparedness protocols, and that one of the purposes of the cancelled March 11

meeting was to discuss COVID-19 preparedness. 529 One nurse reported that when she first started hearing

about COVID-19 on the news, she knew the Soldiers’ Home would be “up the creek” if COVID-19 hit

because they were short staffed and she felt that no one on the nursing management team had the

experience or knowledge needed to handle an outbreak. 530 Another nurse commented that the staff were

worried because they had not received any instruction regarding COVID-19. 531

        On March 11, the Massachusetts Nurses Association inquired about the restrictions and protective

measures at both the Chelsea and Holyoke Soldiers’ Homes. 532 On March 17, the SEIU Local 888 Union

wrote to Mr. Walsh asking for details about any COVID-19 policies and procedures were being

implemented. 533 The SEIU Local 888 did not receive a response to this letter and it was not until a March

24 conference call with management that union leadership was provided more detailed updates on the

measures taken to address COVID-19 at the Home. 534




                                                   75
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 76 of 174




                  xi.      Creation of isolation areas in preparation for COVID-19 cases

        The Soldiers’ Home leadership team began considering the creation of isolation rooms on or

around March 10. 535 Mr. Walsh discussed the preparation of these isolation rooms with his clinical

leadership team, including Dr. Clinton, Kelly Hansen (Quality Manager), and Ms. Lauziere; Ms. Gosselin

was consulted separately. 536 Ms. Lauziere determined that the Home needed to establish the negative-

pressure rooms xvi because they were “anticipating maybe a handful of positives or potentials.”537 Thomas

Lingenberg, a building maintenance supervisor involved in the set-up of the negative-pressure rooms,

noted that the Soldiers’ Home had a negative-pressure room in the past, but it had been dismantled during

the last remodeling. 538 The team decided that two rooms on the 3-North unit (rooms 315 and 317) were

best suited to be converted into negative-pressure isolation rooms. 539 At the time, each of these rooms

housed two veterans. The team decided that these four veterans would be moved to other rooms on 3-

West, 3-East, 3-North, and 4-East on March 17. 540 Rooms 315 and 317, chosen because they were

connected internally, were converted into negative pressure rooms. 541

        Ms. Hansen informed Mr. Walsh, Ms. Lauziere, Ms. Surreira and other managers “that the 3N

veterans will be relocated on a temporary basis in order to facilitate an empty room should isolation

become necessary.”542 She concluded her email by stating “[t]o be clear, there are no confirmed cases at

[the Soldiers’ Home] at this time, we are being proactive, should the need arise in the future.”543

        Later, on or around March 20, 2020, veterans on the 2-South hospice unit were moved to other

locations (including one of the locked dementia units, 2-North) in order to create additional space for

isolation of potential or confirmed COVID-19 cases. 544

        None of these rooms or units were ever used for isolation purposes during Mr. Walsh’s tenure as

Superintendent. 545




  A negative-pressure room is one where the HVAC system is configured such that the pressure in the isolation
xvi

room is lower than the surrounding space, to prevent virus particles from contaminating the air outside the
room. See https://www.cdc.gov/infectioncontrol/guidelines/environmental/background/air.html#table6


                                                     76
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 77 of 174



        The Soldiers’ Home leadership team did not take steps to ensure that staff would be available to

serve the isolation rooms on a dedicated basis (i.e., to avoid floating staff from contaminated to non-

contaminated areas). 546 Ms. Gosselin asked Ms. Lauziere whether they would have dedicated staff for those

rooms (as the CDC recommends 547). Ms. Lauziere told her that they would not be doing so. 548 Mr. Walsh

recalled that he did discuss the staffing needs for the isolation areas and whether they would be able to

assign specific staff to a room, 549 but said that it did not seem possible because they did not have enough

staff to do so. 550 He did not take any steps to request staffing assistance to facilitate use of the isolation

rooms at the time they were established.

                                              *        *        *

        The following table summarizes the key public-health recommendations for COVID-19, and the

timeline of their implementation at the Soldiers’ Home:

 Protection Measure:                          Date Recommended:            Status of Implementation:
 Restrict (and later prohibit) visitors at    March 6, 2020 (VA)           March 11, 2020: visitors screened
 long-term care facilities; detect and        (recommending                upon arrival with questions and
 screen for COVID-19 at entryways (e.g.,      restrictions on visitors);   temperature checks; visitors under
 questions about symptoms and travel,         March 10 (VA)                age 12 prohibited; visitors restricted
 temperature checks)                          (recommending ban on         to entering through a single point of
                                              visitors); March 11,         entry. March 14, 2020: Soldiers’
                                              2020 (Massachusetts          Home closed to visitors, with
                                              Department of Public         limited exceptions for close family
                                              Health)                      of veterans who were near death.
 Limit staff movement (i.e., “floating”)      March 6, 2020 (VA)           Not effectively or consistently
 between contaminated and unaffected                                       implemented during Mr. Walsh’s
 areas                                                                     tenure.
 Suspend new admissions                       March 10, 2020 (VA)          March 11, 2020: new admissions
                                                                           suspended.
 Suspend communal dining and activities       March 13, 2020 (CMS)         March 15, 2020: canteen closed.
                                                                           However, on March 17, 2020,
                                                                           some veterans were still permitted
                                                                           to eat in the recreation room, and
                                                                           the smoking areas remained open
                                                                           until March 28, 2020.




                                                      77
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 78 of 174




 Protection Measure:                        Date Recommended:         Status of Implementation:
 Isolate patients suspected of COVID-19     March 12, 2020            Not effectively or consistently
                                            (Department of            implemented during Mr. Walsh’s
                                            Veterans’ Services);      tenure.
                                            March 17, 2020
                                            (Centers for Disease
                                            Control)
 Ensuring proper use of personal            March 12, 2020            Not effectively or consistently
 protective equipment when treating         (Department of            implemented during Mr. Walsh’s
 confirmed or suspected COVID-19            Veterans’ Services);      tenure.
 patients                                   March 17, 2020
                                            (CDC); March 22,
                                            2020 (Massachusetts
                                            Department of Public
                                            Health)


        3.      The response to suspected and confirmed cases of COVID-19 at the Soldiers’
                Home

                   i.     Veteran 1 shows symptoms and is tested for COVID-19

        Veteran 1, residing on 1-North (a locked dementia unit), had a history of pneumonia and

respiratory illness. 551 He first showed symptoms consistent with COVID-19 in February, including a high-

pitched cough and fever. 552 Veteran 1 received multiple chest x-rays between February and early March,

all of which were inconclusive. 553 Veteran 1 had previously been tested for pneumonia, strep, and the flu,

but all of the tests were negative. 554 Despite his symptoms and his cognitive challenges, Veteran 1 was

ambulatory and walked freely around 1-North spending time in the common areas of the unit. 555

        On March 15, Veteran 1 was weak, feverish, and coughing more than he had been previously. 556

A nursing aide (with 25 years of experience at the Soldiers’ Home) reported these symptoms to Ms. Surreira

(the Assistant Director of Nursing). 557 The nursing aide reported that in her view, Ms. Surreira “didn’t

take it seriously” that Veteran 1 might have COVID-19. 558 The aide brought a mask from home, but Ms.

Surreira reprimanded her verbally for wearing the mask while treating Veteran 1. This aide tested positive

for COVID-19 on March 19, 2020, and missed five weeks of work after developing pneumonia secondary

to COVID-19. 559




                                                    78
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 79 of 174



         During the overnight shift beginning on March 16, another nursing aide observed that Veteran 1’s

symptoms, which included a fever and cough, appeared consistent with COVID-19. 560 The nursing aide

secured a mask for Veteran 1 to wear, but he was unable to keep it on (due to his advanced dementia).

The aide brought Veteran 1’s symptoms to the attention of Ms. Surreira at the end of her overnight shift

(the morning of March 17). Ms. Surreira again expressed skepticism that Veteran 1 had COVID-19, 561 but

submitted a clinical report and told Veteran 1’s treating physician, Dr. Munro, about Veteran 1’s symptoms.

Dr. Munro ordered that Veteran 1 be tested.562 A swab was collected from Veteran 1 on March 17, and

sent to a private lab in California, which had a 4 to 5 day turnaround. 563 (At the time, the Soldiers’ Home

(and other state facilities) did not have access to testing in Massachusetts, which might have facilitated

faster results.)564

         Ms. Lauziere (the Chief Nursing Officer) reported that she was not informed of Veteran 1’s

symptoms or the decision to test him for COVID-19 in real time, and only learned later during a staff

meeting that he had been tested. 565 When she learned of the test, she asked Dr. Clinton whether Veteran

1 should be moved to an isolation unit (one of the two negative-pressure rooms that had been set up, and

were not in use). She reports that Dr. Clinton replied that this was a “moot point” because “everyone has

been exposed already” on Veteran 1’s unit, and it would put the rest of the Home at risk if Veteran 1 were

moved elsewhere. 566

         Mr. Walsh reported that he only learned of the test the next day, March 18, 2020. 567

         A nursing aide who provided care to Veteran 1 shortly after he was swabbed reported that Veteran

1 was not isolated, he was sitting down in a common area with other veterans, and there were no apparent

restrictions on his movement within the unit. 568 At the time Veteran 1 was tested, he had three roommates

who remained in his room until after his test results came back positive for COVID-19 four days later. 569

During an interview, Dr. Clinton shared his understanding that based on a presentation from New England

Long Term Care Association, if a patient has a roommate with COVID-19, one should automatically

assume that patient also has COVID-19. We have been unable to locate a copy of a presentation or other



                                                     79
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 80 of 174



guidance that conveys such advice. In any event, no restrictions were placed on Veteran 1’s roommates—

whom Dr. Clinton apparently assumed were infected—they were also allowed to move about the unit, and

they were not tested for COVID-19 until after Veteran 1’s test result came back positive. 570

        In the days after he was tested, staff again attempted to have Veteran 1 wear a mask, but he refused

to keep it on. 571 Other than gloves, staff members generally were not wearing personal protective

equipment when caring for Veteran 1 between the time of his test (March 17) and the results of that test

(March 21). 572 As discussed below, some staff who did wear other protective equipment were told that

they should not be wearing it. 573 Staff continued to be floated on and off 1-North throughout March 2020,

potentially spreading the infection elsewhere in the building. 574

                   ii.     Dr. Clinton becomes ill and leaves work

        On March 21, 2020, Dr. Clinton started to develop respiratory symptoms, and he reported to the

emergency room on March 22, 2020. 575 Dr. Clinton eventually tested negative for COVID-19, but while

the test was pending, his physician instructed him to remain at home. 576

        Dr. Clinton did not return to work at the Soldiers’ Home until March 27, 2020. 577 Dr. Barry Smith

covered for Dr. Clinton’s clinical patient treatment responsibilities during his absence. 578 We have been

unable to identify anyone who expressly assumed the roles and responsibilities of Medical Director during

Dr. Clinton’s absence. While Dr. Clinton was out, he attempted to perform his job duties as much as

possible on a remote basis. 579

                   iii.    Response to Veteran 1’s positive test results

        On the evening of Saturday, March 21, Veteran 1’s test results came back confirming that he was

positive for COVID-19. Many staff members found out that a veteran had tested positive for COVID-

19 through word-of-mouth over the course of the weekend of March 21 - 22. Some staff members emailed

Mr. Walsh and Ms. Lauziere for more information, but they did not respond to these inquiries. 580 Ms.

Lauziere informed the staff she spoke with that COVID-19 was similar to the flu and similar precautions

should to be used. 581



                                                      80
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 81 of 174



        As soon as his positive test result was received (four days after Veteran 1 was initially swabbed for

COVID-19) Veteran 1’s three roommates were moved to a different room. Prior to this, one of Veteran

1’s roommates was “very mobile” and frequently visited other rooms. 582 According to Ms. Lauziere, none

of Veteran 1’s roommates were exhibiting COVID-19 symptoms at this time. 583

        After testing positive, staff attempted to keep Veteran 1 in his room. The door to Veteran 1’s

room was supposed to remain closed, but staff largely ignored this policy and kept the door open for faster

access because Veteran 1 was a fall risk and required constant supervision. 584 After Veteran 1 tested

positive, plastic was put up over the entrance to Unit 1-North, and staff who worked with Veteran 1 were

provided masks. 585 However, some staff did not wear personal protective equipment when entering

Veteran 1’s room, despite working with other veterans. 586

        When Veteran 1 tested positive, Dr. Clinton and Ms. Lauziere again discussed whether Veteran 1

should be moved to the isolation unit. Dr. Clinton advised against doing so, as in his view others in 1-

North had been exposed already, and the facility would be at risk if Veteran 1 got out of his room on an

unsecured unit. 587 Dr. Clinton and Ms. Lauziere did not feel that there was adequate staff to prevent

Veteran 1 from wandering if he were moved out of 1-North. 588 They ultimately decided that the benefits

of moving Veteran 1 to an isolation unit on 3-North were outweighed by the risks of doing so. 589

        Staff who worked on 1-North during the weekend of March 21-22, 2020, after the test result

confirmed that Veteran 1 was positive for COVID-19, continued to “float” and work in other areas of the

facility, potentially spreading COVID-19. A nursing aide who primarily works on 2-North recalls being

floated down to 1-North on March 26. 590 She was tested for COVID-19 on March 27, and the result came

back positive one week later. A laundry worker reports that he changed the curtains on 1-North on March

22 and then proceeded to visit each of the other units for laundry purposes during the following week. 591

This laundry worker later tested positive for COVID-19. 592 A registered nurse recalled that even after

Veteran 1 tested positive, nursing aides would be scheduled to work two hours on 1-North and then

directed to complete the balance of their shift on the third floor. 593 The nurse asked her supervisors,



                                                     81
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 82 of 174



including Ms. Lauziere, why staff were floated between positive and negative units given the risk of

spreading COVID-19. 594 Ms. Lauziere responded that the Home “had to work with the number of staff

they had.” 595

                   iv.     Discussions with families regarding MOLST forms

         During the week of March 23, 2020, Ms. Lauziere (Chief Nursing Officer) and Sandy Moreno (a

registered nurse who served as a unit manager) instructed two social workers (Carrie Forrant and Jill

Orzechowski) to have conversations with veterans and their families relating to their Medical Orders for

Life-Sustaining Treatment (“MOLST”) forms in light of COVID-19. 596 These forms are used to document

veterans’ end-of-life preferences on questions such as whether they wish to be intubated, resuscitated, or

hospitalized if their condition deteriorates.

         Ms. Forrant and Ms. Orzechowski were tasked with calling the family members of every veteran

on 1-North, where veterans were quickly becoming quite ill.597 Ms. Forrant recalls that the process was

emotionally very difficult both for the families, and for the social workers making the calls. 598 She

described these calls being made in the midst of “chaos.” 599

         In our interview, Ms. Orzechowski reported that Ms. Lauziere pressured her to try to have the

MOLST forms changed to “do not transfer” so that the veterans could be kept comfortable in the Soldiers’

Home, rather than going back-and-forth to the hospital. Despite this pressure, none of the Social Workers

reported encouraging any veteran or family to make a particular choice. 600 Ms. Forrant explained that their

job was to educate and support the families in whatever they decided.601

         Ms. Forrant reported that she and Ms. Orzechowski ultimately stopped making these phone calls

because “it felt wrong . . . in the pit of my belly and heart.” 602 Ms. Forrant explained that due to the

COVID-19 pandemic, families were asking them a barrage of different questions and sharing anxieties for

which they did not have answers, and it was not possible for her to be a calming, reassuring voice in the

midst of the chaos. 603 Ms. Forrant elaborated: “my heart was just bleeding for these families. I had already




                                                     82
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 83 of 174



been seeing some of the sickest guys at that point, it was a lot for any one person to handle, never mind

that we were making a lot of phone calls.” 604

                   v.      Continued discussions and disputes with labor unions regarding
                           COVID-19

        Between March 17, 2020 and March 28, 2020, SEIU Local 888 Union leaders sent written requests

for information to the Soldiers’ Home on four different dates. These requests all went unanswered.

        In response to members’ growing concerns about COVID-19 and staffing levels, Cory Bombredi

(a SEIU Local 888 Organizer) sent written requests for information to the Soldiers’ Home on March 17,

March 25, March 26, and March 28. Mr. Bombredi sent the first formal request for information on March

17, 2020, seeking information on what the Soldiers’ Home was doing to “ensure our membership’s safety,

and the safety of their family. This request includes but [is] not limited to hours of operation, contact with

the public, contact with coworkers, cleaning and sanitizing measures, a list of employees that are considered

emergency or essential personnel, closures of buildings or departments, and employee payment.” 605

        Mr. Bombredi sent his second request for information on March 25, 2020. Mr. Bombredi sent

Mr. Walsh an email requesting a full list of all employees hired at the Soldiers’ Home during the timeframe

of January 1, 2015 to December 31, 2017. 606 Mr. Bombredi sent his third request for information on

March 26, 2020. Brenda Rodrigues (President of SEIU Local 888) and Mr. Bombredi sent Mr. Walsh an

email with a bargaining demand and formal request for information about the Soldiers’ Home’s COVID-

19 plan. 607 They requested that the Soldiers’ Home “comply with CDC guidelines and provide proper

Safety Equipment and PPE for ALL SEIU Local 888 members in the Holyoke Soldiers’ Home.” 608 The

email continued: “Please consider this a demand to bargain and a request for information pursuant to

M.G.L. c.150E. SEIU Local 888 is prepared to take any and all necessary measures to remedy our concern,

including going to higher levels of state government and making our case to Veterans’ advocacy groups

and the news media.” 609 They requested to meet immediately via video call or conference call to discuss

these concerns. 610 There was no response. Mr. Bombredi sent a fourth request for information to the

Soldiers’ Home on March 28, 2020 regarding the COVID-19 plan; again, there was no response. 611


                                                     83
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 84 of 174



        Union representatives also spoke with management during a WebEx conference call on March 24,

2020. The participants on the call included SEIU Local 888 management (Ms. Rodrigues, Mr. Bombredi,

Mr. Ablordeppey, Mr. Miller), the Massachusetts Nursing Association (Ms. Fox), Soldiers’ Home

Management (Mr. Walsh, Dr. Clinton, Ms. Lauziere, Ms. Gosselin), and EOHHS (Suzanne Quersher

(Director of Labor Relations), Jeffrey Krok (Labor Relations Specialist)) to discuss the Soldiers’ Home

response to the COVID-19 pandemic. 612 However, during this call, in response to questions raised about

veterans and union members being at risk for COVID-19, Ms. Rodrigues reports that she was told that

the substance of the matter could not be discussed due to “HIPAA restrictions.” 613 The management

representatives confirmed that they had N95 masks and the proper safety equipment in the Soldiers’

Home. 614 According to Mr. Bombredi, on this call “Bennett Walsh also made a statement that [the Home]

is not understaffed.” 615

                   vi.      Updated guidance and continued disputes regarding protective
                            equipment and infection control

        Availability of and policies concerning personal protective equipment remained uneven and

inconsistent during the week of March 22. Some staff members reported that they felt “annoyed, paranoid,

and fearful for their lives because they could not find masks.” 616 Ms. Forrant reported that she was told

“no” after asking Ms. Lauziere if the staff could wear masks and gowns because of their concerns when

caring for particular veterans. 617 Ultimately, however, this approach softened during the course of this

week: masks were provided upon request, and staff were permitted to wear them. By March 23, clinical

staff received new masks daily and non-clinical staff (housekeeping, maintenance, office staff) received

new masks weekly.618

        One key event suggests that the supply of masks never reached critical levels at the Soldiers’ Home.

On March 19, Mr. Walsh authorized the transfer of 60 N95 masks to the Soldiers’ Home in Chelsea, which

immediately sent a driver to pick them up from Holyoke. 619




                                                    84
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 85 of 174



        On March 25, 2020, after a call with the Department of Public Health, Ms. Gosselin circulated

updated infection control and personal protective equipment guidance to Mr. Walsh, Dr. Clinton, and Ms.

Lauziere. 620 She wrote:

        Person doing the swab must wear an N95 mask!!!!!!!...Positive cases or presumed positive
        cases should if possible: in a private room with closed door; in a separate area of the
        facility; dedicated staff; appropriate PPE (facemask, eye protection, gown and gloves);
        N95 only for aerosolized procedures OR swabs; hand hygiene is still the best protection.

Ms. Gosselin also proposed scheduling “fit testing” for the N95 masks. 621

        Ms. Lauziere circulated guidance that staff who are suspected or confirmed to have COVID-19

should not return before 7 days after the test or onset of symptoms, and must be fever-free for 3 days

without fever-reducing drugs before returning. 622

        One dispute regarding personal protective equipment has drawn substantial media attention and

merits further discussion here. Kwesi Ablordeppey, a certified nursing assistant and union representative,

worked an overnight shift on March 17-18, 2020 on the 4-East unit. His previous shift (the night of May

16-17, 2020) was on 1-North, and he provided direct care to Veteran 1 who was tested for COVID-19 on

the morning of May 17 because he was showing COVID-19 symptoms.

        When Mr. Ablordeppey reported to work on 4-East on March 17, the charge nurse informed him

that a two veterans were vomiting and incontinent, which she said was indicative of a gastrointestinal

problem. 623,xvii The nurse reminded Mr. Ablordeppey to follow infection control procedures. 624 Mr.

Ablordeppey reports that he then donned personal protective equipment the charge nurse provided him. 625

        Witnesses offered varying accounts of the equipment that Mr. Ablordeppey used. According to

Ms. Lauziere (who did not witness the incident), Alina Koziol (who did) reported that Mr. Ablordeppey

was “grabbing PPE, inappropriately using PPE to bring notice to himself, and causing panic/anxiety

among other staff members.” 626 Vanessa Gosselin (the Infection Control Nurse) later came onto the unit




   Diarrhea and vomiting are also symptoms of COVID-19. See https://www.cdc.gov/coronavirus/2019-
xvii

ncov/symptoms-testing/symptoms.html (accessed June 12, 2020).


                                                     85
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 86 of 174



during her rounds. During this time, she reports that “people were getting anxious and were wearing full

PPE all the time,” but she found this problematic because personal protective equipment is meant to be

worn individually and not full time because it can become contaminated.627 (We note that at this time, Ms.

Gosselin had directed that personal protective equipment be removed from the floors, such that staff had

to request equipment each time from a manager. It is unclear how they could change equipment after

each patient, in light of this restriction).

         On Unit 4-East, Ms. Gosselin noticed that Mr. Ablordeppey was using personal protective

equipment while performing direct care. 628 According to Mr. Ablordeppey, Ms. Gosselin did not ask him

questions about why he was using personal protective equipment, but rather did a “quick in-service about

the COVID-19 and the distance we are to maintain.” 629 (It is unclear how Mr. Ablordeepey was to

maintain social distance from the veterans he was cleaning and caring for as they experienced uncontrolled

vomiting and diarrhea).

         On March 20, 2020, Mr. Ablordeppey received a disciplinary letter signed by Ms. Lauziere stating:

         On this March 18, 2020, during your overnight shift in reaction to safety procedures of
         which you disagreed, you put on a Personal Protection Equipment without permission or
         need. Your actions are disruptive, extremely inappropriate and have caused unnecessary
         resources to be deployed that may be needed in the future. Your behavior unnecessarily
         disrupted and alarmed staff. We expect more from you as a seasoned employee of the
         Soldiers’ Home and perceived leader. Please contact me Monday morning 3/23/20. 630

Ms. Lauziere described the letter to Mr. Ablordeppey as an “FYI” and “not a discipline of any sort.” 631

She also asserts that she did not write the letter (which bears her name), but agrees that she did review and

approve it before it was sent.

         As instructed in the letter, Mr. Ablordeppey went to speak with Ms. Lauziere at her office on the

morning of March 23, 2020, but due to a family emergency Ms. Lauziere did not arrive at the Soldiers’

Home until after Mr. Ablordeppey’s shift had ended and he had left for the day. 632 Ms. Lauziere and Mr.

Ablordeppey never ended up meeting to discuss this incident. 633 Ms. Lauziere explained that “I had all

intentions of meeting with him, but when I got back into the roll of things, COVID-19 was up-and-

running.” 634


                                                     86
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 87 of 174



        Mr. Ablordeppey said that he tried to ignore the letter, but “it hurt my feelings a lot.” 635 Mr.

Ablordeppey viewed this letter as a form of retaliation for his union activity.636 On March 24, 2020, Mr.

Ablordeppey filed a formal Incident Report with Mr. Walsh, Mr. Bombredi, Mr. Krok, Ms. Quersher, Ms.

Rodrigues, and Ms. Medeiros. 637 Among other things, he asserted that the incident was retaliation for

protected union / organizing activity. We have not been able to locate a formal response to Mr.

Ablordeppey’s grievance.

                  vii.     Unit 2-North is closed and consolidated with Unit 1-North

        A critical decision was made on the afternoon of Friday, March 27: Unit 2-North, one of the two

locked dementia units, was closed and all of its 21 veterans were moved to Unit 1-North—doubling the

number of veterans in 1-North (which previously held 21 veterans).638 This required that veterans be

crowded into rooms and common spaces, with their beds inches apart.

        At the time that this decision was made, both 1-North and 2-North contained a mix of veterans

who had tested positive for COVID-19, veterans for whom test results were still pending, and veterans

who were not symptomatic and had not been tested. 639 The end product was a severely overcrowded unit

with veterans of different COVID-19 statuses.

        Our first investigative task is to identify who made this decision. Final clinical decision-making

authority resided with the Medical Director, Dr. Clinton—who had returned from medical leave on the

morning of this day, March 27. Dr. Clinton told the McDermott team that he “was not involved in, or

consulted” in the decision-making process that led to combining these two units. He stated that his job,

instead, was to “pronounce deaths and tell families that their loved one had passed.” Dr. Clinton indicated

he would not have made or approved the decision to combine the units, if he had been asked. 640

        Assistant Director of Nurses Celeste Surreira also asserts that she was not consulted in the

decisions to combine 1-North and 2-North, and would have opposed it had she been consulted. She was

at the Home when the decision was made, but reports that she was only informed of it when it came time

to move residents. Ms. Surreira recalls Ms. Lauziere (the Chief Nursing Officer) approaching her after



                                                    87
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 88 of 174



walking out of the “executive suite” and reporting that “we were not getting help” from outside the

building, and the two units would have to be merged. 641

        Superintendent Walsh also denies that he participated in the decision to combine these units. He

reported that he was focused on making telephone calls to request National Guard assistance while the

“medical team” were having discussions about closing the 2-North unit. 642 In an interview conducted

seven days after the date when the units were combined, he reported that he does not know what they

discussed, what alternatives were considered, the names of the full team involved, or how this “medical

team” reached the decision to combine the units. Mr. Walsh reports that Ms. Lauziere informed him of

the decision in a telephone call (despite the fact their offices are nearby, and both were in the building at

the time), and that he did not overrule the decision. Mr. Walsh acknowledged that he was aware that 1-

North and 2-North contained a “mix of those who were tested, pending test, and not showing signs.”643

Mr. Walsh asserts that the ultimate decision to combine the units was “a medical decision submitted to

Dr. Clinton.” 644 He did not discuss it with Dr. Clinton. 645

        Only Ms. Lauziere admits participating in the decision to combine the units. Initially, she told the

McDermott team that during a staff meeting on March 27, she decided to “bring the veterans who had

tested positive on 2-North down to 1-North.” When we asked what would happen to the remaining

veterans on 2-North who had not tested positive, she acknowledged that all 2-North veterans would be

moved, and stated that “2-North is a closed unit. At this time, we had about 40 of our clinical team out

and refusing to work. We did not have the staff to safely care for the veterans that were in the Home

according to the formula that the VA came up with for staffing.” Ms. Lauziere could not recall who else

(apart from Jeremiah Laplante, who was in charge of operations with respect to the physical plant)

participated or was present for the meeting where this decision was made. She does not recall Mr. Walsh

being present for the meeting, but said he “had to have attended” by telephone. 646

        We reach several conclusions in light of these conflicting and inconsistent accounts of a critical

decision-making process that occurred only a few weeks before the interviews in question. First, we reject



                                                     88
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 89 of 174



as implausible Dr. Clinton’s assertion that he was not involved in the decision. At the very least, he

acknowledges that he was aware of it, and—as the ultimate clinical authority for the Soldiers’ Home—

should have involved himself. Second, while he is not a clinician, Mr. Walsh nevertheless abandoned his

managerial responsibilities by permitting the consolidation to go forward based on a brief phone call from

the Chief Nursing Officer, without consulting the Medical Director, the Infection Control Nurse, or

otherwise pressure-testing the decision. If Mr. Walsh’s role was to serve as a manager, he failed in the key

responsibility of ensuring that the decision-making process was robust and that all stakeholders were

present. Third, at the very least, Ms. Lauziere made a decision inconsistent with her training, inconsistent

with reasonable judgment, and inconsistent with her duty to the veterans at the Soldiers’ Home.

         There is no dispute that the consequences of this decision were devastating to the veterans on

both housing units. Staff describe the move as “total pandemonium,” “when hell broke loose,” and “a

nightmare.” 647 They reported that “all of a sudden they just started moving people.”648 One staff member

reported thinking: “How can they do this because this [is] the most insane thing I ever saw in my entire

life?” 649 She “felt it was like moving the concentration camp—we are moving these unknowing veterans

off to die. I will never get those images out of my mind—what we did, what was done to those

veterans.” 650

         A number of staff members reported discussions with Ms. Lauziere in which they questioned the

decision to combine the two units, or tried to convince her to change course. One staff member reports

that she “marched over” to Unit 1-North and asked Ms. Lauziere “what is going on . . . there are a lot of

people here who are not showing symptoms and you are going to move them in with people who are and

put them right on top of each other?” 651

         With assistance from Ms. Surreira, Ms. Lauziere “direct[ed] traffic” during the move. 652

Housekeeping also was instructed to remove tables and chairs from the dining room on Unit 1-North so

that veterans’ beds could be lined up in the dining room. 653 Ms. Surreira told housekeeping staff that if

they were not going to be on the floor for more than 15 minutes, they did not need an N95 mask and



                                                    89
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 90 of 174



could use a surgical mask instead. 654 Some housekeeping staff refused, and ultimately received N95 masks

to wear during the move. 655

        After the consolidation, Unit 1-North was packed with 42 veterans. 656 The veterans’ beds and

nightstands were directly next to each other and there were no privacy curtains between them. 657 None of

the veterans’ clothing or personal items were initially moved down to Unit 1-North with them. 658 There

were insufficient outlets to plug in the beds, so some veterans could not elevate their beds. 659 At times, he

names above the beds did not match the veteran who was in the bed, although the veterans wore ID

bracelets and later the veterans’ names were posted outside of their rooms. 660 The dining room was made

into a bedroom with nine beds in it. 661 Veterans were sitting in common day rooms in their gowns. 662

        One nursing aide reflected: “We always took pride in our care with honor and dignity, and I

thought my god where is the respect and dignity for these men, we are leaving them sitting there in johnnies

more confused because there is 40-something of them now.” 663

        Social Worker Terri Gustafson (who has worked at the Home for 21 years) reports that she saw

Ms. Surreira point to a room and state: “All this room will be dead by tomorrow.” 664 Similarly, at

approximately 7:00 p.m. on March 27, Social Worker Jill Orzechowski heard Ms. Lauziere—while standing

outside of a room on 1-North—say “something to the effect that this room will be dead by Sunday so we

will have more room here.” 665

        Ms. Orzechowski reports that she does not believe that dying veterans received sufficient pain-

management medications on the night of March 27, 2020. She recalled raising concerns with Ms. Lauziere

about the risk of COVID-19 spreading, and Ms. Lauziere responding that “it didn’t matter because [the

veterans] were all exposed anyway and there was not enough staff to cover both units.” 666

        Observing the conditions on 1-North on March 30, 2020, interim Administrator Val Liptak

explained that she and her team have a “collective 90-plus years of nursing,” but “none of us have ever

seen anything like this.” The 1-North unit “looked like a war zone.” 667 According to Incident Commander

Lisa Colombo, on March 30, 2020, this “hot” unit had veterans “crammed in on top of each other,” some



                                                     90
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 91 of 174



of whom “were clearly dying.” There were “chairs of people lined up, some were clothed, some unclothed,

some were wearing masks, some weren’t.”668

        Another troubling aspect of the consolidation of 2-North and 1-North is that three of the veterans

on 2-North were hospice patients who had been transferred there from 2-South a few days earlier, to

create another unit for possible isolation of infected veterans. 669 We presume that many of these veterans

were not ambulatory dementia patients who needed to be on a locked ward—instead, they were dying and

in need of hospice care. They were then transferred to the crowded 1-North unit, where they and other

patients stretched the limited staff beyond their ability to provide the required care.

        We find substantial evidence that the conditions and quality of care on the combined 1-North unit

during the weekend of March 28-29 were deplorable. Clinical staff report that they tried to do the best

they could under the circumstances, but they were unprepared, understaffed, and without sufficient

resources and guidance. 670 Some staff members reported that they were struggling to provide adequate

care, including to keep veterans hydrated and to provide sufficient morphine and comfort medications to

certain veterans who were dying. 671 Staff reported difficulties tracking which veterans had been fed. 672

One staff member said she observed a COVID-19 positive veteran who “had fecal matter on his socks

and was laying on another vet’s bed.” 673 Staff reported that they felt like it was “difficult” and “impossible”

to keep the veterans in 1-North isolated from one another. 674 Many of the veterans in the consolidated

unit were “bed hoppers,” meaning that in the fog of dementia, they would climb into various beds on the

units. 675 Some nursing aides expressed a concern that they could not keep track of which veterans were

positive and which veterans was negative for COVID-19. 676

        Several staff members described situations where “one veteran [was] taking his last breaths while

the veteran next to him [was] eating his meals without the privacy of curtains” between them. 677 Social

Worker Carrie Forrant provided this narrative:

        I was sitting with a veteran holding his hand, rubbing his chest a little bit. Across from
        him is a veteran moaning and actively dying. Next to me is another veteran who is alert
        and oriented, even though he is on a locked dementia unit. There is not a curtain to shield
        him from the man across from him actively dying and moaning, or a curtain to divide me


                                                      91
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 92 of 174



        and the veteran I am with at the time, from this alert, oriented veteran from making small
        talk with the confused little fellow. He is alert and oriented, pleasantly confused, and
        talking about the Swedish meatballs at lunch and comparing them with the ones his wife
        used to make. I am trying to not have him concentrate on the veteran across from him
        who is actively dying, or the one next to him who I am holding his hand while he is dying.

        It was surreal . . . I don’t know how the staff over in that unit, how many of us will ever
        recover from those images. You want to talk about never wanting this to happen again. 678

        During the weekend of March 27-29, 2020, veterans’ family members called the Soldiers’ Home

for information on their loved ones, seeking to speak with them (given the ban on in-person visits). Staff

had a difficult time trying to handle caring for the patients and answering the phone as there were not

enough people to do both. 679 Staff reported that they had not received instructions or scripts about what

they could or could not tell family members. 680 The Social Workers tried to review nurses’ notes so that

they could answer questions without bothering the clinical staff. 681 One social worker commented, “It

was chaos . . . The families didn’t realize how bad it was.” 682 Staff reported offering veterans’ desk phones,

nursing unit phones, and their own personal cell phones to make calls to family members, but there were

not adequate resources for staff to adequately keep families connected with their veterans. 683

                   viii.   The outbreak spreads: more veterans test positive and the death toll
                           grows

        The Soldiers’ Home staff collected the second round of samples for COVID-19 testing on March

21—the evening that Veteran 1’s positive result came back. More samples were collected on March 26,

27, and 29.

        One veteran passed away on March 24, while his test result was pending (it came back positive on

March 29). The death toll then began to grow dramatically on Friday, March 27, 2020. Another three

veterans suspected of COVID-19 died on that date. The Home received positive results for one of these

three veterans that day (March 27; he was tested on March 21), and the other two were tested on the same

day they died (positive results came back on April 2). Two more veterans died with COVID-19 the next

day, March 28 (one was Veteran 1, who was known to be positive at the time of his death; the other died




                                                      92
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 93 of 174



with his result pending). Another veteran died with COVID-19 on March 29 (he was tested on March 24,

and the result came back on March 29).

             The table below lists all deceased veterans who were tested for COVID-19 or who passed away

between the date the first veteran was tested (March 17, 2020) and when Mr. Walsh was placed on

administrative leave (March 30, 2020): 684

  Veteran ID:        Date of First Test:    Date of (+) Test Result:       Date of Death:             Unit: xviii
  Veteran A          (none)                 (none)                         March 17, 2020             (unknown)
  Veteran 5          March 24, 2020         March 29, 2020                 March 24, 2020             2N
  Veteran 2          March 21, 2020         March 27, 2020                 March 27, 2020             1N
  Veteran 7          March 27, 2020         April 2, 2020                  March 27, 2020             2N
  Veteran 8          March 27, 2020         April 2, 2020                  March 27, 2020             1N
  Veteran 1          March 17, 2020         March 21, 2020                 March 28, 2020             1N
  Veteran 9          March 27, 2020         April 2, 2020                  March 28, 2020             1N
  Veteran 6          March 24, 2020         March 29, 2020                 March 29, 2020             2E
  Veteran C          (none)                 (none)                         March 29, 2020             1N
  Veteran 3          March 21, 2020         March 27, 2020                 March 30, 2020             1N
  Veteran 10         March 27, 2020         April 2, 2020                  March 30, 2020             1N
  Veteran 30         March 21, 2020         March 27, 2020                 March 30, 2020             (hospital;
                                                                                                      previously
                                                                                                      1N)
  Veteran B          March 21, 2020         (none – negative on            March 31, 2020             1N
                                            March 27, 2020)
  Veteran 32         March 22, 2020         March 27, 2020                 April 1, 2020              2N
  Veteran 40         March 27, 2020         April 2, 2020                  April 1, 2020              2N
  Veteran 41         March 27, 2020         April 3, 2020                  April 1, 2020              2N
  Veteran 33         March 22, 2020         March 26, 2020                 April 2, 2020              1N
  Veteran 37         March 26, 2020         April 4, 2020                  April 2, 2020              2N
  Veteran 43         March 29, 2020         April 8, 2020                  April 3, 2020              2E
  Veteran 36         March 25, 2020         March 31, 2020                 April 4, 2020              1N
  Veteran 42         March 27, 2020         April 2, 2020                  April 4, 2020              1N
  Veteran 38         March 26, 2020         April 2, 2020                  April 6, 2020              2W
  Veteran 34         March 22, 2020         March 27, 2020                 April 7, 2020              1N
  Veteran 12         March 28, 2020         April 3, 2020                  April 8, 2020              2N
  Veteran 35         March 24, 2020         March 29, 2020                 April 8, 2020              2W
  Veteran 39         March 26, 2020         April 2, 2020                  April 8, 2020              2E
  Veteran 44         March 30, 2020         April 3, 2020                  April 15, 2020             2W
  Veteran 11         March 27, 2020         April 2, 2020                  April 17, 2020             2N

Boldface text indicates tests, results, and deaths that occurred during the period when Mr. Walsh served

as Superintendent.




xviii   Unit location for each veteran reflects the assignment as of the morning of March 27, 2020.


                                                          93
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 94 of 174



        Thus, from the time of the first test (March 17) through the day Mr. Walsh was placed on leave

(March 30) 12 veterans died. Of these, 2 were never tested, 6 tested positive, and there are 4 for whom

results were still pending as of Mr. Walsh’s last day.

        We note that the rapid acceleration in the death toll was to some degree anticipated by the Home’s

leadership. On Friday, March 27, 2020, a storekeeper employee delivered 13 body bags to 1-North at

around 2:45 p.m., shortly before the consolidation of the two units began. On March 28, 2020, a tractor

trailer refrigeration unit (ordered earlier in the week) arrived outside of the Soldiers’ Home to store the

remains of veterans who passed away, as there was not enough space in the morgue.

        Mr. Walsh was not present at the Soldiers’ Home on the weekend of March 28-29, 2020, as he was

home caring for his wife who was recovering from treatment for a serious illness. He did not visit the

combined 1-North housing unit during the period March 27-30, 2020.685

        4.       Reporting out: requests for assistance and communications regarding reportable
                 events

        This section addresses communications between the Soldiers’ Home and other state agencies and

officials during the course of the COVID-19 outbreak—including both requests for guidance and

assistance, and reports of infections and deaths.

                   i.      Reporting requirements related to COVID-19

        Much like the COVID-19 infection control guidance that continued to change and evolve

throughout March 2020, the requirements for reporting to state and local officials changed and expanded

as the scope of the pandemic came to light. We have identified the following pertinent reporting

requirements, beginning approximately at the time of the first COVID-19 test on March 17, 2020:

    •   Pre-existing requirements: before the period of the outbreak, the Soldiers’ Home was subject
        to a general requirement that it report the deaths of any veterans to the Holyoke Board of Health,
        and that “serious communicable disease” or deaths from “non-natural causes” be reported to the
        Department of Veterans’ Services and EOHHS using a Critical Incident Report (i.e., a template
        form). 686

    •   March 16-23: The Soldiers’ Home had no requirement to report suspected COVID-19 cases (or
        pending test results) to the Department of Veterans’ Services or EOHHS. 687 Instead, the



                                                         94
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 95 of 174



    requirement concerning COVID-19 was to report any confirmed cases to the Department of
    Veterans’ Services and EOHHS using a Critical Incident Report, and to alert the Holyoke Board
    of Health of any confirmed COVID-19 cases (as well as any deaths, regardless of COVID-19 status).
    The Board of Health would, in turn, contact the Department of Public Health. 688

•   March 24-29: Colleen Arons (Assistant Secretary for Communications and Public Affairs for
    EOHHS) sent an email at 4:21 pm to agency heads with a new daily tracker format to replace the
    Critical Incident Reports for COVID-19 cases. Paul Moran (Department of Veterans’ Services
    Chief of Staff) forwarded it to Ms. Poppe and Mr. Walsh the afternoon of March 25. Ms. Arons
    wrote that EOHHS is “implementing a new reporting process for all agencies to track any confirmed
    cases of COVID-19. This new process . . . requires each agency head to designate a member of
    your team who will be responsible for collecting and reporting daily updates to share with EHS.”
    (emphasis added) 689 The only required reporting in EOHHS’ COVID-19 daily tracker, as
    illustrated below, were confirmed COVID-19 cases. The tracker did not require reporting of
    pending tests and did not include a column to report deaths of veterans who were suspected or
    confirmed to have COVID-19. 690 On March 27, Ms. Arons confirmed to Mr. Yankopoulos that
    EOHHS was only collecting confirmed, not pending, cases. 691




                         Figure 5: March 24 EOHHS COVID-19 Tracker Form

•   March 29: At 10:38 a.m., Secretary Urena sent an email to Mr. Walsh and Ms. Poppe with another
    new reporting form attached (“Homes Daily Data”) and requested that the information be
    provided by 11:30 a.m. on Monday, March 30. 692 For the first time, as of March 30, the
    Department of Veterans’ Services now requested daily reporting of the number of pending
    COVID-19 cases (i.e., veterans awaiting test results), the number of patients recovered
    from COVID-19, and the number of deaths associated with pending or confirmed COVID-
    19 cases. Secretary Urena’s updated daily reporting tracker—which again, was not due for
    submission until March 30—is shown below:




                             Figure 6: March 29 COVID-19 Tracker Form




                                               95
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 96 of 174




                  ii.     Summary of reports-out and requests for advice and assistance

        Against the background of these changing requirements for reporting, the following timeline

recounts the spectrum of COVID-19 related reporting, communications, requests for assistance, and

potential omissions with respect to the Soldiers’ Home, from the time of the first test (March 17, 2020)

until Mr. Walsh was placed on administrative leave (March 30, 2020):

    March 17
    •   Veteran 1 on the 1-North dementia unit was exhibiting symptoms and was tested for COVID-19.
        There was no requirement to report this pending test. Secretary Urena told us that while “he had
        weekly calls” with Mr. Walsh leading up to Veteran 1’s test, he was not informed of the pending
        test until the positive result came back from the lab in the late evening of March 21, 2020. 693 But
        in an email sent on March 21, Mr. Walsh wrote to Secretary Urena reciting that he had “briefed
        [Secretary Urena] earlier in the week” about the “veteran with covid symptoms.” 694

   March 21
   •    9:15 p.m.: The Soldiers’ Home received notification that Veteran 1 tested positive for COVID-19.
        The laboratory’s computer system also sent a copy of the result (using an automated electronic
        data exchange) directly to the Department of Public Health. 695 After receiving the test results, Ms.
        Lauziere immediately drove to the Soldiers’ Home, and called Dr. Clinton while en route. Dr.
        Clinton explained that “the plan was to put [Veteran 1] in isolation. I understood he was a person
        with advanced dementia who was up walking, would not wear a mask. I was told that Vanessa
        Lauziere didn’t have the staff to make sure he stayed in one of the isolation rooms so he remained
        on 1-North.” 696

   •    10:54 p.m.: Mr. Walsh emailed Secretary Urena (copying Paul Moran (Department of Veterans’
        Services Chief of Staff), Stuart Ivimey (General Counsel for the Department of Veterans’ Services),
        and Anthony Preston (Communications Director for the Department of Veterans’ Services)),
        stating: “As briefed earlier in the week, (veteran with covid symptoms) we received the test results
        back on our veteran and the results are positive for covid-19. We have isolated said veteran
        and quarantined the unit. We’re currently are [sic] testing 5 other veterans and sending out their
        samples this evening for testing. We’ll have the full report once all the information is collected
        and protocol actions taken/implemented.” (emphasis added) 697 Mr. Walsh did not explain that
        the Soldiers’ Home did not have adequate staffing to use the isolation rooms that had been set up
        on the third floor.

   March 22
   •    1:21 a.m.: Secretary Urena informed Daniel Tsai (Acting Secretary for EOHHS), Alda Rego
        (Assistant Secretary for Administration and Finance for EOHHS), Catherine Starr (Human
        Resources Officer for EOHHS), Erica Crystal (Labor Relations Director for EOHHS), and Ms.
        Arons at EOHHS that there was a positive COVID-19 case at the Soldiers’ Home, and five other
        veterans were being tested. In this report, Secretary Urena repeated Mr. Walsh’s confirmation that
        the positive patient “has been isolated.” Ms. Rego responded that “by the end of today, we are



                                                     96
           Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 97 of 174



           going to have a streamlined process for reporting these cases for us to elevation to the Command
           Center.” 698

       •   9:31 a.m.: Acting Secretary Tsai emailed Secretary Marylou Sudders (Secretary of EOHHS) xix that
           “we just received a confirmed COVID-19 case (a veteran) at the Holyoke Soldiers’ Home. The
           unit is now isolated and 5 other vets being tested—awaiting results.”699

       •   9:54 a.m.: Mr. Walsh sent a Critical Incident Report to Secretary Urena, Catherine Mick
           (Undersecretary for EOHHS), Brooke Karanovich (Media Relations Manager for EOHHS), Ms.
           Arons, Acting Secretary Tsai, Mr. Moran, and Mr. Preston, stating that “[o]n March 16, 2020, xx we
           tested a long-term care veteran who had been exhibiting COVID-19 symptoms. On March 21,
           2020 at approximately 2115, we received notification that the test was positive for COVID-19.
           The veteran who tested positive has been placed in isolation. Five other veterans in the same
           ward who were exhibiting symptoms have been tested. We expect to have results by the end
           of the week. In the meantime, those veterans have been placed in one room to try to prevent the
           spread of the disease. Additionally, we have initiated a deep cleaning of all areas that the patient
           may have occupied for more than 15 minutes. All proper protocols are in place at this time.”
           (emphasis added) 700

       •   10:17 a.m.: In response to questions from Mr. Moran, Mr. Walsh responded that “the protocol is
           to isolate the veteran (which we did)” and “staff has the necessary PPE at this time.” 701

       •   11:02 a.m.: Mr. Walsh confirmed to Secretary Urena that the Department of Public Health and
           the Holyoke Board of Health were informed of the positive COVID-19 case. Shortly thereafter,
           Mr. Walsh provided Secretary Urena with the names of the direct care staff that worked at the
           facility from March 17 through March 21 who might have been exposed to the symptomatic
           veterans. 702

       •   12:30 p.m.: Mr. Walsh notified Secretary Urena that VA Northampton Leeds and the VA central
           office were notified of the positive COVID-19 case. Specifically, the VA was informed that “[t]he
           veteran who is on the secure memory impaired unit was tested for influenza and RSV and Covid
           on Tuesday March 17th. The influenza and RSV were negative, the Covid test came back around
           2130 on Saturday the 21st. The veteran was encouraged to wear a mask, this was complicated by
           his dementia, he kept removing it and needed constant cues to keep on his face. Staff tried to
           keep him separate from the other vets on the unit. The staff were instructed to wear PPE
           when in contact with this veteran. This veteran has had respiratory symptoms on and off (+
           pneumonia) and he has not left the building. His nephew was his only visitor prior to banning
           visitation and the board of health is following up with him. The veteran was isolated as soon
           as the positive test was received.” (emphasis added). 703




xixMs. Sudders is the Secretary of EOHHS. However, effective March 12, 2020, Governor Baker appointed
Secretary Sudders to lead the Commonwealth’s COVID-19 Command Center. During this period, Dan Tsai
(the Assistant Secretary at EOHHS ordinarily in charge of MassHealth) served as the Acting Secretary of
EOHHS.
xx    The test did not occur on March 16, 2020, but rather March 17. See GOV0072675.


                                                       97
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 98 of 174




•   Ms. Gosselin (the Infection Control Nurse at the Soldiers’ Home) reported the positive COVID-
    19 cases to Deborah Schaier, Holyoke’s Public Health Nurse, by phone. (On March 27, 2020, Ms.
    Gosselin changed the process to provide subsequent notifications by fax).

•   Ms. Gosselin also called Department of Public Health to report the positive COVID-19, however
    the agent she spoke with informed Ms. Gosselin that she only needed to report positive cases to
    the local board of health. 704

March 24:
•   4:30 p.m.: Joyce Cohen, the Department of Public Health Epidemiologist assigned to the Soldiers’
    Home COVID-19 cluster, entered the cluster into the Department’s MAVEN database after
    receiving notification of the Soldiers’ Home COVID-19 case from the state lab computer
    system. 705

March 25:
•   11:09 a.m.: Lindsay Tucker (Associate Commissioner, Department of Public Health) emailed
    Secretary Urena informing him that Catherine Starr (Human Resources Officer, EOHSS) shared
    his request for support at the Soldiers’ Home.706 Following this email, Ms. Tucker connected Mr.
    Walsh with two epidemiologists at the Department of Public Health—Melissa Cumming and Joyce
    Cohen—who were assigned to the Soldiers’ Home COVID-19 outbreak. A conference call
    between the epidemiologists and Soldiers’ Home leadership team was scheduled for 3:00 p.m. that
    day. 707

•   12:00 p.m.: Ms. Cohen spoke with Ms. Gosselin and again explained that direct reporting to the
    Department of Public Health was not required, and requested the contact information for the
    person at the Soldiers’ Home who was responsible for reporting staff and veterans being tested.
    Ms. Gosselin told Ms. Cohen that she was the contact, and was in touch with Deborah Schaier
    with respect to all residents who were positive, and the Soldiers’ Home’s Human Resources
    Director, Jessica Powers, was handling reporting of any staff members who tested positive.708
    Following that call, Ms. Gosselin emailed Mr. Walsh, Ms. Lauziere, and Dr. Clinton stating that
    “positive cases or presumed cases should if possible [be] in private room with closed door,
    in a separate area of the facility [with] dedicated staff.” (emphasis added). 709 Ms. Gosselin
    did not report to Ms. Cohen that Veteran 1 was not placed in an isolation room because there was
    no staff available to watch him.

•   2:21 p.m.: Acting Secretary Tsai texted Secretary Sudders that he was “flagging Holyoke soldiers
    home. A number of residents—less than 10—and the medical director appear to have symptoms
    following the 1 positive case. Follow up discussions happening immediately on that as well.” 710

•   3:00 p.m.: Several members of the Soldiers’ Home leadership team, including Mr. Walsh, Ms.
    Lauziere, Ms. Surreira, and Dr. Clinton, attended a call with Department of Public Health
    epidemiologists Joyce Cohen and Melissa Cumming to discuss staffing issues and COVID-19
    protocols. Ms. Cohen reported that during this call, Mr. Walsh said he was concerned about
    personal protective equipment and staffing, but he did not “ring any alarm bells” and Ms. Cohen
    did not “hear anxiety from Mr. Walsh.” 711 During this call, the Soldiers’ Home representatives
    did not inform the Department that they did not have adequate staffing to use the isolation areas.




                                               98
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 99 of 174



    Likewise, there was no discussion of a plan (implemented two days later) to combine the 1-North
    and 2-North housing units.

•   4:25 p.m.: Lindsey Tucker (Associate Commissioner, Department of Public Health) emails
    Secretary Urena, copying Ms. Starr, Mr. Walsh and Mr. Moran, stating, “I just heard from our
    DPH staff that they completed the call with staff at the Soldiers’ Home. From their perspective,
    it sounds like Holyoke staff are doing everything they can and consistent with DPH
    recommendations.”

•   4:34 p.m.: Mr. Walsh forwarded this email to Ms. Lauziere and Ms. Surreira stating only:
    “boom.” 712 When asked why he sent this email, Mr. Walsh said he was happy that “we were doing
    the right thing.” 713

•    According to Mr. Walsh’s lawyers, he reported to Secretary Urena that one of the pending
    COVID-19 veterans died on March 24. We have been unable to substantiate this assertion
    independently.

March 26
•   11:11 a.m.: Ms. Lauziere emailed Ms. Tucker, Mr. Krok, Mr. Trangese, Mr. Walsh, and Ms. Surreira
    asking for the Department of Public Health to provide confirmation that the Soldiers’ Home is
    doing what is appropriate based on the telephone conversation the day before. She explained that
    the staff expected that “the veteran’s ‘be isolated’ meaning confined to a room with a mask on.
    We have tried to explain that given these individuals are cognitively impaired as well as ambulatory
    that we cannot force the use of a mask nor confinement to a room without the use of restraint,
    which is not in keeping with our practice or ethics.” In response, Mr. Walsh replied only to Ms.
    Lauziere, stating “another boom.” 714 When asked why he sent this email, Mr. Walsh said that, like
    the “boom” email he sent on March 25, he was “happy that the Department of Public Health was
    agreeing with us.” 715

•   4:30 p.m.: Ms. Cumming replied to Ms. Lauziere’s email concerning questions about the Soldiers’
    Home COVID-19 protocols. Ms. Cumming responded that she agreed that restraining the
    dementia patients in their rooms is not appropriate. 716

March 27:
•   9:45 a.m.: Secretary Urena sent a text message to Mr. Walsh about the number of COVID-19 tests
    that the Soldiers’ Home had pending; he responded that there are “28 tested, 7 positives, 3
    negative, and 18 pending.” 717 Mr. Walsh also confirmed that the Soldiers’ Home was in the
    process of reporting the required information to the Holyoke Board of Health.

•   10:23 a.m.: Ms. Schaier emailed Ms. Gosselin the COVID-19 questionnaire form required by the
    Holyoke Board of Health. Before this, Ms. Gosselin had called Ms. Schaier to report confirmed
    COVID-19 cases to the Holyoke Board of Health. 718 That morning, Ms. Gosselin told Ms. Schaier
    that there were six new COVID-19 positive cases and one of the veterans associated with the
    Soldiers’ Home COVID-19 cluster had died.719 Ms. Schaier reported this information to the
    Department of Public Health’s MAVEN database. 720




                                                99
           Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 100 of 174




       •    10:30 a.m.: Secretary Urena, Mr. Walsh and Ms. Poppe attended a call in which Mr. Walsh raised
            concerns about a lack of staff in light of sick-calls. Secretary Urena suggested bringing back staff
            who had recently resigned or retired. Mr. Walsh also told Secretary Urena that there had been no
            staff mandations. Secretary Urena reported that he had not felt that Mr. Walsh had been ‘ringing
            the alarm bells’ concerning staffing on this call. 721

       •    1:24 p.m.: Mr. Walsh then sent an email to Secretary Urena formally requesting National Guard
            assistance for staffing at the Soldiers’ Home. 722 Secretary Urena recalled that until he received
            this email, he was never under the impression that “there was a sense that the place was being
            overrun” by COVID-19, and that Walsh “had a level of calmness” leading up to the request for
            National Guard assistance. 723 There was no reference to a plan (apparently approved at a 1:30
            p.m. emergency staff meeting) to combine the 1-North and 2-North housing units in light of staff
            shortages. 724

       •    3:00 p.m.: Mr. Walsh attended a phone call with Secretary Urena, Ms. Arons, Ms. Rego, Ms. Starr,
            and Undersecretary Mick. There was no reference to the plan to combine the 1-North and 2-
            North housing units in light of staff shortages. 725

       •    (Late afternoon): Mr. Walsh told Secretary Urena that the two units were going to be consolidated
            during the afternoon of March 27. Mr. Walsh did not tell Secretary Urena that there were veterans
            who had tested positive, those who were not symptomatic, and those whose results were still
            pending in both of those units. 726

       •    3:41 p.m.: Mark Yankopoulos sent the COVID-19 tracker to Ms. Arons, reporting six new
            COVID-19 positive cases as of March 27 and reporting previous positive cases from March 21
            and March 24. 727




                         Figure 7: COVID-19 tracker sent to EOHHS on the afternoon of March 27

       •    4:00 p.m.: Ms. Arons wrote in response to Mr. Yankopoulos: “I just got off the phone with
            Superintendent Walsh xxi and was under the impression there were only 6 new cases for today. Did
            you just receive 2 more positives? Also I was not planning to include the 2 deaths since those
            results are pending. I assume you didn’t include those, but please let me know either way.”
            (emphasis added). Mr. Yankopoulous responded: “[t]o confirm, we did receive an additional two
            positive reports this afternoon. Those were included in the update that I sent to you. As of now
            our confirmed positive total is 9 residents and 1 employee. The report only includes the
            positive test results that we have received so far. Pending results are not included.”

xxi   This apparently refers to the 3:00 p.m. phone call described above.


                                                         100
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 101 of 174



     (emphasis added). 728 Ms. Arons responded, “Yes we are only collecting confirmed cases. Not
     pending. Can you please respond with which case was today’s death?” (emphasis added). Mr.
     Yankopoulous responded, “I can’t identify which specific row is a potential COVID-19-related
     death, because we have not included personal information, and the same reported measures were
     taken for each case. As tabular data, the rows are essentially interchangeable. Additionally, we
     have not received confirmation yet that COVID-19 was the cause of death.” 729

•    4:11 p.m.: Mr. Walsh emailed Ms. Arons, Ms. Rego, Ms. Starr, Undersecretary Mick, and Secretary
     Urena with an update on the COVID-19 numbers. 730 Consistent with Mr. Yankopoulous’s email
     a few minutes earlier, he stated that after their 3:00 p.m. conference call, there had been two more
     confirmed COVID-19 positive cases. Mr. Walsh also reported that another of the COVID-19
     positive veterans died (bringing the death toll among confirmed-COVID-19 veterans to 2), and
     the Home had received the positive test results for the deceased veteran that day. This email made
     no reference the combination of 1-North and 2-North, which was underway at the time.

•    5:25 p.m.: Mr. Yankopoulous sent an updated COVID-19 tracker to Ms. Arons, reflecting the
     eight cases that were confirmed positive on March 27, and deleting the two positive COVID-19
     cases there were reported earlier in the week (because the tracker was only to reflect updates from
     the day the tracker is sent).731




              Figure 8: Second COVID-19 tracker sent to EOHHS on the afternoon of March 27

•    6:30 p.m.: Ms. Gosselin provided updated COVID-19 numbers to an internal distribution list
     including Mr. Walsh, Mr. Lauziere, Dr. Clinton, Ms. Foley, Mr. Yankopoulos, and Ms. Surreira.732
     The update stated that the total veterans swabbed was 43, total veterans tested positive was 10,
     total veterans negative was 3, total swabs pending was 30, and there were 3 deaths of those who
     were swabbed (though not all 3 had been confirmed positive). Ms. Gosselin stated that the Board
     of Health is aware of all 3 of the deaths. 733

•    8:33 p.m.: Ms. Schaier confirmed receipt of fax forms that Ms. Gosselin sent that evening for six
     confirmed COVID-19 cases. 734 The fax notifications state that each of the six confirmed COVID-
     19 cases reside on the dementia unit. 735 Ms. Gosselin had verbally informed Ms. Schaier of these
     cases earlier in the day.736 In addition to these six cases, Ms. Schaier also wrote that “Carol
     (Infection Control, Holyoke Medical Center) gave me two other names” of veterans who were
     confirmed COVID-19 positive as of March 27. 737




                                                  101
           Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 102 of 174



       March 28:
       •    7:29 a.m.: Holyoke Mayor Alex Morse received an anonymous email from a Soldiers’ Home
            employee asserting that there were “horrific circumstances at the Soldiers’ Home.” Among other
            concerns, the email stated that the first positive COVID-19 veteran was not isolated but instead
            “left to sit amongst 20 other veterans on a dementia care unit,” “as of yesterday we had 7 positive
            cases,” and “2 bedrooms are now turned into 3 bedrooms with less than 3 feet between
            patients.” 738

       •    9:39 a.m.: Amy Phillips, a reporter with WWLP 22News, emailed Mr. Preston that her station had
            been contacted by an employee at the Soldiers’ Home alleging that, “one veteran has died and
            others are sick with the symptoms, that the management is refusing to test sick vets on the
            dementia unit placing all the rest of the vets on the open unit in jeopardy, families are not being
            appraised of the situation, and staff are not having their temperatures and other symptoms checked
            before entering the building.” 739 Mr. Preston forwarded the media request to Secretary Urena and
            Mr. Moran. Mr. Moran emailed Mr. Walsh asking him to contact Mr. Preston immediately.

       •    11:22 a.m.: Mr. Yankopoulos sent Ms. Arons the daily COVID-19 tracker for the Soldiers’ Home,
            reporting the one new confirmed positive case from that day, March 28. 740

       •    11:39 a.m.: Mr. Yankopoulos sent Ms. Arons a revised daily COVID-19 tracker, explaining that
            he “was just notified that we received a positive test for one of the veterans, making our total to
            date 2 positive employees and 10 positive veterans.” 741

       •    4:37 p.m.: Ms. Arons emailed Secretary Sudders, copying Acting Secretary Tsai, to report that there
            were two new COVID-19 cases at the Soldiers’ Home (one veteran, one employee). 742

       •    6:49 p.m.: Mr. Yankopoulos forwarded a copy of the daily COVID-19 report to Mr. Moran. The
            report incorrectly listed a staff member as COVID-positive instead of a veteran. Mr. Moran asked
            about this, and Mr. Yankopoulos replied to Mr. Moran, copying Mr. Preston, Mr. Walsh, and
            Secretary Urena, stating, “that was an error on my part. The second entry is a veteran.” Mr. Moran
            replied again at 9:14 p.m. that, “we need an accounting of cases please see Anthony’s email…this
            is not acceptable; given the emergency we are facing.”743

       •    7:00 p.m.: Brenda Rodrigues (President, SEIU Local 888) sent an email to Secretaries Sudders and
            Urena informing them that she had just received an email from Mr. Ablordeppey (a nursing aide)
            that stated, in part, “I just received word that another 2 Veterans passed away, bringing the total
            to 6 in less than 24 hours, and 8 within days at the Holyoke Soldiers’ Home.” 744 After sending the
            email, Ms. Rodrigues sent a text message to Secretary Sudders’ mobile phone, and Secretary
            Sudders called her approximately 30 minutes later. During that call, Secretary Sudders said that she
            had read Ms. Rodrigues’ email and told her that the 8 deaths that Ms. Rodrigues reported did not
            comport with what Ms. Sudders was hearing from the daily reports. xxii Ms. Sudders told Ms.
            Rodrigues that “all I can say is we have one death.” 745 Secretary Sudders then spoke with Secretary



   Ms. Rodrigues’ email was accurate in that six veterans died at the Soldiers’ Home on March 27 and 28. As
xxii

of the end of the day on March 28, only two of these veterans were confirmed as COVID-19 positive. Positive
test results for three more were announced on April 2. The remaining veteran who died on March 27 tested
negative for COVID-19 on April 2.


                                                       102
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 103 of 174



     Urena and told him that someone needed to look into the report from Ms. Rodrigues and get back
     to her and Ms. Rodrigues about what was going on.

•    9:05 p.m.: Secretary Urena forwarded Ms. Rodrigues’ email to Mr. Walsh. At 9:56 p.m., Mr. Walsh
     responded that he had not seen the letter previously and disputed the allegations that the Soldiers’
     Home management was responsible for the deaths. Mr. Walsh did not address the suggestion that
     there had been eight deaths. 746

•    10:01 p.m.: Secretary Urena directed Mr. Walsh to provide an update with specific number of
     deaths and positive test results by Monday morning, and scheduled a call regarding the situation
     for the next day (Sunday, March 29) at 3 p.m. 747

•    10:03 p.m.: Mr. Walsh replied again stating that “what should be discussed is the amount of call
     outs by [SEIU Local] 888 the past week. The reference that the management is creating this issue
     and has a part in deaths is very concerning.” 748

March 29
•    12:16 p.m.: Secretary Urena texted Mr. Walsh and asked if the staff in the two infected units
     (presumably 1-North and 2-North) were still being floated to other units. Secretary Urena noted
     that the Department of Public Health has requested “they only work in the one unit.” Mr. Walsh
     replied, “We’ve done that for two weeks, attempt[ed] to keep same staff on same unit.” 749 Mr.
     Walsh’s statement is not accurate: interviews with staff and our review of the staffing schedules
     from the last two weeks in March confirm that the staff were in fact being floated between various
     units. A registered nurse on Care Center 3 stated that “some [certified nursing assistants] on my
     unit were floated to 1-North and 2-North. [Certified nursing assistants] from my unit would
     sometimes be scheduled to work 2 hours on 1-North and then were directed to report back to 3rd
     Floor in the same shift.” 750 Another nurse confirmed that “even between shifts” she was “floated
     between positive and negative patients.” 751

•    1:30 p.m.: Secretary Urena, Mr. Moran, and Mr. Preston held a call with the Soldiers’ Home
     leadership, including Mr. Walsh, Ms. Lauziere, Dr. Clinton, Ms. Powers, Ms. Foley, and Mr.
     Yankopoulos. 752 The call focused on the staffing shortage at the Home, and this call was intended
     to be in preparation for the 3:30 p.m. agency heads’ call with Acting Secretary Tsai (as noted below,
     this 3:30 p.m. call was cancelled). At Acting Secretary Tsai’s request, Dr. Mohammad Dar, Medical
     Director at MassHeath, also attended the 1:30 p.m. call. 753 Following that call, Dr. Dar emailed
     Acting Secretary Tsai, Ms. Cumming, and Ms. Cohen, among others, listing some of his
     recommendations, including to “close any communal areas. The canteen and smoke room
     should’ve been long closed already.” Dr. Dar also noted that “it’s going to be tough to prevent
     the spread if patients continue to wander and cannot wear masks all the time. DPH guidance
     would help. It’s very hard with dementia for obvious reasons.” 754 By this time, eight veterans
     who were either COVID-19 positive or were waiting for test results had died at the Soldiers’
     Home. Neither Mr. Walsh nor any of the other Soldiers’ Home representatives on the call
     mentioned the new death toll. 755

•    2:48 p.m.: Mr. Yankopoulos sent Ms. Arons the daily COVID-19 tracker for the Soldiers’
     Home. 756 This report indicated that there were three new positive COVID-19 veteran cases and
     one new positive COVID-19 employee case at the home. 757




                                                 103
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 104 of 174




•    Approximately 3:00 p.m.: Mr. Yankopoulos spoke with Department of Veterans’ Services General
     Counsel Stuart Ivimey to discuss the data reporting error the day before, in which Mr.
     Yankopoulos incorrectly characterized a positive test result for a patient as a positive test result
     for an employee. Mr. Ivimey characterized this call as a “fatherly chat” in which they “spoke
     generally about what was going on” and he reassured Mr. Yankopoulos that he had confidence in
     him, despite his error the day before. 758 During this call, Mr. Yankopoulos and Mr. Ivimey
     discussed the “bottom line” number of how many veterans had died in recent days. Mr.
     Yankopoulos reported—accurately—that by this time four veterans had died who were
     known, by the time of the call, to be COVID-19 positive. According to Mr. Ivimey, Mr.
     Yankopoulos also told Mr. Ivimey that “it was looking like” there were four additional
     veterans who had died and whose COVID-19 test results were pending. Mr. Ivimey
     perceived that these numbers were “not solid at this time.” 759

•    3:30 p.m.: Ms. Rego informed Acting Secretary Tsai, Secretary Urena, Undersecretary Mick, Ms.
     Aron, Ms. Starr, Ms. Crystal, and Mr. Walsh, among others, that the 3:30 Agency Head meeting
     was cancelled and “we will catch up tomorrow.” 760

•    3:36 p.m.: Ms. Arons emailed Secretary Sudders, copying Acting Secretary Tsai that there were “7
     confirmed cases at Holyoke Soldiers’ Home”, “1 veteran had passed away on 3/24 and we just
     received the rest [of the] results today,” and there were cumulatively 2 veteran deaths. 761

•    4:18 p.m.: By email, Mr. Walsh scheduled an emergency conference call with the Board of Trustees
     for the next day (Monday March 30) to update the Board on the COVID-19 situation. 762 The call
     never took place. 763

•    4:31 p.m.: Mr. Yankopoulos sent an email to Mr. Walsh with the data Mr. Walsh had been asked
     to provide to Secretary Urena on Monday by 10:30 a.m. The report stated that there were 15
     veterans who had tested positive, 25 veterans’ tests were pending, 4 deaths with positive test
     results, 4 deaths with pending test results, and 4 staff had tested positive.764

•    6:30 p.m.: Holyoke Mayor Alex Morse and Michael Bloomberg (Mr. Morse’s Chief of Staff) called
     Mr. Walsh to discuss information they had learned suggesting that the number of COVID-19 cases
     and deaths at the Soldiers’ Home was larger than had been reported to the Holyoke Board of
     Health, and offered to make city resources available to assist the Home. 765 Mr. Walsh declined
     Mayor Morse’s offer of assistance, but confirmed that there had been eight deaths between
     Wednesday and Sunday of that week.766 Mr. Walsh told Mayor Morse about a “difficult dementia
     patient” who would not keep a mask on, and would wander on the unit. 767

•    Shortly before 7:00 p.m.: Mr. Walsh called Mr. Preston, who then connected Mr. Walsh with
     Secretary Urena to report on the call with Mayor Morse. According to Secretary Urena, Mr. Walsh
     told him that Mayor Morse was “frantic” and “speaking very fast” during their 6:30 p.m. phone
     call. 768 Mr. Walsh informed Secretary Urena that Mayor Morse planned to put out a statement on
     Facebook about an “anonymous letter” that “was not true… was not accurate.” Mr. Walsh told
     Secretary Urena that Mayor Morse “was not a good guy” and noted that he was running for
     Congress. 769 Secretary Urena proposed a call with Mr. Walsh and Mayor Morse, but Mr. Walsh
     stated that he did not recommend doing so. Secretary Urena asked Mr. Preston to “get a better
     understanding” of the situation, and Secretary Urena texted Mayor Morse to arrange a call for 8:00
     p.m. that night. 770



                                                104
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 105 of 174




•    7:00 p.m.: Secretary Urena attended a scheduled call with Acting Secretary Tsai, Undersecretary
     Mick, Ms. Rego, Ms. Starr, Ms. Arons, Mr. Moran, and Mr. Ivimey, and others affiliated with
     EOHHS. During the call, Secretary Urena reported the death toll at the Soldiers’ Home based on
     the information he received at 11:21 a.m.: 28 tests, 10 positives, 3 negatives, 3 staff members in
     quarantine, and 2 deaths. 771 Mr. Ivimey was on this call, but did not share the information
     he learned from Mr. Yankopoulos earlier that day, as he did not feel that it was “solid.”772
     Acting Secretary Tsai ordered that by the end of the day Monday, the Soldiers’ Home needed to
     report back on a plan to “escalate” its containment approach, including construction of temporary
     plastic walls with assistance from the National Guard or Army Corps of Engineers. 773 Later in
     the call, Secretary Urena asked Acting Secretary Tsai for permission to speak with Mayor Morse
     to discuss the situation at the Soldiers’ Home, and noted that Mayor Morse had been
     “complaining” and “threatening to go to the media” to reveal that the death toll was larger than
     previously reported. Acting Secretary Tsai said that “we need as many partners as we can”, and
     approved the conversation with Mayor Morse. 774 Secretary Urena and Acting Secretary Tsai both
     reported during the 7:00 p.m. call that they understand there were two deaths, as of the time of
     the call. 775 Inexplicably, Mr. Ivimey did not interject to share the information he learned
     earlier that day from Mr. Yankopoulos, or warn that there may be reason to doubt the
     numbers that Secretary Urena and Acting Secretary Tsai shared earlier in the call. He later
     explained that he did not do so because he perceived that there was “not an adequate level
     of certainty” in the information that Mr. Yankopoulos shared with him.776

•    Shortly before 8:00 p.m.: Secretary Urena and Mr. Walsh spoke again briefly. Mr. Walsh reiterated
     his view that he disagreed with the idea of another call with Mayor Morse, and voiced what
     Secretary Urena perceived to be “hesitation” that was “out of character.”777

•    8:00 p.m.: Secretary Urena, Mr. Preston, Mr. Walsh, Mayor Morse, and Mr. Bloomberg connected
     for another conference call. Several other of Mayor Morse’s staff members (including the Director
     of Communications and Director of Operations) were also on the line. Mayor Morse opened the
     call by explaining that Mr. Walsh had told him earlier that night that there were eight deaths. Mr.
     Walsh confirmed this death toll—eight deaths. Secretary Urena was “very troubled” because he
     had just reported to senior EOHHS leaders that the death toll was two veterans, and this was the
     first time he was hearing there had been eight deaths. 778 Mayor Morse offered to provide a
     gymnasium or other space in city facilities to assist with the response to the crisis at the Soldiers’
     Home; Secretary Urena declined this offer, noting that such space would likely not be suitable to
     house veterans with dementia. Mayor Morse again emphasized his intent to put out a statement to
     alert the media about the situation. Secretary Urena indicated that he would follow-up with Mayor
     Morse by noon the next day with an update. 779

•    Shortly after the 8:00 p.m. call: Mayor Morse sent a text message to Lieutenant Governor Karyn
     Polito reporting that eight veterans at the Soldiers’ Home had died. Lieutenant Governor Polito
     responded that she was “on it.” Lieutenant Governor Polito then sent a text message to Governor
     Baker and Secretary Sudders. 780 Approximately 40 minutes later, Secretary Sudders called Mayor
     Morse. During this call, Secretary Sudders confirmed her understanding that the death toll was
     two veterans; Mayor Morse pushed back, noting that Mr. Walsh had already confirmed that there
     were eight deaths. Secretary Sudders called Mayor Morse again later in the evening, to report that
     there have been “four COVID deaths,” and indicated that an emergency response team would
     arrive at the facility the next morning to provide assistance. 781




                                                 105
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 106 of 174




•    8:45 p.m.: Secretary Urena texted Undersecretary Mick asking if she had time for a call, and
     Undersecretary Mick replied, “Yes. Feel free.” 782 Secretary Urena called Undersecretary Mick and
     told her what happened during the 8:00 p.m. call with Mayor Morse. 783 Undersecretary Mick
     determined that she needed to immediately elevate the matter to Secretary Sudders, and scheduled
     a conference call for 9:30 p.m.

•    Approximately 9:00 p.m.: Governor Baker, Lieutenant Governor Polito, and Secretary Sudders
     had a brief call regarding the report that Lieutenant Governor Polito received from Mayor Morse
     concerning the eight deaths. Secretary Sudders indicated that Mayor Morse’s information was
     “not right.” 784 Following Secretary Sudders’ first call with Mayor Morse, she called Secretary
     Urena and he confirmed that Mr. Walsh had informed the Mayor that there had been eight deaths,
     and that this was the first Secretary Urena had heard this information. 785 Secretary Sudders told
     Secretary Urena that she would speak to the Governor and asked Secretary Urena to set up a
     phone call with Mr. Walsh that evening.

•    Approximately 9:00 p.m.: Secretary Urena texted Mr. Walsh asking him “have you had 8 deaths?
     Is that accurate? On the phone with HHS . . . can we get on a conference call; HHS is looking for
     more information.” Mr. Walsh replied, “Is this because of the mayor of Holyoke. I hope not.” 786

•    Approximately 9:00 p.m.: In a series of calls, Secretary Urena spoke with Mr. Moran and Mr.
     Ivimey, and concluded that he had been “misled” with respect to the death toll (two veterans) he
     reported to Mayor Morse. 787

•    9:05 p.m.: Acting Secretary Tsai texted Undersecretary Mick and Ms. Starr asking, “is it 2 deaths
     at Holyoke?” Ms. Starr replied, “Yes. Based on my notes – 2 deaths.” Undersecretary Mick then
     replied, “on the phone with sec Urena. I’ll call you. We need a conf call ASAP.” 788

•    Approximately 9:15 p.m.: Secretary Sudders called Governor Baker again to report that Mayor
     Morse’s information was, in fact, essentially accurate, and that she would be arranging a team to
     respond to the Soldiers’ Home in the morning to assist. 789 Secretary Sudders then called Mayor
     Morse back to tell him that the information she had conveyed about the death total earlier was
     incorrect and that she would call him back when she had more information. 790

•    9:30 p.m.: Mr. Walsh and Ms. Lauziere participated in a conference call with Secretary Sudders,
     Secretary Urena, Mr. Moran, Acting Secretary Tsai, Undersecretary Mick, Ms. Starr and Ms.
     Arons. 791 Secretary Sudders asked Mr. Walsh to explain how the death toll had increased so
     dramatically, and asked him for details about the call with Mayor Morse. Mr. Walsh told Secretary
     Sudders that the call with Mayor Morse was “his regular update to the Mayor.” 792 Secretary
     Sudders then asked Mr. Walsh what the accurate numbers were, and Mr. Walsh hesitated. At one
     point during the call, Mr. Walsh and Secretary Urena contradicted each other about the number
     of deaths, with Secretary Urena saying that Mr. Walsh had said that there were four—not eight—
     deaths. 793 Mr. Walsh tried to explain that the Soldiers’ Home was not counting deaths of pending
     cases in its reporting, but Secretary Sudders shut down this conversation.794 Secretary Sudders
     then asked Ms. Lauziere to report the accurate number of deaths. Ms. Lauziere was shuffling
     papers in the background and put the phone on hold “for a few minutes,” where Acting Secretary
     Tsai perceived that she was calling other people. 795 Ms. Lauziere then reported that the death toll
     was eight veterans. Secretary Sudders reprimanded Mr. Walsh in strong terms, expressing her
     “outrage and disappointment,” and reminded him that “a sign of strength is asking for help.”
     Secretary Sudders reported later that she felt “deceived or lied to.” 796 She then dropped off the


                                                106
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 107 of 174



     call, in order to call Governor Baker to provide information about the correct death toll. The call
     continued in her absence.

•    10:00 p.m.: Mr. Walsh texted Mr. Yankopoulos to discuss the numbers that Mr. Yankopoulos
     provided to Mr. Walsh at 4:31 p.m. Mr. Walsh asked whether Mr. Yankopoulos had provided
     these numbers to the Department of Veterans’ Services and EOHHS. Mr. Yankopoulos
     responded that he “talked with [Mr. Ivimey]” and “[w]ent over a couple of stats, but I don’t think
     I gave him the whole picture that I laid out in my email to you.” Mr. Yankopoulos recounted that
     Mr. Ivimey “asked about the number of employees we had positive and the number of deaths we
     had recently, positive and pending.” Mr. Walsh asked: “Did u tell him 8 deaths,” and Mr.
     Yankopoulos responded “I think so. Over the course of the last couple of days, 8 deaths, 4
     positive, 4 pending test results.” 797

•    10:28 p.m.: Mr. Walsh texted Secretary Urena that there were “27 pending cases, 9 deaths (just had
     another), 2 not related to covid, 4 had positive covid confirmed, 3 pending. We’ll solidify all the
     reporting procedures/process tomorrow.” 798

March 30
•    4:04 a.m.: Ms. Lauziere emailed Mr. Urena and Mr. Walsh, copying Ms. Poppe, Mr. Moran and
     Mr. Preston, the updated COVID-19 numbers as of 3:45 a.m. In this report, Ms. Lauziere stated
     that six positive COVID-19 veterans had died; two veterans had passed for whom the results were
     pending; and one veteran had passed who had not been tested. 799 At 4:31 a.m., Ms. Lauziere
     updated Mr. Urena and Mr. Walsh that at 4:30 a.m., “another veteran on CC1 passed – results are
     still pending,” bringing the total number of deaths to 10. 800

•    6:14 a.m.: Mr. Walsh texted Mr. Urena that “we sent an update this am per the info requested last
     night. Please let me know if we answered all the rfis’s.” 801

•    Approximately 7:00 a.m.: Mr. Walsh updated Secretary Urena of the situation in a telephone call,
     stating: “Mr. Secretary, I apologize for not telling you about all these deaths.” 802 Secretary Urena
     explained later that, in retrospect, he wished he would have kept Mr. Walsh talking to understand
     precisely for what he was apologizing. 803

•    7:13 a.m.: Acting Secretary Tsai texted Secretary Sudders that the “deaths [were] now at 10.” 804

•    7:19 a.m.: Ms. Lauziere recirculated the COVID-19 numbers to Secretary Urena, Mr. Walsh,
     copying Ms. Poppe, Mr. Moran and Mr. Preston, stating that the total deaths count was 10. 805

•    7:36 a.m.: Secretary Urena emailed Acting Secretary Tsai, Undersecretary Mick, Ms. Starr, Ms.
     Arons, Ms. Rego, Mr. Moran, Mr. Preston and Mr. Ivimey the latest COVID-19 numbers that he
     had as of 7:30 a.m., and he reported that there had been nine total deaths: six positive COVID-19
     veterans had passed; two pending COVID-19 veterans had passed; and one veteran had died who
     had received no COVID-19 test. 806 Undersecretary Mick responded “you texted 10 total earlier
     this morning . . . we need accurate and consistent factual information in all the
     communications.” 807 Secretary Urena responded, at 7:51 a.m., stating: “I just got off phone with
     Bennett. He said the number he gave me was not accurate. We should follow the information
     Vanessa has. The number is 9 as of 7:30 am.” 808




                                                 107
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 108 of 174




    •    8:02 a.m.: Acting Secretary Tsai texted Secretary Sudders correcting his previous text, stating “FYI
         the number is 9 not 10. We know [sic] have a tracker from Vanessa. Bennett told Urena 10 this
         morning. The numbers from Vanessa are 9. The 10 is wrong. We will remove Bennett today.”809

    •    1:36 p.m.: Acting Secretary Tsai texted Secretary Urena that “I will be sending a simple letter to
         Superintendent Walsh relieving him of his duties/terminating him effective immediately.”
         Secretary Sudders responded, “Just fire him. I’ll deal with any fallout.” 810

    •    4:30 p.m.: Acting Secretary Tsai and Secretary Urena met with Mr. Walsh, placing him on
         administrative leave and ordering him to vacate the facility.

                   iii.        State and local leaders’ knowledge of the evolving crisis at the Soldiers’
                               Home

         Based on our interviews and review of written communications, we find that Secretary Sudders’

first learned of the evolving crisis at the Soldiers’ Home in her communications with Ms. Rodrigues on

Saturday, March 28, 2020. However, she received conflicting information from EOHHS staff during her

follow-up inquiries based on confusion regarding the number of deaths (i.e., which deaths reflected

confirmed as opposed to suspected COVID-19 veterans). 811 Upon learning of the information that Ms.

Rodrigues provided, Secretary Sudders promptly informed Secretary Urena and tasked him with

investigating the situation.

         We likewise find that Governor Baker and Lieutenant Governor Polito first learned of the evolving

crisis at the Soldiers’ Home on the evening of Sunday, March 29, after Mayor Morse raised the issue with

Lieutenant Governor Polito and she in turn informed Governor Baker. We did not identify any evidence

to suggest that the information Ms. Rodrigues submitted on March 28 was provided to Governor Baker

or Lieutenant Governor Polito at the time.

         Secretary Urena received updates from Mr. Walsh several times a week during the last two weeks

of March 2020. He was not included in Mr. Walsh’s call with the Department of Public Health

epidemiologists on March 25, although he helped arrange it and he received an email summary later.812

He explained that “[i]t calmed down my concerns a bit to have the medical expert scientist tell me the

Homes are operating” under proper procedures. 813 He also learned on the afternoon of March 25 that

the Soldiers’ Home was “heavy” on personal protective equipment (i.e., it had more equipment) than other



                                                     108
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 109 of 174



facilities. 814 Secretary Urena perceived a greater sense of urgency on March 27, when he learned of Mr.

Walsh’s request for National Guard assistance.         However, he did not sense that Mr. Walsh was

“overwhelmed” and he perceived a “level of calmness” in the reports he was receiving. 815

        Secretary Urena acknowledged that he was informed of the decision to close 2-North and combine

it with 1-North on the afternoon of Friday March 27, 2020, but was not asked for input into the decision—

as he put it, “it was ‘this is what we are doing.’” 816 He indicated that Mr. Walsh did not inform him that

veterans who were COVID-19 positive, those for whom results were pending, and those who were not

showing symptoms would be “mixed” in 1-North and reports that this would have been a “big red flag.”

He was nevertheless aware that both 1-North and 2-North contained some COVID-19 positive veterans

at the time the units were combined. 817

        Finally, we also note that Mayor Morse’s aggressive and persistent efforts to investigate reports

from social media concerning problems at the Soldiers’ Home—and his decision to elevate these reports

to Lieutenant Governor Polito—were critical. Had he not done so, it would likely have taken several

additional days before a command team responded to the Soldiers’ Home to address the COVID-19 crisis.

        5.       Superintendent Walsh is placed on administrative leave, and an Interim
                 Administrator takes command of the Soldiers’ Home

                   i.      Val Liptak is appointed Interim Administrator, and a response team
                           arrives at the facility

        Acting Secretary Tsai placed Mr. Walsh on administrative leave and ordered him to vacate the

Soldiers’ Home on the afternoon of March 30, 2020. The decision to remove Mr. Walsh was made the

evening before: based on the series of breakdowns at the Soldiers’ Home, Secretary Sudders lost

confidence in Mr. Walsh’s ability to lead the facility. 818 Leadership at EOHSS, including Secretary Sudders

and Acting Secretary Tsai, felt that Mr. Walsh was disconnected from the developments unfolding at the

Soldiers’ Home, and that he did not ask for help when it was needed.819 Acting Secretary Tsai explained

that “when you realize you don’t have the right leadership in crisis, you go get the right leadership.” 820




                                                     109
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 110 of 174



         By the time Mr. Walsh was informed of this decision, a response team organized by Secretary

Sudders, Acting Secretary Tsai, and Undersecretary Mick had arrived at the facility to take command of

the rapidly devolving situation. 821 These experienced healthcare executives left their regular jobs and

arrived at the Soldiers’ Home with less than a day’s notice. Their quick decisions to triage patients, compile

essential records, institute infection control measures, and send ill patients to the hospital undoubtedly

helped reduce the scope of the outbreak. The key members of this response team deployed to the Soldiers

Home included 822:

    •    Val Liptak, Chief Executive Officer of Western Massachusetts Hospital, would serve as Acting
         Administrator;

    •    Lisa Colombo, Executive Vice Chancellor of Commonwealth Medicine, was installed as the
         incident command leader;

    •    Catherine Mick, EOHHS Undersecretary, was the EOHHS point of contact for the response
         team;

    •    Mark Sugrue, Managing Director of Clinical Delivery and Informatics Solutions at Commonwealth
         Medicine, was tasked with leading operations;

    •    Mohammad Dar, Medical Director for MassHealth, provided consulting support to the response
         team;

    •    Cheryl Poppe, Superintendent of the Soldiers’ Home in Chelsea provided consulting support to
         the response team;

         The National Guard also dramatically expanded its presence on site on March 30, “swabbing all

employees and residents,” with the plan to “re-swab negative individuals every 48 hours.” 823 The Guard’s

medical units (consisting of doctors and nurses) assumed an active role in patient care in place of the scores

of Soldiers’ Home staff members who were sick with COVID-19. The administrators, staff, and veterans’

families we spoke with were universal in their praise of the Guard’s immediate, indispensable, and highly

professional response at the Soldiers’ Home. 824




                                                     110
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 111 of 174




                   ii.      The response team’s observations regarding the condition of the Soldiers’
                            Home

         One of the response team’s first tasks was to assess the condition and immediate needs of the

facility and the veterans present. Their observations are striking and alarming:

    •    Ms. Liptak and her team have a “collective 90-plus years of nursing,” but “none of us have ever
         seen anything” like this. Upon arrival, “we did not know what patients were in the Home or where
         they were.” She and her team put in 15-hour days trying to accurately count, assess, and cohort
         the patients. The existing census records were “incomplete” and “disorganize[d],” at best. It was
         “complete mayhem.” There were “not assessments being made on all patients.” 825

    •    As Ms. Colombo put it, “In my 35 years of nursing, I have never seen such a cluster . . . When we
         asked [them] to describe census/staffing, there was nothing.” 826

    •    The records concerning veterans’ advanced directives (i.e., whether they wished to be hospitalized,
         intubated, or necessitated) were incomplete and disorganized. 827

    •    Dr. Clinton informed Ms. Liptak and Ms. Colombo that physicians working at the Soldiers’ Home
         were reluctant to conduct rounds and examine veterans because of their personal risk of
         contracting COVID-19. 828

    •    The 1-North unit “looked like a war zone.” 829 According to Ms. Colombo, this “hot” unit had
         veterans “crammed in on top of each other,” some of whom “were clearly dying.” There were
         “chairs of people lined up, some were clothed, some unclothed, some were wearing masks, some
         weren’t.” 830

    •    Ms. Colombo asked Ms. Lauziere (the Chief Nursing Officer) to explain the reasons for combining
         1-North and 2-North, but “did not get an adequate response, other than it was done because of
         staffing . . . she appeared to know it wasn’t the right thing to do, but did it anyway.” 831 It appeared
         to Ms. Colombo that “they pooled [veterans] together based on dementia status instead of COVID
         status.” 832

    •    Based on a review of records from the previous week, Ms. Liptak concluded that the Soldiers’
         Home was badly understaffed during the previous days. Where there should have been 4 to 5
         HPPD (healthcare provider hours per patient day), “they were not even at 1 HPPD.” 833

    •    Ms. Liptak observed some staff with gowns but no masks; some with only masks; and some with
         only gloves on. Her initial assessment was that there was “no understanding of what the infection
         control guidelines were.” When Ms. Liptak scheduled an interview with Ms. Gosselin (Infection
         Control nurse) to discuss the events that had transpired, Ms. Gosselin reported that Ms. Lauziere
         (Chief Nursing Officer) and Ms. Surreira (Assistant Director of Nursing) “did not want to have
         anything to do with the infection control nurse.”

    •    Ms. Gosselin told Ms. Liptak that she “would rather be dead” than continue being at the facility;
         Ms. Liptak referred Ms. Gosselin to trauma and grief counseling. 834




                                                      111
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 112 of 174



        The conditions that Ms. Liptak and Ms. Colombo identified at the facility led Ms. Cumming and

Ms. Cohen from the Department of Health to feel as if they had been “duped based on what had been

described in prior calls [with the Soldiers’ Home] as to what they were doing to manage patients and to

care for them.” 835

                      iii.   Additional discussions with family members regarding MOLST status

        Shortly after the response team arrived at the Soldiers’ Home, Ms. Colombo tasked Ms. Lauziere

with confirming each veteran’s MOLST status to ensure the veterans received care consistent with their

advanced directives.836 Ms. Colombo made this request because she perceived confusion as to patients’

end-of-life preferences. 837 When asked about this process, Ms. Lauziere explained that “I believe that

was when the State brought in the Command team,” and “Lisa Colombo wanted calls made. This is when

I started to get sick [with COVID-19] and I was out.” 838 Explaining further, she said that “there was stuff

going on” and “hospitals were saying they would not accept them, or something like that—what were we

going to do if it was a full code?” 839

        The details regarding how this instruction was implemented are unclear, but troubling. Sandy

Marino, a nurse, recalled on or around April 1 or 2, 2020, she saw two other social workers in the office

in the early evening, and asked what they were doing. 840 They explained they had been instructed to call

healthcare proxies for each veteran and “double-check” whether they wanted to change their MOLST

status. 841 Ms. Marino was unsure who gave the instruction, but understood from the social workers that

they “were being pushed a little bit” to encourage the families to change veterans’ statuses to “do not

hospitalize.” Ms. Marino recalled thinking “Oh, my god.” 842

        An entry in one veteran’s medical record confirms this account. The veteran’s admission note

from March 9, 2020 states that “he is a DNR [do-not-resuscitate] and DNI [do-not-intubate], but does

want to be transferred to the hospital.” 843 But an entry from Tuesday, March 31, 2020 states: “Last

evening, SS [social services] called invoked HCP [health care proxy], wife [name omitted] to go over




                                                    112
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 113 of 174



MOLST per direction of the CNO [Chief Nursing Officer]. The MOLST was changed to DNH [do-not-

hospitalize]. . . .” 844

          We have not conducted a detailed medical review of each veteran’s records to determine whether

they received care that was inconsistent with previous MOLST selections, but this may be a subject of

further investigation by teams evaluating whether the care provided satisfied legal standards.

                      iv.   Final death toll

          Given the extensive comorbidities in the elderly population of the Soldiers’ Home, it is likely

impossible to determine the total number of veterans who died because of the COVID-19 outbreak. 76

Soldiers’ Home veterans who were COVID-19 positive died in the 11-week period between March 25,

2020 and June 12, 2020. 18 additional veterans died during this period who tested negative for COVID-

19, or for whom no test was conducted. Prior to the outbreak, approximately 2.8 veterans died each week.

The only thing that we can say with certainty is that the death toll is tragic and unbearable.




                                                    113
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 114 of 174




                       V.       ANALYSIS AND RECOMMENDATIONS

A.      The Soldiers’ Home leadership team made serious errors in responding to the COVID-
        19 outbreak

        COVID-19 has killed over 115,000 Americans, and—in particular—has ravaged long-term care

facilities across the nation. 845 Government data indicates that at least 80 long-term care facilities in

Massachusetts alone had at least 20 or more COVID-19 deaths. 846 Even the best preparations and most

careful response cannot eliminate the threat of this virus. Thus, the presence of COVID-19 at a healthcare

facility does not prove that the facility’s leaders made errors.

        But this reality does not mean that careful planning and administration are irrelevant. And it

absolutely does not excuse a failure to plan and execute on long-standing infection control principles and

to seek outside help when it is required to keep patients safe. Indeed, the extraordinary danger of COVID-

19 makes these steps all the more important.

        We conclude that the leadership team at the Soldiers’ Home made a number of serious errors

during the COVID-19 outbreak that likely contributed to the scope and severity of the outbreak. Our

investigation has determined that Superintendent Bennett Walsh, Chief Nursing Officer Vanessa Lauziere,

and Medical Director Dr. David Clinton were the primary decision-makers during this period—and that

Mr. Walsh and Ms. Lauziere excluded others (including the designated Infection Control nurse, Vanessa

Gosslin) from participating in critical decisions.

        We have identified the following as the most serious errors during the COVID-19 response at the

Soldiers’ Home:

        1.        Combining two locked dementia units containing veterans with a mix of COVID-
                  19 statuses, and failing to ensure an appropriate standard of care on the newly
                  combined unit

        The worst decision made during the Soldiers’ Home’s response to COVID-19 occurred on the

afternoon of Friday, March 27, 2020. On that afternoon, Chief Nursing Officer Vanessa Lauziere decided

that—because a number of staff members had called in sick for the evening shift that was about to begin—




                                                      114
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 115 of 174



one of the Home’s two locked dementia units (2-North) would be closed and consolidated with the other

(1-North). Some of the veterans living on 2-North at the time were not there because they had dementia

and were prone to wandering—instead, they were hospice patients nearing death who had been moved

from the 2-South hospice unit in an effort to create isolation spaces for veterans infected with COVID-

19. These same dying veterans were then moved again, to a newly crowded and combined 1-North unit.

         During our interviews, no one apart from Ms. Lauziere took responsibility for this decision.

Medical Director Dr. David Clinton, who was present at the Home on this date, asserts that he “was not

involved in, or consulted” in this decision. 847 For the reasons set out in Section IV(D)(3)(vii), above, we

reject Dr. Clinton’s account as not credible. Assistant Director of Nursing Celeste Surreira claims she too

was not consulted in the decision to consolidate units (although she acknowledges that she helped to

implement the consolidation that afternoon). 848 And Superintendent Bennett Walsh indicates that he was

advised of the decision, and did nothing to probe or evaluate whether this dramatic step was appropriate.849

         This decision was a catastrophe. Staff described the move as “total pandemonium,” “when hell

broke loose,” and “a nightmare.” 850 One staff member remembered thinking, “How can they do this

because this [is] the most insane thing I ever saw in my entire life.” 851 She “felt it was like moving the

concentration camp—we are moving these unknowing veterans off to die. I will never get those images

out of my mind—what we did, what was done to those veterans.”852 Other witnesses, including the

Interim Administrator brought in three days later to stabilize the situation, described the combined unit as

resembling a “war zone.” 853 A number of witness accounts suggest that veterans on the combined unit did

not receive sufficient nursing care, hydration, or pain relief medications during the weekend of March 28

and 29. 854

         Mr. Walsh and his team implemented a decision to combine two units that each contained a mix

of patients: some were COVID-19 positive; some were awaiting COVID-19 test results; some had not

been tested for COVID-19; and some would later test negative for COVID-19. 855 They took this

heterogeneous group of elderly veterans, some of whom were “actively dying” from either COVID-19 or



                                                    115
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 116 of 174



other conditions 856 and combined them together, in close physical proximity to one another, and then

failed to provide them with sufficient medical care. Those under-resourced staff members who were

present did not use proper personal protective equipment. 857 In short, this was the opposite of

infection control: Mr. Walsh and his team created close to an optimal environment for the spread

of COVID-19.

        Mr. Walsh and Ms. Lauziere argue that because of staffing shortages, they had no choice but to

combine these units. 858    They are incorrect. Within hours of arriving on March 30, 2020, the

Commonwealth’s emergency response team assessed the acuity of the patients and quickly sent many of

them to hospitals and other acute-care facilities. The same option was available to Mr. Walsh and his team.

        2.      Failure to promptly isolate patients suspected of COVID-19 using the rooms set
                aside for isolation

        After showing symptoms consistent with COVID-19 for weeks, and after testing negative for

other conditions such as the flu or respiratory syncytial virus, Veteran 1 was tested for COVID-19 on

March 17, 2020. 859 By any reasonable measure, he represented a suspected COVID-19 case. Indeed, the

COVID-19 testing guidelines for the state laboratory at the time only authorized testing of those veterans

who were suspected of having COVID-19. 860

        As of this time, the Soldiers’ Home had already moved other veterans in order to set aside at least

two rooms (315 and 317) for isolation, and spent time to configure a negative-pressure system to contain

the virus in those rooms. 861 Isolation of suspected and confirmed cases is required under the standard of

care: VA guidance distributed to Mr. Walsh on March 6, 2020 recommended developing an isolation plan

for suspected cases;862 on March 12, 2020, the Department of Veterans’ Services distributed guidance to

Mr. Walsh ordering isolation of symptomatic patients; 863 and a Department of Public Health policy

memorandum dated March 16, 2020 confirmed that patients with known or suspected COVID-19

infections should be isolated in single-person rooms with the doors closed. 864

        These isolation rooms were never used, nor did the Soldiers’ Home’s leaders take other steps to

isolate suspected and confirmed COVID-19 cases. In reality, they did almost nothing. For example,


                                                   116
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 117 of 174



Veteran 1’s roommates (who were not showing COVID-19 symptoms 865) were not moved out of his room

at the time he was tested—they remained present until his test came back positive, and were then moved

only after spending these additional four days confined in a room with a COVID-19-positive patient who

was coughing. Moreover, numerous reports from staff confirm that Veteran 1 was not restricted to his

room during this period, and instead was seen wandering around his unit, coughing and unknowingly

spreading COVID-19 to others. 866

        We find that two factors—neither of which is an acceptable justification—led to the Home’s

failure to isolate suspected and confirmed COVID-19 cases as required under the public health guidance

that the Home’s leaders had received. First, it appears that Dr. Clinton concluded that because Veteran 1

had already been moving about the unit, the whole unit should be considered contaminated. Ms. Surreira

reports that Dr. Clinton decided that “we would wait until determining his COVID status to determine

the response” and “we aren’t going to do anything until we have a positive test result because essentially

they have all been exposed.” 867 In lay terms, they apparently concluded that the unit was a lost cause.

Moreover, the subsequent decision to partially reverse course (and move Veteran 1’s roommates out) only

once a test confirmed that Veteran 1 was positive illustrates the folly of this approach.

        The second factor was a perception that the Home did not have enough staff to provide dedicated

nurses or nursing aides to monitor veterans such as Veteran 1 (who was known to wander from his bed)

if they were moved to the designated isolation unit. 868 This, too, is an inadequate justification. We do not

find evidence that the Home was suffering substantial staff shortages as of March 17 (although within

several days, it began to suffer shortages). Most importantly, if there were a staff shortage that made it

impossible to comply with public health guidance and isolate one veteran, this would have been the time

for Mr. Walsh and his team to sound the alarm and seek more staff. 869

        3.      Delays in testing additional veterans for COVID-19

        Several witnesses reported Ms. Surreira’s reluctance to test Veteran 1, even though he was showing

COVID-19 symptoms and was negative for flu and other respiratory conditions. 870 And even after he was



                                                    117
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 118 of 174



tested on March 17, 2020, the Soldiers’ Home leadership team failed to test additional veterans on the

same unit who were showing COVID-19 symptoms. They waited until Veteran 1’s test results came back

positive, allowing the virus additional days to spread unchecked.

        When the test result for Veteran 1 came back as positive at approximately 9:30 p.m. on Saturday,

March 21, 2020, Dr. Clinton and Ms. Lauziere swung into action and quickly ordered the testing of five

additional veterans. The Home’s “24-hour nursing report” states that five test swabs were delivered to a

courier at 11:00 p.m. 871 In an email sent that evening, after the first positive test result, Mr. Walsh explained

that “we received the test results back on our veteran and the results are positive for covid-19 . . .

We’re currently are [sic] testing 5 other veterans and sending out their samples this evening for testing.”872

In an email the next morning, he acknowledged that the five additional veterans tested the evening before

“were exhibiting symptoms.” 873

        There is no justification for this delay, particularly where Dr. Clinton had concluded earlier—at

the time Veteran 1 was tested on March 17—that the whole unit had likely been exposed to COVID-19.

Instead, this delay appears to be additional evidence of the leadership team’s failure to confront the reality

that a number of the veterans at the Home were likely infected with COVID-19.

        4.       Delays in closing common spaces

        The Soldiers’ Home leadership team was inexcusably slow in taking steps to close communal areas

to reduce the spread of COVID-19.

        On March 13, 2020, CMS recommended that long-term care facilities close communal dining

rooms and stop all group activities. 874 The Soldiers’ Home did not comply with this recommendation.

The main dining room was closed on March 15, but as of March 16, veterans were still permitted in

common recreation rooms. Veterans were permitted to congregate in indoor smoking rooms until March

28 (a senior EOHHS official noted that these smoking rooms should have been closed “long ago.”).875

And even in heavily infected units such as 1-North, veterans were not restricted to their rooms and were

permitted to congregate in common areas as late as March 27. Some of the veterans in the consolidated



                                                      118
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 119 of 174



unit were “bed hoppers” who roamed around the unit, impossible to contain. 876 Congregating in confined

indoor spaces presents a high risk for COVID-19 transmission, yet the Soldiers’ Home leadership team

failed to take basic steps to address this risk.877

        5.       Failure to stop rotation of staff among units

        The leadership of the Soldiers’ Home failed to prevent the rotation or “floating” of staff members

from unit to unit. This floating presents a substantial and obvious transmission risk. Furthermore, when

Secretary Urena asked about this issue, Mr. Walsh provided inaccurate information.

        On March 6, 2020, the Department of Veterans’ Affairs circulated guidance to Mr. Walsh

recommending that long-term care facilities limit staff movement between infected and un-infected areas.

We find that this guidance was never implemented, and that the Soldiers’ Home made no serious effort to

implement it.

        On March 29, 2020, as the crisis unfolded, Secretary Urena sent a series of text messages to Mr.

Walsh asking whether the staff in the two infected units were still being “floated” to other units:

        Are the staff in the two affected units still rotating to other units? Or are they only
        to that unit?

        DPH is requesting that they only be to that unit.

        Is that possible?

Mr. Walsh replied:

        We’ve done that for two weeks, attempt to keep same staff on same unit. 878

Mr. Walsh’s statement to Secretary Urena is false: during the past two weeks, staff were routinely floated

between units, including units with infected veterans, and we find no evidence that Mr. Walsh or anyone

else took any serious steps to stop this practice.879

        For example, a registered nurse recalled that even after Veteran 1 tested positive, nursing aides

would be scheduled to work two hours on 1-North and then directed to complete their shift on the third

floor. 880 She asked her supervisors, including Ms. Lauziere, why staff were floated between positive and

negative units given the risk of spreading COVID-19. 881 She was told “they had to work with the number


                                                        119
          Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 120 of 174



of staff they had.” 882 Another nursing aide reports that he treated Veteran 1 during a night shift on March

16-17, and then worked a shift on the 4-East unit the next evening—where he was given a written

reprimand for wearing personal protective equipment while treating veterans who were vomiting and

having bowel movements possibly caused by GI problems. 883 A number of staff members who floated

from unit to unit, or interacted with staff who floated from unit to unit, later tested positive for COVID-

19. 884

           6.      Inconsistent policies and practices with respect to personal protective equipment

           Even taking into account evolving regulatory guidance and the potential for shortages in inventory

if not carefully managed, the Soldiers’ Home’s approach to the use of personal protective equipment during

the COVID-19 crisis was inconsistent and indeed incoherent.

           Upon her arrival at the Soldiers’ Home, Interim Administrator Val Liptak observed some staff

with gowns but no masks; some with only masks; and some with only gloves on. Her initial assessment

was that there was “no understanding of what the infection control guidelines were.” 885                  These

observations are unsurprising in light of interviews with staff members who reported inconsistent policies

for the use of personal protective equipment (especially masks and gowns), and that the Soldiers’ Home

took steps to make it more difficult to access such equipment (as of early March, dispensers were removed

from units based on concerns about pilfering). In addition, as described above, one staff member was

disciplined in writing xxiii for using personal protective equipment while treating a sick veteran, the day after

he provided care to Veteran 1. 886

           Personal protective equipment is essential to protect staff members and to protect patients from

secondary transmission of bacteria and viruses, including COVID-19. The Soldiers’ Home’s failure to




    Some witnesses disputed whether this nursing aide was using the right protective equipment, or was using
xxiii

it correctly. But in any event, issuing a written disciplinary notice from the Chief Nursing Officer on the
grounds that the aide’s use of the equipment was causing “anxiety” for other staff—at a time when staff were
not using enough protective equipment—was the wrong approach.


                                                      120
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 121 of 174



make personal protective equipment available and to have consistent policies requiring its use endangered

both veterans and the staff who provided care for them.

        7.      Document and recordkeeping failures

        When the response team arrived to take command of the Soldiers’ Home on March 30, 2020, they

found an organization in disarray. Upon arrival, “we did not know what patients were in the Home or

where they were.”887 The team began work to count, assess, and cohort the patients. The existing census

records were “incomplete” and “disorganize[d],” at best. It was “complete mayhem.” There were “not

assessments being made on all patients.” 888 The records concerning veterans’ advanced directives (i.e.,

whether they wished to be hospitalized, intubated, or necessitated) were incomplete and disorganized. As

one member of the team put it, “in my 35 years of nursing, I have never seen such a cluster . . . When we

asked [them] to describe census/staffing, there was nothing.” 889

        The team also found that some staff members had decided not to use the Home’s designated

computer systems and databases for tracking admissions, the location of veterans in the facility, and other

records because they found them to be inconvenient or clunky, and instead used one-off solutions such

as Microsoft Office documents saved in scattered locations across the computer network. 890

        Knowing how many patients are in a facility and their medical conditions is, of course, a

fundamental task in healthcare administration. Reflecting long-standing failures of leadership,

organization, and healthcare experience, the Soldiers’ Home failed this basic requirement.

                                            *        *       *

        During our interviews, we explored the question whether a leader with a distinguished military

background, but no experience in healthcare administration, can properly manage a long-term care facility.

One common response is that as an experienced leader and manager, Mr. Walsh could lead the facility by

relying on his management skills together with the specialized medical knowledge of his team members.

But the facts surrounding the errors described above—and in particular, the decision to close 2-North and

combine this unit with 1-North—illustrate the problem with this reasoning. Mr. Walsh did not know what



                                                   121
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 122 of 174



he did not know, and he did not exercise his responsibility as a manager to run a careful and deliberative

decision-making process, with input from all stakeholders. For example, independent of the pandemic, a

nursing-home administrator would understand that the notion of placing 42 veterans into a unit designed

for half that number is never an acceptable solution. 891 Moreover, if Dr. Clinton’s, Ms. Lauziere’s, and

Ms. Surreira’s accounts are credited at face value, closing 1-North was a decision made by a single nurse.

It should never have happened.

B.        The Department of Veterans’ Services did not take steps to address substantial and
          long-standing concerns regarding the leadership of the Soldiers’ Home

          The Department of Veterans’ Services, an agency within EOHHS, has supervisory and

administrative responsibility for the Soldiers’ Home. 892 We find that the Department of Veterans’ Services

and its leader, Secretary Urena, should have responded to a series of warning signs and concerns about the

administration of the Soldiers’ Home in the years and months leading up to the COVID-19 outbreak.

          During the interviews we conducted for this investigation, we asked Secretary Urena and his Chief

of Staff, Paul Moran, to describe their observations and impressions of Secretary Walsh’s leadership of the

Soldiers’ Home. Both had concerns about Mr. Walsh’s management skills and his candor well prior to the

COVID-19 outbreak, and both listed a number of material concerns with Mr. Walsh’s performance of his

responsibilities:

     •    Secretary Urena’s view of Mr. Walsh was “one of caution . . . from the inception.” 893 He agreed
          with Mr. Moran’s assessment that Mr. Walsh’s communications skills were poor and he was neither
          thorough nor “forthright in his communications.” 894 As Secretary Urena put it, “everything four
          years prior [to the outbreak] was cryptic.” 895

     •    Mr. Moran told us that “I think a medical person or someone with some administrative
          understanding of how a facility should be administrated would have been a good idea.” 896 Mr.
          Moran noted that he was “less than impressed with Walsh as a ‘serious’ kind of leader” and he
          thought Mr. “Walsh was “in over his head . . . he thought the way to run the place was through
          the media.”897

     •    Both Secretary Urena and Mr. Moran shared concerns about whether Mr. Walsh was physically
          present at the facility for an appropriate amount of time to do his job. As Secretary Urena put it,
          “both myself and Secretary Sudders told him to spend more time at the Home. His schedule would
          be inundated with free lunches and ways of promoting the Home.” 898 Mr. Moran agreed with
          these concerns, and noted that senior staff at the Home would say to him: “we don’t know where


                                                     122
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 123 of 174



           [Mr. Walsh] is.” 899 Mr. Moran confirmed that Secretary Urena “had conversations with [Mr.
           Walsh] about spending more time at the Home versus political engagements.” 900

     •     The concerns about Mr. Walsh’s physical presence at the Home are consistent with broader
           concerns about how he conceived of his role. When Deputy Superintendent John Crotty resigned,
           he told Mr. Moran in an exit interview that Mr. Walsh thought his role at the home was to be the
           “outside man” while Mr. Crotty was the “inside man.”901

     •     Both Secretary Urena and Mr. Moran shared concerns about the substantial turnover in senior
           leadership at the Home. Secretary Urena noted that “over the course of four years, his whole
           entire team resigned, plus two additional people who rotated positions.” 902

     •     They also had concerns that Mr. Walsh tried to control the flow of information in and out of the
           home. At one point, Mr. Walsh asked Secretary Sudders to bar Secretary Urena from visiting the
           Home without giving Mr. Walsh prior notice. 903 As Secretary Urena explained, “[y]ou need to
           understand that the management style of Bennett Walsh was to never have anyone else have
           conversations with us.” 904 On March 30, 2020, when they learned from the response team about
           concerns regarding veterans receiving adequate food, water, and comfort medication, “it was a
           total 180 of the picture of ‘everything is perfect and everything is great.’”905

     •     Secretary Urena had concerns that Mr. Walsh was “withholding” information from the Board of
           Trustees. He noted that Mr. Walsh’s reports to the Board would “be much more like picture
           collages . . . rather than factual reports.” 906

     •     When Mr. Walsh was hired, Secretary Sudders instructed Secretary Urena to ensure that there
           would be a Deputy Superintendent with healthcare administration experience. 907 But when Mr.
           Crotty (who was a licensed nursing home administrator) resigned from that role in June 2019, the
           Home went nine months with no deputy superintendent at all, including the period of the COVID-
           19 outbreak. 908

     •     Secretary Urena arranged for an executive coach to work with Mr. Walsh based on complaints
           regarding “anger management.” He had to extend the term of this coaching when another
           complaint arose about similar issues. 909

           We asked Secretary Urena to explain how he approached his oversight responsibilities given his

own lack of experience in healthcare administration. He replied that “we depend on the experts from [the

Soldiers’ Homes] . . . the Chief Nursing Officer and Medical Director.” 910 Yet, as noted above, Secretary

Urena felt that Mr. Walsh’s “management style . . . was to never have anyone else have conversations with

us.” 911

           One resource that should have been available to bring healthcare oversight experience to bear was

the Executive Director of Veterans’ Homes. In 2016, the Legislature created this role within the

Department of Veterans’ Services with reporting and oversite responsibilities for the Soldiers’ Home:



                                                     123
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 124 of 174



        The commissioner of veterans’ services shall appoint an executive director of veterans’
        homes and housing who shall have: (i) at least 5 years of management, healthcare
        experience and (ii) military or other experience working with veterans . . . The office shall:
        (i) coordinate and oversee implementation and enforcement of laws, regulations and
        policies relative to the veterans’ homes and other housing for veterans; and (ii) investigate
        and make recommendations on best practices for providing housing for veterans. 912

But this role was never filled because Secretary Urena determined that the Legislature did not appropriate

sufficient funds to fulfill this mandate.

        The bottom line is that the leadership of the Department of Veterans’ Services—charged by law

with oversight responsibilities—had material concerns about Mr. Walsh’s candor, competence, and

performance for years prior to the COVID-19 outbreak. Likewise, while they indicated that they relied

on the medical and nursing staff at the Home to help carry out their oversite roles, they understood that

Mr. Walsh’s approach was to limit the flow of information up to the Department from those who reported

to him. They also knew that when Mr. Crotty—the “inside man” to Mr. Walsh as the “outside man”—

resigned, and his role was not filled for nine months leading up to and including the COVID-19 outbreak,

the Home was left with a void of leadership.

        Accordingly, we find that the Department of Veterans’ Services did not take steps to address

substantial and long-standing concerns regarding the leadership of the Soldiers’ Home.

C.      Although Mr. Walsh reported other information that was inaccurate and incomplete,
        we have not identified any material violations of the reporting requirements
        concerning COVID-19 test results and deaths

        1.       Inaccurate and incomplete information

        Mr. Walsh’s communications with the Department of Veterans’ Services and EOHHS omitted

important information, and at times, contained affirmatively inaccurate information. For example, Mr.

Walsh stated that the first veteran who had tested positive for COVID-19 had been “isolated” in his room

in an informal report to the Department of Veterans’ Services and EOHHS on the evening of March 21,

and likewise in the March 22 Critical Incident Report. 913 This was, at best, incomplete. Mr. Walsh’s reports

did not explain that the Soldiers’ Home only took steps to “isolate” this veteran after he tested positive.

He did not explain (1) that in his view the Home did not have adequate staffing to use the isolation rooms


                                                     124
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 125 of 174



that had been set up on the third floor; (2) that the positive veteran had dementia and continued to move

around 1-North even after his positive test; or (3) that the veteran did not have the cognitive ability to

keep a mask on. xxiv Acting Secretary Tsai explained that, had Mr. Walsh informed EOHHS that the

Soldiers’ Home could not staff its isolation areas, EOHHS could have “done an assessment of the available

options” and “handled” emergency staffing for the Soldiers’ Home. 914

        In deciding to combine the 2-North and 1-North units, Mr. Walsh purportedly relied on his

understanding that public health authorities approved “cohorting” of similarly situated patients. 915 He

asserted during an interview with the McDermott team that the Department of Public Health “approved

what we were doing” in this regard. 916 This is not so: Mr. Walsh acknowledges that he did not inform the

Department of Public Health that he would be combining two COVID-19 heterogeneous units, and we

find that what happened on 1-North is entirely inconsistent with any definition of “cohorting.” Likewise,

Ms. Lauziere confirmed that the decision to combine the units was not based on advice from the

Department of Public Health. After learning of the conditions that Ms. Liptak and Ms. Colombo identified

at the facility on March 30, Ms. Cumming and Ms. Cohen (the Department of Health team with whom

the Soldiers’ Home team spoke on March 25) felt as if they had been “duped based on what had been

described in prior calls [with the Soldiers’ Home] as to what they were doing to manage patients and to

care for them.” 917

        Mr. Walsh continued to present misleading and incomplete information over the weekend of

March 28-29. In response to Secretary Urena’s text message on March 29 asking if the staff in the two

infected units (presumably 1-North and 2-North) were still being floated to other units, Mr. Walsh

inaccurately replied, “We’ve done that for two weeks, attempt to keep same staff on same unit.” 918 As

discussed above, this was not true.




xxiv As discussed above, Mr. Walsh and his team provided details about the struggles with keeping Veteran 1 in

his room during a call with the Department of Public Health on March 25, 2020.


                                                     125
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 126 of 174




        2.      No material violations of reporting requirements

        We have not identified any instances where the Soldiers’ Home leadership committed material

violations of the reporting requirements concerning COVID-19 test results and deaths. Indeed, much of

the confusion on this issue appears to be the result of EOHHS’s and the Department of Veterans’ Services’

evolving reporting requirements including a policy (during the relevant time period) that only deceased

veterans who were confirmed to be COVID-19 positive (rather than those awaiting test results) were to

be included in certain death tolls. Thus, when the Home reported the number of “deaths” through March

29, this total—consistent with the requirements—referred to the number of deaths of veterans who had

tested positive for COVID-19 as of the time of the report. However, it appears that leaders in the

Department of Veterans’ Services and EOHHS misunderstood these reports, thinking that they reflected

the total death toll including veterans who were symptomatic and awaiting test results.

        Prior to March 24, the Soldiers’ Home had no requirement to report instances of suspected

COVID-19 cases (or pending test results) to the Department of Veterans’ Services or EOHHS, but instead

was only required to report confirmed cases (using a Critical Incident Report).919 The Soldiers’ Home met

this reporting requirement by sending the Critical Incident Report on March 22 (the result came back

positive late the previous evening, a Saturday) about the Soldiers’ Home’s first positive COVID-19 case.

Indeed, the Home provided informal notification to senior leaders within hours of the test result, and

volunteered that an additional five suspected cases were being tested.

        Between March 24 and 29, EOHHS implemented a daily tracker and required each agency head

to designate who would be responsible for collecting and reporting daily updates to share with EOHHS.

The Soldiers’ Home selected its legal counsel, Mark Yankopoulos, to be responsible for the daily COVID-

19 reporting. Here again, the only required reporting in EOHHS’ COVID-19 daily tracker were confirmed

COVID-19 cases. Indeed, on March 27, Coleen Arons from EOHHS confirmed with Mr. Yankopoulos

that EOHHS was only collecting confirmed, not pending, cases. 920 Mr. Yankopoulos met this daily

reporting requirement by reporting the number of confirmed cases—both for veterans and staff—each



                                                   126
       Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 127 of 174



day. Per Ms. Arons’ instructions, Mr. Yankopoulos did not report deaths of veterans whose COVID-19

status was still pending test results. 921

         On March 29, Secretary Urena sent a new reporting form to Mr. Walsh and Ms. Poppe that would

go into effect on Monday, March 30. 922 For the first time, the Department of Veterans’ Services

requested daily reporting of the number of pending COVID-19 cases (i.e., veterans awaiting their

test results), the number of patients recovered from COVID-19, and the number of deaths

associated with pending or confirmed COVID-19 cases. But again, the first such report was not due

until March 30.

         On March 29, Mr. Yankopoulos spoke with the Department of Veterans’ Services’ legal counsel,

Mr. Ivimey, and discussed the “bottom line” number of how many veterans had died in recent days.923

Mr. Yankopoulos reported—accurately—that by this time four veterans had died who were known to be

COVID-19 positive, and that “it was looking like” there were four additional veterans who had died and

whose COVID-19 test results were pending. Mr. Ivimey perceived that these numbers were “not solid at

this time.” 924 During the March 29 call at 7:00 p.m. with Secretary Urena, Acting Secretary Tsai,

Undersecretary Mick, Ms. Rego, Ms. Starr, Ms. Arons, Mr. Moran, and Mr. Ivimey, a question arose about

the death toll at the Soldiers’ Home, and Secretary Urena reported the number of confirmed COVID-19

cases that the Soldiers’ Home had reported per EOHHS’ reporting requirements. Inexplicably, Mr. Ivimey

did not interject to share the information he learned earlier that day from Mr. Yankopoulos, or that there

might be reason to doubt the numbers that Secretary Urena and Acting Secretary Tsai shared. He later

explained that he did not do so because he perceived that there was “not an adequate level of certainty” in

the information that Mr. Yankopoulos shared with him. 925

         Confusion about the correct death toll at the Soldiers’ Home continued to escalate over the next

few hours, leading up to the 9:30 p.m. call with Secretary Sudders during which Ms. Lauziere confirmed

that the death toll was eight veterans, not the two veterans that Secretary Urena had reported during the

7:00 p.m. call. Mr. Walsh texted Mr. Yankopoulos following the 9:30 p.m. call that the issue was “not



                                                   127
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 128 of 174



anyone’s fault, just a communications issue.”926 We agree with Mr. Walsh that there was a communications

issue that evening. We have not identified any material violations of the reporting requirements committed

by the Soldiers’ Home that caused this communications breakdown.

        In concluding that there was no material violation of the reporting requirements, we do not mean

to suggest that all involved exercised good judgment. For example, as the death toll of patients with

pending or confirmed COVID-19 results rapidly climbed from one (as of the morning of Friday, March

27) to eight (by mid-day on Sunday, March 28), Mr. Walsh would have been wise to bring this to Secretary

Urena’s attention. There was a rapidly escalating crisis situation, and Mr. Walsh does not appear to have

appreciated its urgency and certainly could have done more to alert others. Likewise, Mr. Ivimey exercised

bad judgment in failing to mention to his agency client—Secretary Urena— and Acting Secretary Tsai that

there was at least some reason to think that Mayor Morse was correct that there had been eight deaths at

the Home. Finally, given the multiple-day lag in getting results of COVID-19 tests during this time period,

the Department of Veterans’ Services and EOHHS would have been well served to require notification

about deaths of suspected COVID-19 patients far earlier than they did.

D.      The Soldiers’ Home should not be exempt from the requirements for licensing and
        inspection that apply to other long-term care facilities in Massachusetts

        Our investigation elicited a number of perspectives and answers to the questions whether the

Soldiers’ Home should be licensed as a long-term care and skilled-nursing facility and subject to the same

surveys and inspections as other such facilities, and whether its leader should be a licensed nursing home

administrator and have experience in healthcare administration.

        Several witnesses pointed to the example of Cheryl Poppe, Superintendent of the Soldiers’ Home

at Chelsea. By all accounts, Ms. Poppe is a highly competent manager who does an exceptional job in her

role, even though she is not licensed as a nursing home administrator. Likewise, others noted that in their

view, the Superintendent need not have healthcare experience so long as she or he is a strong leader and

has a team that has such experience. 927




                                                   128
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 129 of 174



          Our recommendation and answers to these questions stem from a simple premise: the veterans

who served our country and spend the last years of their lives at the Soldiers’ Home deserve—at a

minimum—the same standards and protections as residents at private long-term care and nursing facilities.

This is not to say that someone cannot do a good job as Superintendent without being licensed—but

licensure in this profession (like other professions for which Massachusetts requires licensure) is one way

to help ensure a baseline of competence. The same is true as to the Commonwealth’s licensing and

inspection (survey) regime for long-term care facilities: the Commonwealths should conduct the same

surveys at the Soldiers’ Homes as it does at private nursing homes. Again, we can think of no reason or

explanation why the veterans at the Soldiers’ Home should not receive the same protections as residents

at private facilities.

          Accordingly, we recommend that future Superintendents of the Soldiers’ Home should be licensed

nursing home administrators with substantial healthcare experience, and that the facility should comply

with the Department of Public Health’s licensing and inspection regime.

E.        Staffing, technology, and physical plant improvements would help protect the veterans
          at the Soldiers’ Home

          The Soldiers’ Home, under the interim leadership of Acting Secretary Tsai and Interim

Administrator Val Liptak, has already begun plans to implement physical plant upgrades, new infection

control protocols, and reduce the number of beds available in the facility in order to increase staffing levels

and square-footage available for each veteran. 928 These recommendations are consistent with our findings,

and will ameliorate many of the issues identified in this report. In addition to these steps, we offer the

following recommendations based on our interviews with staff and subject-matter experts conducted

during our investigation:

     •    Governance and oversight improvements. In 2016, the Legislature passed a statute requiring
          that the Department of Veterans’ Services employ an experienced healthcare leader to help oversee
          the two Soldiers’ Homes in the Commonwealth. Mass. Gen. Laws ch. 115A, § 12.                      The
          Department has not complied with this mandate—but should act immediately to fill this role.
          Likewise, we respectfully suggest that the Legislature act to ensure that funding is in place to carry
          out its 2017 mandate;



                                                      129
    Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 130 of 174




•    At least two Trustees should have relevant clinical or healthcare administration
     experience. The Legislature has empowered the Soldiers’ Home’s Board of Trustees with a
     broad range of authority to appoint the Home’s leaders and supervise the its administration and
     operations. We recommend that either through an exercise of the Governor’s appointing
     authority or a change in law, at least two Trustees should have clinical or healthcare administration
     experience, preferably with a focus on long-term care. To be clear, the Board is a volunteer group
     that meets periodically; no matter its composition, it cannot replace the day-to-day professional
     management by the Home’s clinical staff or the role of the Executive Director of Veterans’ Homes
     within the Department of Veterans’ Services. Nonetheless, healthcare experience will help the
     Board better exercise its oversight roles: it will help Trustee ask better questions, spot issues, and
     understand and evaluate the performance of the Superintendent and other appointed leaders at
     the Home.

•    Implement a permanent staffing schedule, with flexibility to staff based on patient acuity.
     The Moakley study released in August 2019 recommended that the Soldiers’ Home transition to a
     permanent staffing schedule. The Soldiers’ Home in Chelsea completed a similar process several
     years ago. A permanent schedule provides staff with greater stability and predictability, while
     reducing overtime (including mandatory overtime). Similarly, a scheduling approach that is
     adaptable to ensure the areas of the building with the greatest acuity (patient need) will help ensure
     quality of care without substantial additions in staffing costs;

•    Implement an Electronic Health Record system. During an interview with Mark Bowman
     (President of the National Association of State Veteran Homes), Mr. Bowman explained that the
     VA makes available substantial funds (in the form of “construction grants”) to convert state
     veterans’ homes to electronic medical records systems. He indicated that he would be “surprised”
     to find that any veterans’ homes still operate with paper medical records. 929 Unfortunately, the
     Soldiers’ Home in Holyoke is such a facility. Conversion to an Electronic Health Records system
     has been in discussion for years—including during Mr. Barabani’s tenure as Superintendent and
     during the period when Ms. Poppe served as Interim Administrator in 2016. Nonetheless, as of
     the time of the COVID-19 outbreak, we have not identified any substantial progress toward
     implementation. This should be a priority, especially in light of the documentation and record-
     keeping problems identified in the wake of the COVID-19 outbreak;

•    Hire a designated occupational health nurse. One of the most substantial challenges that the
     Soldiers’ Home faced during the COVID-19 crisis was ensuring that staff members complied with
     evolving guidance on what to do when they became sick, and managing the staffing shortages that
     developed as a result of dozens of staff becoming infected with COVID-19. Part of the problem
     was disseminating policies, enforcing them, tracking which staff were sick, and determining when
     they should return to work. An occupational health function is standard at large healthcare
     facilities, and we recommend that the Soldiers’ Home implement such a role to help protect staff
     and monitor staffing levels in the event of another infectious disease outbreak;

•    Better education and training. The Soldiers’ Home’s existing written policies concerning
     infection control appear to be generally consistent with industry standards. 930 There is a substantial
     deficiency, however, in training and education to ensure compliance with these policies, especially
     given the high levels of turnover in the nursing staff in recent years. The Soldiers’ Home would
     benefit from an expanded and professionalized staff training program;




                                                  130
        Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 131 of 174




    •    Efforts to improve labor relations. Some degree of tension—and healthy debate—between
         labor and management is inevitable. However, our interviews with labor and management suggest
         that the relationship at the Soldiers’ Home has been remarkably acrimonious for years, and that
         these tensions increased under Mr. Walsh’s tenure. We note, for example, Mr. Walsh’s attempt to
         hire a Deputy Administrator who boasted on her resumé of having of being a “union buster,” 931
         and his remarkable suggestion on the evening of March 28, 2020—in response to concerns about
         the rapidly increasing death toll, as COVID-19 spread across the patients and staff—that union
         members were responsible for the problems because they were calling in sick. 932 The unions too
         will need to make compromises, particularly with respect to implementation of a permanent
         schedule with flexibility to address patient acuity. Leadership on both sides must strive to rebuild
         a productive working relationship.

                                        VI.     CONCLUSION

         It is possible—perhaps even likely—that even if the leadership of the Soldiers’ Home in Holyoke

had done everything right, and administered the Home consistent with public health guidance and long-

standing infection control principles, COVID-19 would have nonetheless infected and event potentially

claimed the lives of some veterans residing at the Home.

         However, as set out above, the Soldiers’ Home leadership team did not do everything right—in

fact, they made substantial errors in preparing for and responding to COVID-19. We conclude that these

errors likely contributed to the scope of the outbreak, and its horrific toll. Likewise, we conclude that as

a result of these errors, the Soldiers’ Home fell short of its mission to provide “care with honor and

dignity.”

         In reaching these conclusions, we neither discount nor overlook the efforts of the front-line staff

at the Home during the weeks of the COVID-19 outbreak. Caring for senior citizens—and especially

those with cognitive deficits—is always demanding, underappreciated, and vital work. It was far more

difficult still in the midst of a pandemic, and without competent leadership to manage the crisis. The

nurses, nursing aides, social workers, maintenance staff, and others caring for veterans at the Home during

this difficult period will never forget the experience. Indeed, many suffered both physically from the

effects of the virus and mentally from the stress and trauma of what they witnessed in March 2020. The

administration of the Soldiers’ Home failed them too.




                                                    131
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 132 of 174



        Our principal task in conducting this investigation was determining what happened, and why. The

legal and other consequences of these facts will be left to other state and federal agencies to consider as

they complete their own investigations.

        The Soldiers’ Home in Holyoke has a proud history of serving people who have given so much

for this country. The tragic events described in this report cry out for reform, and it has already begun.

We hope that the process of rebuilding the Home’s legacy will receive full support from the

Commonwealth’s political leaders, so that veterans will once again be assured of receiving the high-quality

care they so richly deserve.

                                                 Respectfully submitted,


                                                 _____________________
                                                 Mark W. Pearlstein

                                                 On behalf of the Investigation Team:
                                                 Mark W. Pearlstein
                                                 Matthew L. Knowles
                                                 Elizabeth Rodd
                                                 Greer Griffith
                                                 Natasha L. Dobrott
                                                 Jeff York
                                                 Adam J. Camiel
                                                 MCDERMOTT WILL & EMERY LLP xxv
                                                 200 Clarendon Street, 58th Floor
                                                 Boston, Massachusetts 02116
                                                 Email: soldiershome@mwe.com

                                                 June 23, 2020




xxv Ms. Rodd and Ms. Griffith are admitted in other jurisdictions, and their work on this investigation was

supervised by principals of the firm who are members of the Massachusetts bar.


                                                   132
     Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 133 of 174




                     VII.     TABLE OF INTERVIEWS CONDUCTED

Witness                     Position / Role                                     Date(s) of Interview(s)
Ablordeppey, Kwesi          Nursing Assistant I                                 April 7, 2020
Baker, Charlie              Governor of Massachusetts                           May 19, 2020
Barabani, Paul              Former Superintendent, Soldiers’ Home in            April 28, 2020
                            Holyoke
Bartlett, Colleen           Licensed Practical Nurse II                         April 23, 2020
Bartscht, Karl              Expert / Consultant (former nursing-home            June 18, 2020
                            administrator), BRG
Beaudette, Laurie           Family Member                                       May 6, 2020
Bergeron, Mary              Licensed Practical Nurse II                         May 1, 2020
Bombredi, Cory              SEIU Local 888 Internal Organizer                   April 7, 2020
Boronski, Emily             Registered Nurse II                                 May 21, 2020
Bowman, Mark                President, National Association of State Veterans   May 6, 2020
                            Homes (NASVH)
Cavalier, David             Owner of Palmer Healthcare                          April 2, 2020
Chevalier, Wendy            Recreational Therapist II                           April 20, 2020
Clark, Caitlin              Licensed Practical Nurse II                         April 28, 2020
Clinton, David              M.D., Medical Director, Soldiers’ Home in           April 21, 2020
                            Holyoke
Cohen, Joyce                Department of Public Health Epidemiologist,         May 8, 2020
                            Influenza Coordinator
Colombo, Lisa               DNP, MHA, RN, Executive Vice Chancellor of          April 13, 2020
                            Commonwealth Medicine (Command Lead)
Cormier, Cindy              Licensed Practical Nurse II                         May 5, 2020
Corridan, Brian             Former Board of Trustees member                     April 14, 2020
Coughlin, Denise            Licensed Practical Nurse II                         May 22, 2020
Croteau, Colleen            Family Member                                       April 16, 2020
Crotty, John                Former Deputy Superintendent, Soldiers’ Home        June 12, 2020
                            in Holyoke
Cumming, Melissa            Department of Public Health Epidemiologist          May 8, 2020
                            Antibiotic Resistance and Hemovigilance
                            Coordinator, Bureau of Infectious Disease and
                            Laboratory Sciences



                                                    133
     Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 134 of 174




Witness               Position / Role                                  Date(s) of Interview(s)
Davila, Cynthia       Nursing Assistant I                              April 27, 2020
Digris, Jackie        Registered Nurse II                              April 29, 2020
Driscoll, Eileen      Family Member                                    May 7, 2020
Dupont, Christopher   Soldiers’ Home in Holyoke Board of Trustees      April 13, 2020
                      member
Feyre, Margaret       Recreation Program Coordinator III               April 24, 2020
Foley, Patti          Training Program Coordinator I                   May 27, 2020
Forrant, Carrie       Social Worker I                                  April 27, 2020
Fowler, Robyn         Registered Nurse IV, Veteran Care Coordinator    April 30, 2020
Fox, Andrea           RN, Associate Director, Massachusetts Nurses     April 15, 2020
                      Association Division of Labor Action
Gauthier, Rachel      Recreational Therapist I                         April 7, 2020
Gentile, Sherrie      Nursing Assistant I                              April 22, 2020
Goff, Roland          Director of Strategic Campaigns, Massachusetts   April 15, 2020
                      Nurses Association
Gosselin, Vanessa     RN, Infection Prevention/Clinical Nursing        April 16, 2020
                      Coordinator
Green, Shelly         Family member                                    May 8, 2020
Gregersen, Eileen     Licensed Practical Nurse II                      April 24, 2020
Gridley, Brandy       Food Service Supervisor II                       April 29, 2020
Gustafson, Terri      Social Worker I                                  April 29, 2020
Ivimey, Stuart        Department of Veterans’ Services General         June 4, 2020
                      Counsel
James, Melissa        Nursing Assistant III                            April 20, 2020
Jourdain, Kevin       Soldiers’ Home in Holyoke Board of Trustees      April 10, 2020
                      Chairman
Kenney, Susan         Family member                                    May 4, 2020
King, Theresa         Licensed Practical Nurse II                      April 9, 2020
Korsen, Lindsay       Nursing Assistant I                              April 24, 2020
Krok, Jeffrey         EOHHS Labor Relations Specialist (Springfield    April 16, 2020
                      Office)
Lacombe, Lynn         Licensed Practical Nurse II                      April 24, 2020




                                                 134
     Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 135 of 174




Witness                Position / Role                                   Date(s) of Interview(s)
Lacoste, Cindy         Soldiers’ Home in Holyoke Board of Trustees       April 13, 2020
                       member
Laplante, David        Former Deputy Superintendent, Soldiers’ Home      May 4, 2020
                       in Holyoke                                        June 4, 2020
Lariviere, Linda       Registered Nurse III, Minimum Data Set            May 15, 2020
                       Coordinator
Lauziere, Vanessa      MSN, Soldiers’ Home in Holyoke Chief Nursing      May 14, 2020
                       Officer
Lindsay, Amber         Nursing Assistant I                               May 4, 2020
Lingenberg, Thomas     Building Maintenance Supervisor I                 May 5, 2020
Liptak, Valenda        RN (Command Leadership Administrator; CEO         April 9, 2020
                       of Western MA Hospital; Acting Superintendent)    April 21, 2020
Lopez, Cesar           Soldiers’ Home in Holyoke Board of Trustees       April 10, 2020
                       member
Maladrinos, Cheryl     Family Member                                     May 12, 2020
Mancini, Donna         Nursing Assistant III                             May 4, 2020
Marino, Sandy          Registered Nurse IV, Veteran Care Coordinator     May 6, 2020
Mass, Isaac            Board of Trustees Member                          May 18, 2020
Mick, Catherine        Undersecretary of Human Services                  April 2, 2020
                                                                         May 30, 2020
Miller, Joan           Registered Nurse II                               April 22, 2020
Moran, Paul            Department of Veterans’ Services Chief of Staff   May 26, 2020
Morse, Alex            Mayor of Holyoke                                  April 3, 2020
Murphy-Tapanes,        Family Member                                     May 8, 2020
Michaelena
Nadel, Ronald          M.D., Dermatologist, former Soldiers’ Home        April 7, 2020
                       provider
O'Connor, Tricia       Canteen Worker I                                  April 20, 2020
Olybrych, Carrie       Licensed Practical Nurse II                       April 28, 2020
Orzechowski, Jillian   Social Worker I                                   April 27, 2020
Ostrander, Carmen      Soldiers’ Home in Holyoke Board of Trustees       April 13, 2020
                       member
Paradis, John          Former Deputy Superintendent, Soldiers’ Home      April 20, 2020
                       in Holyoke



                                               135
     Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 136 of 174




Witness                 Position / Role                                  Date(s) of Interview(s)
Patenaude, Ronald       Assistant Director Labor Action, Massachusetts   April 9, 2020
                        Nurses Association) and former SEIU Local 888
                        Representative
Polito, Karyn           Lieutenant Governor of Massachusetts             May 21, 2020
Poppe, Cheryl           Superintendent, Soldiers’ Home in Chelsea        April 30, 2020
                                                                         June 8, 2020
Proietti, Angelo        Food Service Supervisor I                        May 26, 2020
Quersher, Suzanne       EOHHS Director of Labor Relations                April 17, 2020
Ramirez, Joseph         Nursing Assistant I                              April 8, 2020
Regensburger, Michael   Family Member                                    May 7, 2020
& Susan
Rivera, Carmen          Nursing Assistant I                              April 8, 2020
Rivers, Thalia          Nursing Assistant I                              April 21, 2020
Rivers, Nicole          Associate Director, Center for Public            April 28, 2020
                        Management, Suffolk University
Rodrigues, Brenda       President of SEIU Local 888                      April 6, 2020
Rodriguez, Luis         Storekeeper II, Central Supply                   April 20, 2020
Santana, Doris          Nursing Assistant I                              April 23, 2020
Saykin, Erin            Nursing Assistant I                              April 10, 2020
Scoble, Erika           Administrative Secretary I                       May 29, 2020
Serra, Sheila           Dietician III                                    May 18, 2020
Stafford, Elisia        Nursing Assistant I                              April 28, 2020
Suarez, Ulises          Launderer I                                      May 18, 2020
Sudders, Marylou        Secretary of EOHHS; Head of COVID-19             May 28, 2020
                        Command Center                                   June 7, 2020
Sullivan, Patricia      Nursing Assistant I                              April 21, 2020
Surreira, Celeste       Assistant Director of Nursing                    April 17, 2020
                                                                         May 21, 2020
Szczur, Kim             Clerk III (Scheduler)                            May 8, 2020
Taft, Anne              Registered Nurse IV                              April 30, 2020
Tsai, Daniel            Acting Secretary of EOHHS                        May 27, 2020
Tucker, Lindsey         Associate Commissioner, Department of Public     April 27, 2020
                        Health


                                                136
     Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 137 of 174




Witness             Position / Role                                     Date(s) of Interview(s)
Turgeon, Cheryl     Family Member                                       April 9, 2020
Twining, Roberta    Family Member                                       April 13, 2020
Urena, Francisco    Secretary of the Department of Veterans’ Services   May 28, 2020
                                                                        June 5, 2020
Walsh, Bennett      Superintendent, Soldiers’ Home in Holyoke           April 3, 2020
                                                                        April 6, 2020
                                                                        June 1, 2020
Weber, Kristin      Recreational Therapist I                            April 30, 2020
Yankopoulos, Mark   Agency Counsel, Soldiers’ Home in Holyoke           April 16, 2020
                                                                        June 5, 2020




                                               137
           Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 138 of 174




                                           VIII. REFERENCES
1Nancy Asiamah, 81 Holyoke Soldiers’ Home veterans recover from COVID-19 as cases continue to drop, 22 WWLP (June
17, 2020, 10:04 PM (EST)), https://www.wwlp.com/news/local-news/hampden-county/81-holyoke-soldiers-
home-veterans-recover-from-covid-19-as-cases-continue-to-drop/.
2Robert Weisman and Rebecca Ostriker, For the first time, state divulges death toll by nursing home, and more than 80
have 20 or more COVID-19 deaths, BOSTON GLOBE (May 27, 2020, 9:18 PM (EST)).
3    Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
4   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
5   Interview of Kristin Weber, Recreational Therapist I (April 30, 2020).
6   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
7   Interview of Anne Taft, Registered Nurse IV (April 30, 2020).
8   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
9   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
10   Id.
11   Interview of Luis Rodriguez, Storekeeper II (April 22, 2020).
12   Email from Jeremey Meade to Soldiers’ Home Staff (March 28, 2020 6:43 PM (EST)).
13   Copy of EOHHS Confirmed COVID-19 Daily Case Tracker, March 24, 2020 (REVPROB0028-00007435).
14   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
15   Interview of Jill Orzechowski, Social Worker I (April 27, 2020).
 Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020); Interview of Carrie Forrant, Social
16

Worker I (April 27, 2020).
17   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
18   Interview of Lisa Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
19   Id.
20Interview of Sandy Marino, Registered Nurse IV (May 6, 2020); Interview of Cindy Cormier, Licensed
Practical Nurse II (May 5, 2020).
21Interview of Sandy Marino, Registered Nurse IV (May 6, 2020); Soldiers’ Home Resident Profile for Veteran
36 (GOV0067423).
22   Interview of Dr. David Clinton, Soldiers’ Home Medical Director (April 21, 2020).
23Interviews of Celeste Surreira, Soldiers’ Home Assistant Director of Nursing (April 17, 2020 and May 19,
2020); Interview of Vanessa Gosselin, Soldiers’ Home Infection Control Nurse (April 16, 2020).
24   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
25   Id.
 Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020); Interviews of Bennett
26

Walsh, Soldiers’ Home Superintendent (April 6, 2020 and June 1, 2020).
27   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
28 Interview of Mary Bergeron, Licensed Practical Nurse II (April 23, 2020); Interview of Lindsay Korsen,

Nursing Assistant I (April 24, 2020).


                                                        138
           Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 139 of 174




29See, e.g., 3/10/2020: Lab Advisory: Updated Guidance on Testing Persons for Coronavirus Disease 2019 (COVID-19),
Centers for Disease Control and Prevention (March 10, 2020).
30   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020)
31   Interview of Cindy Cormier, Licensed Practical Nurse II (May 5, 2020).
32   See, e.g., Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
33   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (June 5, 2020).
34 Carmen Rivera, Nursing Assistant I (April 8, 2020); Interview of Lindsay Korsen, Nursing Assistant I (April

24, 2020).
35   Soldiers’ Home 24-Hour Nursing Report, dated March 21, 2020 (REVPROB0028-00002251).
36   Interview of Brandy Gridley, Food Service Supervisor II (April 29, 2020).
37   Id.
38Interview of Melissa Cumming, Department of Public Health Epidemiologist (May 8, 2020) (citing
Mohammad Dar, Medical Director, MassHealth).
39Interview of Sheila Serra, Dietician III (May 18, 2020); Interview of Cheryl Poppe, Soldiers’ Home in Chelsea
Superintendent (April 30, 2020).
40 Interview of Patricia Sullivan, Nursing Assistant I (April 21, 2020); Interview of Lindsay Korsen, Nursing

Assistant I (April 24, 2020).
41   Text Message from Secretary Urena to Bennett Walsh (March 29, 2020 12:16 PM (EST) (GOV0051814).
42   Text Message from Bennett Walsh to Secretary Urena (March 29, 2020 1:30 PM (EST)) (GOV0051814).
43   Interview of Emily Boronski, Registered Nurse II (May 21, 2020).
44Email from Kwesi Ablordeppey to Bennett Walsh et al. (March 24, 2020 8:29 PM (EST)) (REVPROB0028-
00007765).
45 See, e.g. Interview of Jackie Digris, Registered Nurse II (April 29, 2020) (worked on 2-South and 2-West);

Interview of Amber Lindsay, Nursing Assistant 1 (May 4, 2020) (worked on 1 and 2-North); Interview of
Donna Mancini. Nursing Assistant III (May 4, 2020) (worked on 1 and 2-North and in the cafeteria); Interview
of Joseph Ramirez, Nursing Assistant I (April 8, 2020); Interview of Erin Saykin, Nursing Assistant I (April 10,
2020) (floated between units on the first and second floors).
46   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
47   Id.
48   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (June 8, 2020).
49Nancy Asiamah, 81 Holyoke Soldiers’ Home veterans recover from Covid-19 as cases continue to drop, WWLP (June 17,
2020 10:04 PM (EST)), available at https://www.wwlp.com/news/local-news/hampden-county/81-holyoke-
soldiers-home-veterans-recover-from-covid-19-as-cases-continue-to-drop/ (June 17, 2020).
50   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
51   Id.
52Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020); Interview of Lisa
Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
53   Interview of Lisa Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
54   Email to McDermott from Sharon Boyle, General Counsel of EOHHS (June 15, 2020)


                                                        139
           Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 140 of 174




55   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
56   Id.
 Interview of John Crotty, Former Soldiers’ Home Deputy Superintendent (June 12, 2020); Interview of Paul
57

Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
58   Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
59 Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020); Interview of
Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020); Email from Paul Moran
to Secretary Urena and Anthony Preston (March 22, 2020 12:00 a.m. (EST)) (GOV0045633).
60   Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
61Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020); Interview of
Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
62   Copy of EOHHS Confirmed COVID-19 Daily Case Tracker, March 24, 2020 (REVPROB0028-00007435).
63 See, e.g., Jeanette DeForge, Coronavirus: State inspector general began investigation into Holyoke Soldiers’ Home weeks

before       residents  were    infected     with      COVID-10           (April       22,     2020),       available   at
https://www.masslive.com/news/2020/04/coronavirus-state-inspector-general-began-investigation-into-
holyoke-soldiers-home-weeks-before-residents-infected-with-covid-19.html.
64   Chapter 475, Session Laws of 1946, Section 1.
65Holyoke Soldiers’ Home Long Term Capital & Deferred Maintenance Needs Presentation (April 30, 2018)
(REVPROB0028-00009471).
66   Mass. Gen. Laws ch. 6A, § 16.
67   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
68   Id.
69 State of the Commonwealth’s Soldiers’ Homes (December 2016) (GOV0083358); State of the

Commonwealth’s Soldiers’ Homes (November 2017) (GOV0083343); State of the Commonwealth’s Soldiers’
Homes (October 2018) (GOV0083371); State of the Commonwealth’s Soldiers’ Homes (October 2019)
(GOV0083327).
70 105 C.M.R. 153.005; see also Mass. Gen. Laws. ch. 111, § 71 (providing for the licensing of convalescent and

nursing homes, infirmaries, etc.).
71   105 C.M.R. § 153.004.
72   105 C.M.R. § 150.002(B)(5.)
73   105 C.M.R. 150.001.
 Mass. Gen. Laws. ch. 111, § 71; see generally 150 C.M.R. 150.00 (Standards for Long-Term Care Facilities); 105
74

CMR 153.000 (licensure procedures and suitability requirements for long-term care facilities).
75   38 C.F.R. § 51.210.
7638 C.F.R. § 51.60–51.210 (Standards Applicable to the Payment of Per Diem for Nursing Home Care); 38
C.F.R. § 51.300–51.390 (Standards Applicable to the Payment of Per Diem for Domiciliary Care).
77   Email to McDermott from Sharon Boyle, General Counsel of EOHHS (June 15, 2020).
78   Mass. Gen. Laws ch. 111 § 71; see also Mass. Gen. Laws ch. 4 § 7.
79   Mass. Gen. Laws ch. 111 § 71.
80   Interview of Mark Bowman, President, National Association of State Veterans Homes (May 6, 2020).

                                                          140
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 141 of 174




81   Interview of Mark Bowman, President, National Association of State Veterans Homes (May 6, 2020).
 Interview of Ronald Patenaude, Assistant Director Labor Action, Massachusetts Nurses Association (MNA)
82

And Former SEIU Local 888 Representative (April 9, 2020).
83   State of the Commonwealth’s Soldiers’ Homes, p. 10 (October 2019) (GOV0083327).
84   Id.
85   Id.
86   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020).
87 38 C.F.R. § 51.40–41 (denoting the two types of per diem rates: basic per diem rates and per diem rates
authorized through a contract or state home care agreement for certain Veterans with service-connected
disabilities).
88 Department of Veterans Affairs State Home Per Diem Payment Rate Information, available at
https://www.va.gov/COMMUNITYCARE/providers/SH_Payment_Rate.asp.
89 December 6, 2019 Draft Memorandum Re: Electronic Medical Record FY21 IT Capital Funding Request

(REVPROB0028-00010674).
90   Interview of Cindy Lacoste, Soldiers’ Home in Holyoke Board of Trustees Member (April 13, 2020).
91   Id.
92   Id.
93   Id.
94   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020).
95Holyoke Soldiers’ Home Long Term Capital & Deferred Maintenance Needs presentation, April 30, 2018,
p.11 (REVPROB0028-00009471).
96   Id.
97   Id.
98   Id.
99   Id.
100Soldiers’ Home in Holyoke Floor Plans; Holyoke Soldiers’ Home Long Term Capital & Deferred
Maintenance Needs presentation, April 30, 2018, p.11 (REVPROB0028-00009471).
101Holyoke Soldiers’ Home Long Term Capital & Deferred Maintenance Needs presentation, April 30, 2018,
p.12 (REVPROB0028-00009471).
102   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
103   Interview of Roberta Twining, Family Member (April 13, 2020).
  Interview of Susan Kenney, Family Member (May 4, 2020); Interview with Laurie Beaudette, Family Member
104

(May 6, 2020).
105 Interview of Laurie Beaudette, Family Member (May 6, 2020); Interview of Michael & Susan Regensburger,

Family Members (May 7, 2020).
106   Interview of John Pardis, Former Soldiers’ Home Deputy Superintendent (April 20, 2020).
107VA 2015 Survey of Soldiers’ Home at Holyoke (indicating that the Soldiers’ Home met the requirements for
resident rooms).
108   Id.

                                                       141
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 142 of 174




109   Id.
110   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020)
111Holyoke Soldiers’ Home Long Term Capital & Deferred Maintenance Needs presentation, p.12-13
(REVPROB0028-00009471).
112   Brief to the Department of Veterans’ Services from Paul Barabani (February 12, 2015).
113   M.G.L. ch. 4, § 7, clause 43.
114   State of the Commonwealth’s Soldiers’ Homes, p. 10 (October 2019) (GOV0083327).
115   Id.
116   Id.
117   Id.
118   Soldiers’ Home in Holyoke Discharge Database, Mortality 2016-Present (GOV0014507).
119   Mass. Gen. Laws c. 6, § 71.
120   Soldiers’ Home Interim Organizational Chart, revised May 1, 2020 (GOV0013402).
121   Id.
122   Id.
123   Id.
124   See, e.g. Interview of Colleen Croteau, Family Member (April 16, 2020).
125See e.g., Interview of Patricia Sullivan, Nursing Assistant I (April 1, 2020); Interview of Luis Rodriguez,
Storekeeper II, Central Supply (April 20, 2020).
126   Interview of Marylou Sudders, Secretary of EOHHS (May 28, 2020).
127   Interview of Cindy Lacoste, Soldiers’ Home in Holyoke Board of Trustees Member (April 13, 2020).
128See e.g., Interview of Theresa King Licensed Practical Nurse II (April 9, 2020); Interview of Denise Coughlin
Licensed Practical Nurse II (May 22, 2020); Interview of Colleen Bartlett, Licensed Practical Nurse II (April
23, 2020); Interview of Sheila Serra, Dietician III (May 18, 2020).
129   Interview of Sheila Serra, Dietician III (May 18, 2020.)
130   Interview of Joan Miller, Registered Nurse II (April 22, 2020).
131   Interview of Joan Miller, Registered Nurse II (April 22, 2020).
132Interview of Cory Bombredi, SEIU Local 888 Internal Organizer (April 7, 2020); Interview of Lindsay
Korsen, Nursing Assistant I (April 24, 2020); Interview of Angelo Proietti, Food Services Supervisor I (May
26, 2020).
  Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020); see also Interview of Mark
133

Yankopoulos, Legal Counsel (April 16, 2020).
134   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
135   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020).
136   See, e.g., Interview of Brandy Gridley, Food Service Supervisor II (April 29, 2020).
137   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
138   Interview of Roberta Twining, Family Member (April 13, 2020).


                                                         142
             Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 143 of 174




139   Interview of Laurie Beaudette, Family Member (May 12, 2020).
  Interview of Linda Lariviere, Registered Nurse III and MDS Coordinator (May 15, 2020); Interview of David
140

Laplante, Former Soldiers’ Home Deputy Superintendent (May 4, 2020).
141   Interview of Mark Bowman, President, National Association of State Veterans Homes (May 6, 2020).
142   Id.
143   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020).
144   Id..
145   State of the Commonwealth’s Soldiers’ Homes, p. 10 (October 2019) (GOV0083327).
146   Id.
147   Transition Memorandum from Cheryl Poppe to Bennett Walsh (GOV0010741).
  Department of Veteran Services Soldiers’ Home in Chelsea and Soldiers’ Home in Holyoke EMR Project
148

Update (February 2020) (REVPROB0028-00005707).
149Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020); Interview of John
Paradis, Former Soldiers’ Home Superintendent April 20, 2020.
150   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020).
151   Id.
152   Id.; Interview of Suzanne Quersher, Director of Labor Relations EOHHS (April 17, 2020).
153Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020); Interview of Cheryl Poppe,
Soldiers’ Home in Chelsea Superintendent (April 30, 2020).
154   State of the Commonwealth’s Soldiers’ Homes, p. 10 (October 2019) (GOV0083327).
155   Resource Allocation to State Veterans’ Homes in Massachusetts FY-14 (January 15, 2016).
156   Id.
157   Interview of Paul Barabani, Former Soldiers’ Home Superintendent (April 28, 2020).
158   Id.
159   Id.
160   Id.; Interview of John Paradis, Former Deputy Superintendent at the Soldiers’ Home (April 20, 2020).
161   Interview of Paul Barabani, Former Soldiers’ Home Superintendent (April 28, 2020).
162   Id.
163   Id.
164   Id.
165   Id.
166   Id.
167   Id.
168 See, e.g., “Gov. Baker Signs State Employee Early Retirement Plan,” (May 4, 2015), available at
https://www.wbur.org/news/2015/05/04/legislature-oks-state-employee-early-retirement-plan.
169Interview of Paul Barabani, Former Soldiers’ Home Superintendent (April 28, 2020); Interview of John
Paradis, Former Soldiers’ Home Deputy Superintendent (April 20, 2020).

                                                       143
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 144 of 174




170See, e.g., Interview of Terri Gustafson, Social Worker I (April 29, 2020); Interview of Ulises Suarez, Launderer
I (May 18, 2020.)
171   Interview of Paul Barabani, Former Soldiers’ Home Superintendent (April 28, 2020).
172   Id.
173   Interview of Francisco Urena, Secretary of Department of Veterans’ Services (May 28, 2020).
174   Interview of Paul Barabani, Former Soldiers’ Home Superintendent (April 28, 2020).
175   Id.
176   Id.
177   Interview of John Paradis, Former Deputy Superintendent at Soldiers’ Home in Holyoke (April 20, 2020).
  Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020); Transition
178

Memorandum from Cheryl Poppe to Bennett Walsh (GOV0010741).
179   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020.
180   Id.
181   Transition Memorandum from Cheryl Poppe to Bennett Walsh (GOV0010741).
182   Id.
183   Id.
184   Id.
185   Id.; Interview of Cheryl Poppe, Superintendent of Soldiers’ Home in Chelsea (April 30, 2020).
186Bennett Walsh Resume, available at https://www.linkedin.com/in/bennett-walsh-4a9a9087/(October 14,
2014); Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
187   Id.
188   Id.
189   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
190Interviewof Joseph Ramirez, Nursing Assistant I (April 8, 2020); see also Bennett Walsh sworn in as Holyoke
Soldiers'     Home          superintendent                (July       7,      2016),        available       at
https://www.masslive.com/politics/2016/07/bennett_walsh_sworn_in_as_holy.html (article regarding Mr.
Walsh’s swearing-in, noting that his mother is a Springfield city councilor).
191   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
192Boston Globe Advertisement (Jan. 31, 2016), available at
https://www.newspapers.com/newspage/444597482/
193   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
194   Id.
195   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
196   Id.
197   Interview of Marylou Sudders, Secretary of EOHSS (May 28, 2020).
198   Id.
199   Id.


                                                       144
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 145 of 174




200Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020); Interview
of John Crotty, Former Soldiers’ Home Deputy Superintendent (June 12, 2020).
201   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
202   Id.
203   Interview of Robyn Fowler, Registered Nurse IV (April 30, 2020).
204   Interview of Mark Yankopoulos, Legal Counsel (April 16, 2020).
205   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
206   See, e.g., Interview of Wendy Chevalier, Recreational Therapist II (April 20, 2020).
207See, e.g., Interview of Joseph Ramirez, Nursing Assistant I (April 8, 2020); Interview of Ulises Suarez,
Launderer I (May 18, 2020).
208   Interview of Wendy Chevalier, Recreational Therapist II (April 20, 2020).
209   Interview of Joseph Ramirez, Nursing Assistant I (April 8, 2020).
210   Id.
211   Interview of John Crotty, Former Soldiers’ Home Deputy Superintendent (June 12, 2020).
212   Id.
213   Id.
214   Id.
215 See, e.g., Interview of Ulises Suarez, Launderer I (May 18, 2020); Interview of Carmen Rivera, Nursing

Assistant I (April 8, 2020); Interview of Wendy Chevalier, Recreational Therapist II (April 20, 2020).
216   Interview of Celeste Surreira, Soldiers’ Home Assistant Director of Nursing (May 9, 2020).
217Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020); Interview of
Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020); Email from Paul Moran
to Secretary Urena and Anthony Preston (March 22, 2020 12:00 a.m. (EST)) (GOV0045633).
218Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020); Interview of
Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020); Email from Paul Moran
to Secretary Urena and Anthony Preston (March 22, 2020 12:00 a.m. (EST)) (GOV0045633).
219   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
220   Id.
221   Id.
222   Id.
223   Id.
224   Id.
225   Id.
226   Id.
227   Id.
228   Id.
229   Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).


                                                         145
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 146 of 174




230   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
231Coronavirus: State inspector general began investigation into Holyoke Soldiers’ Home weeks before residents were infected with
COVID-19 (April 22, 2020), available at https://www.masslive.com/news/2020/04/coronavirus-state-
inspector-general-began-investigation-into-holyoke-soldiers-home-weeks-before-residents-infected-with-
covid-19.html
232   Mass. Gen. Laws c. 6, § 70.
233   Mass. Gen. Laws c. 6, § 71.
234   Mass. Gen. Laws Ann. C. 115A, § 12.
235   Interview of Kevin Jourdain, Soldiers’ Home in Holyoke Board of Trustees Chairman (April 10, 2020).
236   Interview of Brian Corridan, Former Soldiers’ Home Board of Trustees Member (April 14, 2020).
237Soldiers’ Home Board of Trustees Meeting Minutes (March 10, 2020) (GOV0014389). Brian Corridan was
a member of the Board of Trustees until he received a letter on February 28, 2020, informing him that he would
not be reappointed to the Board of Trustees. Interview of Brian Corridan, Soldiers’ Home Trustee (April 14,
2020).
238   Interview of Brian Corridan, Former Soldiers’ Home Board of Trustees Member (April 14, 2020).
239   Soldiers’ Home Board of Trustees Meeting Minutes (February 17, 2016) (GOV0043756).
240   Interview of Kevin Jourdain, Soldiers’ Home in Holyoke Board of Trustees Chairman (April 10, 2020).
241   Id.
242   Id.
243   Id.
244   Interview of Charlie Baker, Governor of Massachusetts (May 19, 2020).
245   Interview of Francisco Urena, Secretary of Department of Veterans’ Services (May 28, 2020).
246   Interview of Brian Corridan, Former Soldiers’ Home Board of Trustees Member (April 14, 2020).
247See, e.g., Interview of Cindy Lacoste, Soldiers’ Home Board of Trustees Member (April 13, 2020); Interview
of Carmen Ostrander, Soldiers’ Home Board of Trustees Member (April 13, 2020).
248   Interview of Carmen Ostrander, Soldiers’ Home Board of Trustees Member (April 13, 2020).
249   Interview of Angelo Proietti, Food Service Supervisor I (May 26, 2020).
  See, e.g., Interview of Carrie Forrant, Social Worker I (April 27, 2020); Interview of Jill Orzechowski, Social
250

Worker I (April 27, 2020); Interview of Vanessa Gosselin, Soldiers’ Home Infection Control Nurse (April 16,
2020).
251   Interview of Vanessa Gosselin, Soldiers’ Home Infection Control Nurse (April 16, 2020).
252   Id.
253   Interview of Celeste Surreira, Soldiers’ Home Assistant Director of Nursing (April 17, 2020).
254   Id.
255   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
256   Id.
257   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
258   Id.

                                                              146
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 147 of 174




259   Interview of Lisa Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
260   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
261   Interview of John Crotty, Former Soldiers’ Home Deputy Superintendent (June 12, 2020).
262   Interview of Marylou Sudders, Secretary EOHSS (May, 28, 2020).
263Interview of Angelo Prioetti, Food Service Supervisor I (May 26, 2020); Interview of Sheila Serra, Dietician
III (May 18, 2020).
264   Interview of Joan Miller, Registered Nurse II (April 22, 2020).
265   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
266   Interview of David Laplante, Former Soldiers’ Home Deputy Superintendent (May 4, 2020).
267   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
268   Id.
269   Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
270   Id.
271   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
272   Id.
273   Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
274   Interview of David Laplante, Former Deputy Superintendent (May 4, 2020).
275   Interviews of David Laplante, Former Deputy Superintendent (May 4, 2020; June 4, 2020).
276   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
277   Interview of David Laplante, Former Deputy Superintendent (June 4, 2020).
278   Interview of Kwesi Ablordeppey, Nursing Assistant I (April 7, 2020).
279   Interview of Linda Lariviere, Registered Nurse III and MDS Coordinator (May 15, 2020)
280   Interview of Thomas Lingenberg, Building Maintenance Supervisor I (May 5, 2020)
281   Interview of Paul Barabani, Former Soldiers’ Home Superintendent (April 28, 2020).
282   Interview of Eileen Driscoll, Family Member (May 7, 2020).
283   Interview of Alex Morse, City of Holyoke Mayor (April 3, 2020).
284   Interview of Celeste Surreira, Soldiers’ Home Assistant Director of Nursing (April 17, 2020).
285   Interview of Emily Boronski, Registered Nurse II (May 21, 2020).
286   Interview of Laurie Beaudette, Family Member (May 6, 2020.)
287   VHA Directive 1145.01 (November 2, 2016).
288   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
289   2017 Soldiers’ Home VA Annual Survey, Completed January 31, 2020 (GOV0013644; GOV0013694).
290   Id.
291   Id.
292   Id.


                                                         147
             Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 148 of 174




293   Id.
294   2018 Soldiers’ Home VA Annual Survey, Completed March 22, 2018 (GOV0013716).
295   2019 Soldiers’ Home VA Annual Survey, Completed February 1, 2019 (GOV0013856).
296   Id.
297   2020 Soldiers’ Home VA Annual Survey, January 31, 2020 (GOV0013992, GOV0014039).
298   Id.
299   Id.
300 Email from Bennett Walsh to Francisco Urena et al. (March 4, 2020 10:29 AM (EST)) (REVPROB0028-

00010224).
301   Id.
302   Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 27, 2020).
303   Soldiers’ Home Board of Trustee Meeting Minutes, March 10, 2020 (GOV0014389).
304   See, e.g., Interview of Kevin Jourdain, Soldiers’ Home Board of Trustees Chairman (April 10, 2020).
305Interview of Paul Barabani, Former Soldiers’ Home Superintendent (April 28, 2020); Interview of John
Paradis, Former Soldiers’ Home Deputy Superintendent (April 20, 2020).
306   Interview of Cheryl Malandrinos, Family Member (May 12, 2020).
307   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
308Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020); Interview of Celeste
Surreira, Soldiers’ Home Assistant Director of Nursing (April 17, 2020).
309   See, e.g., Interview of Cory Bombredi, SEIU Local 888 Internal Organizer(April 7, 2020).
310   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (April 30, 2020).
311 Interview of Nicole Rivers, Associate Director, Center for Public Management, Suffolk University (April 28,

2020); Overtime and Nursing Staff Assessment Report Prepared for the Soldiers’ Home in Holyoke by the
Moakley Center for Public Management (August 2019).
  Interview of Nicole Rivers, Associate Director, Center for Public Management, Suffolk University (April 28,
312

2020).
313   Id.
314   Id.
315   See 38 CFR 51.130 (providing for 2.50 HPPD).
  Overtime and Nursing Staff Assessment Report Prepared for the Soldiers’ Home in Holyoke by the Moakley
316

Center for Public Management (August 2019).
317 Interview of Nicole Rivers, Associate Director, Center for Public Management, Suffolk University (April 28,

2020).
318    Id.
319   Email from Bennett Walsh to Catherine Mick et al. (July 11, 2019 8:27 AM (EST)) (GOV0015477).
  Email from Catherine Mick to Catherine Starr and Marianne Dill (July 11, 2019 8:53 AM (EST))
320

(GOV0015477); Interview of Catherine Mick, EOHHS Undersecretary of Human Services (May 30, 2020).



                                                        148
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 149 of 174




321 See, e.g., Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020);

Interview of Nicole Rivers, Associate Director, Center for Public Management, Suffolk University (April 28,
2020).
322   Interview of Catherine Mick, EOHHS Undersecretary of Human Services (May 30, 2020).
323Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (June 8, 2020). Ms. Poppe recalled
that the permanent schedule was implemented in just a couple of months whereas Matthew Deacon, Agency
Counsel for the Soldiers’ Home in Chelsea, recalled that the implementation of the permanent schedule took
approximately six months.
  See, e.g., Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020); Interview of Francisco
324

Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
325   Email from Erica Crystal to Bennett Walsh et al. (February 27, 2020 1:39 (EST)) (GOV0083315).
326   Id.
  Interview of Kwesi Ablordeppey, Nursing Assistant I (April 7, 2020); Interview of Carmen Rivera, Nursing
327

Assistant I (April 8, 2020); Interview of Isaac Mass, Soldiers’ Home Board of Trustees Member (May 18, 2020).
328Man returning from Wuhan, China is first case of 2019 Novel Coronavirus confirmed in Massachusetts (February 1, 2020),
available   at     https://www.mass.gov/news/man-returning-from-wuhan-china-is-first-case-of-2019-novel-
coronavirus-confirmed-in
329Public Health Response to the Initiation and Spread of Pandemic COVID-19 in the United States, February 24–April 21,
2020,      CENTERS           FOR         DISEASE         CONTROL       AND       PREVENTION,            available    at
https://www.cdc.gov/mmwr/volumes/69/wr/mm6918e2.htm?s_cid=mm6918e2_w;
https://www.bostonglobe.com/2020/03/11/nation/how-biogen-leadership-conference-boston-spread-
coronavirus/
330Mark Arsenault et al., How the Biogen leadership conference in Boston spread the coronavirus, BOSTON GLOBE (March
10, 2020 8:52 PM (EST)), available at https://www.bostonglobe.com/2020/03/11/nation/how-biogen-
leadership-conference-boston-spread-coronavirus/
331Fact Sheet: Alcohol-Based Hand Rub in Long Term Care Facilities, MASSACHUSETTS DEPARTMENT OF PUBLIC
HEALTH (February 2020), available at https://www.mass.gov/doc/fact-sheet-alcohol-based-hand-rub-in-long-
term-care-facilities/download.
332   Id.
333 Healthcare Provider Checklist, CENTERS FOR DISEASE CONTROL AND PREVENTION, available at
https://www.cdc.gov/coronavirus/2019-ncov/hcp/hcp-personnel-checklist.html.
334   Id.
335COVID-19 Guidance for Nursing Homes and Rest Homes, available at https://www.mass.gov/doc/COVID-19-
guidance-nursing-home-and-rest-homes/download.
336   Id.
337Email from Leslie Darcy to Bennett Walsh, et al. (March 2, 2020 8:57 AM (EST)) (REVPROB0028-
00010509).
338   Id.
339 First Presumptive Positive Case of COVID-19 Identified by Massachusetts State Public Health Laboratory,
MASSACHUSETTS DEPARTMENT OF PUBLIC HEALTH (March 2, 2020), available at
https://www.mass.gov/news/first-presumptive-positive-case-of-covid-19-identified-by-massachusetts-state-
public-health.
340   Id.

                                                          149
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 150 of 174




341   Id.

342Governor Baker and State Health Officials Discuss Community Preparedness With Health Care, Infectious Disease Experts
and Front Line Leaders, MASSACHUSETTS DEPARTMENT OF PUBLIC HEALTH (March 4, 2020), available at
https://www.mass.gov/news/governor-baker-and-state-health-officials-discuss-community-preparedness-
with-health-care.
343   Id.
344   Id.
345   Id.
346Email from Dana Ohannessian to Vanessa Gosselin (March 4, 2020 5:43 PM (EST)) (REVPROB0028-
00009998).
347COVID-19 Response: Optimizing Use of Personal Protective Equipment (March 4, 2020)
(REVPROB0028-00000999).
348Email from Catherine Starr to Bennett Walsh, et al. (March 6, 2020 12:29 PM (EST)) (REVPROB0028-
00009875); Memorandum from Francis J. Doyle to Department of Public Health Public Health Hospitals
System (March 7, 2020) (REVPROB0028-00009876).
  Memorandum from Francis J. Doyle to Department of Public Health Public Health Hospitals System
349

(March 7, 2020) (REVPROB0028-00009876).
  Memorandum from Francis J. Doyle to Department of Public Health Public Health Hospitals System
350

(March 7, 2020) (REVPROB0028-00009876).
351Email from Catherine Starr to Bennett Walsh, et al. (March 6, 2020 12:29 PM (EST)) (REVPROB0028-
00009875).
352Email from Elvira Loncto to Bennett Walsh, Linda Lariviere, and Debra Foley March 6, 2020 (9:29 AM)
(EST)) (REVPROB0028-00005274).
353 VA Response to COVID-19: Guidance for VA Community Living Centers March 6, 2020 (REVPROB0028-

00005275).
354Executive Order No. 591: Declaration of a State of Emergency to Respond to COVID-19 (March 10, 2020), available
at      https://www.mass.gov/executive-orders/no-591-declaration-of-a-state-of-emergency-to-respond-to-
COVID-19.
355   Id.
356 VA announces safeguards to protect nursing home and spinal cord injury patients, VA (March 10, 2020), available at

https://www.va.gov/opa/pressrel/pressrelease.cfm?id=5400#:~:text=WASHINGTON%20%E2%80%93
%20While%20the%20Centers%20for,susceptible%20patient%20populations%3A%20nursing%20home.
357Order of the Commissioner of Public Health, Executive Office of Health and Human Services (March 11, 2020),
available at https://www.mass.gov/doc/order-of-the-commissioner-of-public-health-implementing-policies-
and-procedures-for-restricting/download.
358   Id.
359   Id.
360   Id.
361Long-Term Care (LTC) Respiratory Surveillance Line List, Centers for Disease Control and Prevention (March
12, 2020).



                                                         150
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 151 of 174




362 Guidance for Infection Control and Prevention of Coronavirus Disease 2019 (COVID-19) in Nursing Homes

(REVISED), Centers for Medicare and Medicaid Services (March 13, 2020), available at
https://www.cms.gov/files/document/qso-20-14-nh-revised.pdf.
363   Evaluating and Testing Persons for Coronavirus Disease 2019 (COVID-19), CMS (March 14, 2020).
364Email from Paul Moran to Bennett Walsh , Cheryl Poppe, et al. March 12, 2020 (2:28 PM
(EST))(REVPROB0028-00009195).
365 Email from Paul Moran to Bennett Walsh, Cheryl Poppe, et al. March 12, 2020 (2:28 PM
(EST))(REVPROB0028-00009195); Agency Based in-Home Caregivers & Workers COVID-19 Guidance
March 12, 2020 (REVPROB0028-00009196); Community Day Program COVID-19 Guidance March 12, 2020
(REVPROB0028-00009197); Non-Agency Based in-Home Caregivers (COVID-19) Guidance March 12, 2020
(REVPROB0028-00009198); Guidance Issued by Executive Office of Elder Affairs Secretary Elizabeth Chen
March 12, 2020 (REVPROB0028-00009199); March 12, 2020 Congregate Care Program COVID-19 Guidance
March 12, 2020 (REVPROB0028-00009200).
366Agency Based in-Home Caregivers & Workers COVID-19 Guidance (March 12, 2020) (REVPROB0028-
00009196); Community Day Program COVID-19 Guidance (March 12, 2020) (REVPROB0028-00009197);
Non-Agency Based in-Home Caregivers (COVID-19) Guidance (March 12, 2020) (REVPROB0028-
00009198); Guidance Issued by Executive Office of Elder Affairs Secretary Elizabeth Chen (March 12, 2020)
(REVPROB0028-00009199); Congregate Care Program COVID-19 Guidance (March 12, 2020)
(REVPROB0028-00009200).
367Agency Based in-Home Caregivers & Workers COVID-19 Guidance (March 12, 2020) (REVPROB0028-
00009196); Community Day Program COVID-19 Guidance (March 12, 2020) (REVPROB0028-00009197);
Congregate Care Program COVID-19 Guidance (March 12, 2020) (REVPROB0028-00009200).
368 Community Day Program COVID-19 Guidance (March 12, 2020) (REVPROB0028-00009197); Guidance

Issued by Executive Office of Elder Affairs Secretary Elizabeth Chen March 12, 2020 (REVPROB0028-
00009199); Congregate Care Program COVID-19 Guidance (March 12, 2020) (REVPROB0028-00009200).
369Guidance Issued by Executive Office of Elder Affairs Secretary Elizabeth Chen (March 12, 2020)
(REVPROB0028-00009199).
370   Congregate Care Program COVID-19 Guidance (March 12, 2020) (REVPROB0028-00009200).
371   Congregate Care Program COVID-19 Guidance (March 12, 2020) (REVPROB0028-00009200.).
372Email from Paul Moran to Bennet Walsh, et al. (March 12, 2020) 4:48 PM (EST)) (REVPROB0028-
00009152).
373Email from Paul Moran to Bennet Walsh, et al. (March 13, 2020 8:46 AM (EST)) (REVPROB0028-
00009117).
374 Email from Paul Moran to Bennet Walsh, et al. (March 13, 2020 8:46 AM (EST)) (REVPROB0028-
00009117).
  What Healthcare Personnel Should Know about Caring for Patients with Confirmed or Possible Coronavirus Disease 2019
375

(COVID-19), CDC March 12, 2020.
376   Id.
377   Id.
378   Id.
379  Policies and Procedures for Restricting Resident Visitors in Nursing Homes and Rest Homes and Personal Protective
Equipment Recommendation Updates during the COVID-19 Outbreak, MASSACHUSETTS DEPARTMENT OF PUBLIC
HEALTH (March 16, 2020), available at https://www.mass.gov/doc/policies-and-procedures-for-restricting-
resident-visitors-in-nursing-homes-and-rest-homes-and/download.

                                                        151
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 152 of 174




380   Id.
381 Order of the Commissioner of Public Health Implementing Emergency Credentialing and Licensed Staff Transfer Procedures
for Medical Facilities in the Commonwealth, MASSACHUSETTS DEPARTMENT OF PUBLIC HEALTH (March 17, 2020),
available       at        https://www.mass.gov/doc/order-of-the-commissioner-of-public-health-implementing-
emergency-credentialing-and-licensed/download.
382Coronavirus Disease 2019: Eye Protection, CENTERS FOR DISEASE CONTROL AND PREVENTION, available at
https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/eye-protection.html; Coronavirus Disease
2019- Facemasks, CENTERS FOR DISEASE CONTROL AND PREVENTION, available at
https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/face-masks.html; Coronavirus Disease
2019:    Gowns,       CENTERS FOR DISEASE CONTROL AND PREVENTION,                      available   at
https://www.cdc.gov/coronavirus/2019-ncov/hcp/ppe-strategy/isolation-gowns.html.
383Steps Healthcare Facilities Can Take Now to Prepare for Coronavirus Disease 2019 (COVID-19), CENTERS FOR
DISEASE CONTROL AND PREVENTION (March 17, 2020), available at https://www.cdc.gov/coronavirus/2019-
ncov/hcp/steps-to-prepare.html.
384Guidance on Optimization of PPE in the Commonwealth of Massachusetts, MASSACHUSETTS DEPARTMENT OF
PUBLIC HEALTH (March 22, 2020), available at https://www.mass.gov/doc/guidance-for-prioritization-of-
personal-protective-equipment-ppe-in-massachusetts/download
385   Id.
386Guidance for PPE Optimization, available at https://www.mass.gov/doc/ma-COVID-19-ppe-request-process-
chart/download.
  COVID-19 Personal Protective Equipment (PPE) for Healthcare Personnel, CENTERS FOR DISEASE CONTROL AND
387

PREVENTION (March 23, 2020).
388   Use Personal Protective Equipment (PPE) When Caring for Patients with Confirmed or Suspected COVID-19, CENTERS
FOR DISEASE CONTROL AND PREVENTION                (March 30, 2019).
389Preparing for COVID-19: Long-term Care Facilities, Nursing Homes, CENTERS FOR DISEASE CONTROL AND
PREVENTION (April 5, 2020); Interim Infection Prevention and Control Recommendations for patients with Suspected or
Confirmed Coronavirus Disease 2019 (COVID-19) in Healthcare Settings, CDC (April 5, 2020).
390Email from Courtney Cottle to Alan Munro, Robert Byrne, Barry Smith, Barry Izenstein, Celeste Surreira,
Dr. David Clinton (February 12, 2020 9:38 AM (EST)) (GOV0028811); Email from Bennett Walsh to all
Soldiers’ Home staff (March 15, 2020 10:28 AM (EST)) (REVPROB0028-00008967).
391   Email from Courtney Cottle to Celeste Surreira, et al. (February 12, 2020 (9:38 AM (EST)) (GOV0028811).
392 Meeting Invitation from Vanessa Gosselin to Celeste Surreira et al. regarding the flu outbreak follow up

(February 12, 2020 (12:00 PM (EST)) (GOV0025491).
393Email from Nancy Shimel, sent on behalf of Bennett Walsh, to all Soldiers’ Home staff (February 13, 2020
10:20 AM (EST)) (REVPROB0028-00011935).
394   Id.
  Soldiers’ Home in Holyoke February 13, 2020 Monthly Medical Staff Meeting Minutes (February 13, 2020)
395

(GOV0014451).
396   Interview of Dr. David Clinton, Soldiers’ Home Medical Director (April 21, 2020).
397 Email from Vanessa Gosselin (March 3, 2020 11:29 a.m. (EST)) (REVPROB0028-00002356); Sign printed

by Vanessa Gosselin (REVPROB0028-00002358).
398 Interview of Brandy Gridley, Food Service Supervisor II (April 29, 2020); Email from Vanessa Gosselin to
all Soldiers’ Home staff (March 4, 2020 12:55 PM (EST)) (REVPROB0028-00001005).

                                                          152
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 153 of 174




399 Interview of Brandy Gridley, Food Service Supervisor II (April 29, 2020); Email from Vanessa Gosselin to
all Soldiers’ Home staff (March 4, 2020 12:55 PM (EST)) (REVPROB0028-00001005).
400Email from Vanessa Gosselin to Sandra Marino, Anne Taft, Emily Moriarty, Paul Brown, Joseph Grab,
Jodie Alaimo, Robyn Fowler, Kelly Hansen, and Vanessa Lauziere (March 5, 2020 2:38 PM (EST))
(REVPROB0028-00005311).
401   Id.
402 Interview of Brandy Gridley, Food Service Supervisor II (April 29, 2020); Interview of Vanessa Lauziere,

Soldiers’ Home Chief Nursing Officer (May 14, 2020).
403Email from Vanessa Gosselin to Joseph Grab, Paul Brown, Darcy Barry, Emily Moriarty, Kelly Hansen,
Leonor Rodriguez, Jodie Alaimo, Sandra Marino, Anne Taft, and Vanessa Lauziere (March 6, 2020 3:27 PM
(EST)) (REVPROB0028-00000962).
404Email from Paul Moran to Anthony Preston, Evan Makrinikolas, Claire Makrinikolas, David Moore, Susan
Nagy, Susan McDonough, Maureen Hagerty, Cheryl Poppe, Bennett Walsh, Richard Bastien, Daniel Brennan,
Secretary Urena, Stuart Ivimey (March 6, 2020 12:25 PM (EST)) (REVPROB0028-00009780).
405   Email from Paul Moran to Bennett Walsh (March 7, 2020 9:48 AM (EST)) (REVPROB0028-00009780).
406   Email from Bennett Walsh to Paul Moran (March 7, 2020 10:27 AM (EST)) (REVPROB0028-00009780).
407   Interview of Dr. David Clinton, Soldiers’ Home Medical Director (April 21, 2020).
408 Email from Secretary Urena to Cheryl Poppe, Bennett Walsh, Paul Moran, Stuart Ivimey, Anthony Preston,

Debra Foley, and Vanessa Lauziere (March 10, 2020 7:44 PM (EST)) (REVPROB0028-00005176).
409   Id.
410Email from Bennett Walsh to Secretary Urena, Cheryl Poppe, Bennett Walsh, Paul Moran, Stuart Ivimey,
Anthony Preston, Debra Foley, and Vanessa Lauziere (March 11, 2020 8:24 AM (EST)) (REVPROB0028-
00005176).
411   March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting Minutes (GOV0014389).
412   Id.
413   Id.
414   Id.
415   March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting Minutes (GOV0014389).
416   March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting PowerPoint (GOV0014348).
417March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting Minutes (GOV0014389); Interview
of Isaac Mass, Board of Trustees Member (May 18, 2020).
418   March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting PowerPoint (GOV0014348).
419   Id.
420   Interview of Kevin Jourdain, Soldiers’ Home Board of Trustees Chairman (April 10, 2020).
421   March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting PowerPoint (GOV0014348).
422Id.; Interview of Isaac Mass, Soldiers’ Home Board of Trustees Member (May 18, 2020); Interview of Kevin
Jourdain, Soldiers’ Home Board of Trustees Chairman (April 10, 2020).
423   Interview of Isaac Mass, Soldiers’ Home Board of Trustees Member (May 18, 2020).
424   Interview of Cesar Lopez, Soldiers’ Home Board of Trustees Member (May 10, 2020).


                                                       153
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 154 of 174




425   March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting Minutes (GOV0014389).
426   Id.
427   Interview of Isaac Mass, Soldiers’ Home Board of Trustees Member (May 18, 2020).
428   March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting Minutes (GOV0014389).
429   Id.
430   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
431   March 10, 2020 Soldiers’ Home in Holyoke Board of Trustees Meeting Minutes (GOV0014389).
432   Id.
433   Id.
434   Interview of Kevin Jourdain, B Soldiers’ Home Board of Trustees Chairman (April 9, 2020).
435   Id.
436   Interview of Cindy Lacoste, Soldiers’ Home Board of Trustees Member (April 13, 2020).
437   Interview of Kevin Jourdain, Soldiers’ Home Board of Trustees Chairman (April 9, 2020).
438 Email from Vanessa Lauziere to the Soldiers’ Home staff (March 11, 2020 5:13 PM (EST)) (REVPROB0028-

00009301).
  Attachment to email from Vanessa Lauziere to the Soldiers’ Home staff (March 11, 2020 5:13 PM (EST))
439

(REVPROB0028-00009302).
440   Id.
  Interview of Patti Foley, Training Program Coordinator I (May 27, 2020); Interview of Erika Scoble,
441

Administrative Secretary I (May 29, 2020).
442   Interview of Erika Scoble, Administrative Secretary I (May 29, 2020).
443 Attachment to email from Vanessa Lauziere to the Soldiers’ Home staff (March 11, 2020 5:13 PM (EST))

(REVPROB0028-00009302).
444   Id.
445   Id.; Interview of Margaret Feyre, Recreation Program Coordinator III (April 24, 2020).
  Attachment to email from Vanessa Lauziere to the Soldiers’ Home staff (March 11, 2020 5:13 PM (EST))
446

(REVPROB0028-00009302).
447Email from Vanessa Lauziere to the Soldiers’ Home staff (March 12, 2020 10:07 AM (EST))
(REVPROB0028-00009255); Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14,
2020).
448   Interview of Karl Bartscht, BRG (June 18, 2020).
449 Email from Vanessa Lauziere to the Soldiers’ Home staff (March 12, 2020 10:07 AM (EST))

(REVPROB0028-00009255).
450   Id.
451Email from Debra Foley to the Soldiers’ Home staff (March 13, 2020 2:02 PM (EST)) (REVPROB0028-
00016167).
452   Interview of Sheila Serra, Dietician III (May 18, 2020).



                                                         154
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 155 of 174




453 Email from Vanessa Lauziere to Bennett Walsh, Debra Foley, Robert Malikin, Margaret Feyre, Norman

Gousy, Mark Yankopoulos, Jeremiah Laplante, Brandy Gridley, Robert Fox, Darcy Barry, Emily Moriarty, Kelly
Hansen, Celeste Surreira, Dr. David Clinton, Anne Taft, Angelo Proietti, Vanessa Gosselin, Linda Betley, Linda
Lariviere, Sandra Marino, Jillian Orzechowski, Sharon Lange, Carrie Forrant, Jane Sevigne, Jessica Powers
(March 13, 2020 8:31 PM (EST)) (REVPROB0028-00008999).
454 Email from Bennett Walsh to Secretary Fransciso Urena, Paul Moran, Anthony Preston, Debra Foley,

Vanessa Lauziere, Cheryl Poppe (March 12, 2020 at 2:19 PM (EST)) (REVPROB0028-00009202).
455Interview of Dr. David Clinton, Soldiers’ Home Medical Director (April 21, 2020); ); Interview of Vanessa
Gosselin, Soldiers’ Home Infection Control Nurse (April 16, 2020); Email from Paul Moran to Secretary Urena,
Bennett Walsh, Cheryl Poppe (March 13, 2020 at 5:43 PM (EST)) (REVPROB0028-00009004) (noting that
CMS is directing that all nursing homes nationwide cease visitations to those facilities); CMS Guidance for
Infection Control and Prevention of Coronavirus Disease 2019 (COVID-19) in Nursing Homes (Revised), Ref.
QSO-20-14-NH (March 13, 2020) (REVPROB0028-00005087).
456Interview of Cory Bombredi, SEIU Local 888 Internal Organizer (April 7, 2020) (noting that he received
notification that the Soldiers’ Home had cancelled visitation within the Home); Interview of Jackie Digris,
Registered Nurse II (April 29, 2020); Interview of Eileen Driscoll, Family Member (May 7, 2020); Interview of
Susan Kenney, Family Member (May 4, 2020); Interview of Cheryl Turgeon, Family Member (April 9, 2020);
Interview of Roberta Twining, Family Member (April 13, 2020).
457Email from Bennett Walsh to the Soldiers’ Home staff (March 15, 2020 at 10:24 AM (EST))
(REVPROB0028-00008968).
458   Id.
459Email from Bennett Walsh to the Soldiers’ Home staff (March 15, 2020 at 10:28 AM (EST))
(REVPROB0028-00008967).
460   Id.
461   March 15, 2020 24-Hour Nursing Report (GOV0010805).
462   Id.
  March 15, 2020 24-Hour Nursing Report (GOV0010805); March 16, 2020 24-Hour Nursing Report,
463

(GOV0010831); March 17, 2020 24-Hour Nursing Report (GOV0010835).
464   Soldiers’ Home Morgue Census (April 23, 2020) (REVPROB0028-00016168).
465   Email from John Langan (March 15, 2020 at 8:29 PM (EST)) (REVPROB0028-00008958).
466 Email and Attachment from Nancy Shimel to Bennett Walsh, Debra Foley, Jeremiah Laplante, Mark
Yankopoulos, Norman Gousy, Vanessa Lauziere, Dr. David Clinton, Vanessa Gosselin, Kari Redinger, Linda
Betley, Jennifer DeWitt, Marie Flynn, Robert Fox, John Fydenkevez, Angelo Proietti, Robert Malikin, Patricia
Foley, Jeremy Meade, Jillian Orzechowski, Jessica Powers, Carolyn Rogers, Stephen Pultorak, Celeste Surreira,
Mark Yankopoulos (March 16, 2020 at 12:15 PM (EST)) (REVPROB0028-00008920); REVPROB0028-
00008921); Email from Nancy Shimel on behalf of Bennett Walsh to the Soldiers’ Home staff (March 17, 2020
at 3:52 PM (EST)) (REVPROB0028-00008686).
467Email and Attachment from Nancy Shimel to Bennett Walsh, Debra Foley, Jeremiah Laplante, Mark
Yankopoulos, Norman Gousy, Vanessa Lauziere, Dr. David Clinton, Vanessa Gosselin, Kari Redinger, Linda
Betley, Jennifer DeWitt, Marie Flynn, Robert Fox, John Fydenkevez, Angelo Proietti, Robert Malikin, Patricia
Foley, Jeremy Meade, Jillian Orzechowski, Jessica Powers, Carolyn Rogers, Stephen Pultorak, Celeste Surreira,
Mark Yankopoulos (March 16, 2020 at 12:15 PM (EST)) (REVPROB0028-00008920).
  Email from Nancy Shimel on behalf of Bennett Walsh to the Soldiers’ Home staff (March 17, 2020 at 3:52
468

PM (EST)) (REVPROB0028-00008686); Interview of Sheila Serra, Dietician III (May 18, 2020); Interview of
Vanessa Gosselin, Soldiers’ Home Infection Control Nurse (April 16, 2020).

                                                     155
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 156 of 174




469   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
470   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (June 8, 2020).
  Email from Nancy Shimel on behalf of Bennett Walsh to the Soldiers’ Home staff (March 17, 2020 at 3:52
471

PM (EST)) (REVPROB0028-00008686).
472Interview of Kristin Weber, Recreational Therapist I (April 30, 2020); Interview of Margaret Feyre,
Recreation Program Coordinator III (April 24, 2020).
473   Interview of Eileen Driscoll, Family Member (May 7, 2020).
474   Interview of Margaret Feyre, Recreation Program Coordinator III (April 24, 2020).
  Email and Attachment from Vanessa Lauziere to the Soldiers’ Home staff (March 11, 2020 5:13 PM (EST))
475

(REVPROB0028-00009301; REVPROB0028-00009302).
476Email from Nancy Shimel – on behalf of Bennett Walsh - to the Soldiers’ Home staff (March 16, 2020 at
3:24 PM (EST)) (REVPROB0028-00008875).
477   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
478   Interview of Sheila Serra, Dietician III (May 18, 2020).
479 Email from Bennett Walsh to the Soldiers’ Home staff (March 15, 2020 at 10:24 AM (EST))
(REBPROB0028-00008968) (noting that this policy was implemented “in coordination with the CDC and DPH
as a preventative measure”); Email from Camilla Madziar (March 15, 2020) (REVPROB0028-00016167)
(noting that a sign was placed on the dining room doors and that the sign should be updated or revised once a
decision is made regarding staff.). Brandy Gridley reported that the dining room had actually closed the day
before on March 14. Interview of Brandy Gridley, Food Service Supervisor II (April 29, 2020).
480Email and Attachment from Nancy Shimel to Bennett Walsh, Debra Foley, Jeremiah Laplante, Mark
Yankopoulos, Norman Gousy, Vanessa Lauziere, Dr. David Clinton, Vanessa Gosselin, Kari Redinger, Linda
Betley, Jennifer DeWitt, Marie Flynn, Robert Fox, John Fydenkevez, Angelo Proietti, Robert Malikin, Patricia
Foley, Jeremy Meade, Jillian Orzechowski, Jessica Powers, Carolyn Rogers, Stephen Pultorak, Celeste Surreira,
Mark Yankopoulos (March 16, 2020 at 12:15 PM (EST)) (REVPROB0028-00008920).
  Email from Nancy Shimel on behalf of Bennett Walsh to the Soldiers’ Home staff (March 17, 2020 at 3:52
481

PM (EST)) (REVPROB0028-00008686) (encouraging staff to be “mindful of supplies”).
482 Email and Attachment from Vanessa Lauziere to the Soldiers’ Home staff (March 11, 2020 5:13 PM (EST))

(REVPROB0028-00009301); Interview of Brandy Gridley, Food Service Supervisor II (April 29, 2020).
  Interview of Robyn Fowler, Registered Nurse IV (April 30, 2020); Interview of Joseph Ramirez, Nursing
483

Assistant I (April 8, 2020); Interview of Thalia Rivers, Nursing Assistant I (April 21, 2020).
  Email from Catherine Starr to Bennett Walsh et al. (March 11, 2020 at 11:26 AM (EST)) (REVPROB0028-
484

00009371).
485Email from Paul Moran to Bennett Walsh et al. (March 12, 2020 at 2:28 PM (EST)) (REVPROB0028-
00009195); Attachment to email from Paul Moran to Bennett Walsh et al. (March 12, 2020) (REVPROB0028-
00009199).
486Email from Kwesi Ablordeppey to Vanessa Lauziere, Bennett Walsh, and Vanessa Gosselin (March 13, 2020
at 1:53 AM (EST)) (REVPROB0028-00002861); Interview of Emily Boronski, Registered Nurse II (May 21,
2020); Interview of Caitlin Clark, Licensed Practical Nurse II (May 28, 2020); Interview of Patti Foley, Training
Program Coordinator I (May 27, 2020); Interview of Sherri Gentile, Nursing Assistant I (April 22, 2020);
Interview of Vanessa Gosselin, Infection Prevention/ Clinical Nursing Coordinator (April 16, 2020).; Interview
of Theresa King. Licensed Practical Nurse (April 9, 20200); Interview of Vanessa Lauziere, Soldiers’ Home
Chief Nursing Officer (May 14, 2020).


                                                         156
           Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 157 of 174




487 Interview of Colleen Bartlett, Licensed Practical Nurse II (April 23, 2020); Interview of Patricia Sullivan,

Nursing Assistant I (April 21, 2020).
488Interview of Emily Boronski, Registered Nurse II (April 21, 2020); see also Interview of Celeste Surreira,
Soldiers’ Home Assistant Director of Nursing (April 17, 2020) (noting that because the PPE was not being
stored on the units and staff had to ask a supervisor for it, there may have been a perception that there was a
PPE shortage).
489Interview of Carmen Rivera, Nursing Assistant I (April 8, 2020); Interview of Doris Santana, Nursing
Assistant I (April 23, 2020).
  Email from Nancy Shimel on behalf of Bennett Walsh to the Soldiers’ Home staff (March 17, 2020 at 3:52
490

PM (EST)) (REVPROB0028-00008686).
491   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (June 8, 2020).
  Interview of Robyn Fowler, Registered Nurse IV (April 30, 2020); Interview of Joseph Ramirez, Nursing
492

Assistant I (April 8, 2020); Interview of Thalia Rivers, Nursing Assistant I (April 21, 2020).
493Interview of Carrie Forrant, Social Worker I (April 27, 2020); Interview of Jackie Digris, Registered Nurse
II (April 29, 2020); Interview of Patti Foley, Training Program Coordinator I (May 27, 2020); Interview of
Robyn Fowler, Registered Nurse IV (April 30, 2020).
494Interview of Vanessa Gosselin, Soldiers’ Home Infection Control Nurse (April 16, 2020). Ms. Gosselin
reported that she did these oral trainings on each of the shifts. Id. Some staff, however, reported that they did
not receive any training prior to the first positive test.
495Interview of Caitlin Clark, Licensed Practical Nurse II (April 28, 2020); Interview of Brandy Gridley, Food
Service Supervisor (April 29, 2020).
496   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
497   Interview of Theresa King, Licensed Practical Nurse II (April 9, 2020).
498   Interview of Luis Rodriguez, Storekeeper II, Central Supply (April 20, 2020).
499Interview of Luis Rodriguez, Storekeeper II, Central Supply (April 20, 2020); Interview of Bennett Walsh,
Soldiers’ Home Superintendent (June 1, 2020).
500   Interview of Lynn Lacombe, Licensed Practical Nurse II (April 24, 2020).
501   Interview of Patti Foley, Training Program Coordinator (May 27, 2020).
502Interview of Lynn Lacombe, Licensed Practical Nurse II (April 24, 2020); Interview of Mary Bergeron,
Licensed Practical Nurse II (May 1, 2020) (noting that she never had time to look at her email); Interview of
Jackie Digris, Registered Nurse II (April 29, 2020).
503Interview of Lynn Lacombe, Licensed Practical Nurse II (April 24, 2020). Ms. Lacombe would only check
the veterans’ temperatures if they seemed sick.
504Interview of Jillian Orzechowski, Social Worker I (April 27, 2020); Interview of Michael & Susan
Regensburger, Family Members (May 7, 2020).
505   Interview of Jackie Digris, Registered Nurse II (April 29, 2020).
506Interview of Jackie Digris, Registered Nurse II (April 29, 2020); Email from Nancy Shimel on behalf of
Bennett Walsh to the Soldiers’ Home staff (March 17, 2020 at 3:52 PM (EST)) (REVPROB0028-00008686)
(encouraging staff to be “mindful of supplies”).
507   Interview of Jackie Digris, Registered Nurse II (April 29, 2020).
508   Id


                                                         157
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 158 of 174




509   Interview of Laurie Beaudette, Family Member (May 6, 2020).
510   Interview of Colleen Croteau, Family Member (April 16, 2020).
511   Id.
512   Id.
513   Interview of Eileen Driscoll, Family Member (May 7, 2020).
514   Id.
515   Interview of Susan Kenney, Family Member (May 4, 2020).
516   Id.
517   Id.
518   Id.

  Interview of Eileen Driscoll, Family Member (May 7, 2020); Interview of Michael & Susan Regensburger,
519

Family Members (May 7, 2020).
520   Interview of Susan Kenney, Family Member (May 4, 2020).
521 Email from Dana Ohannessian (DPH) to Vanessa Gosselin (March 11, 2020 at 3:55 PM (EST))

(REVPROB0028-00000570).
522   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
523   Id.
524Calendar Invite to Secretary Sudders, et al. (March 11, 2020 at 2:00 PM (EST)) (GOV0039341); Calendar
Invite to Bennett Walsh, Cheryl Poppe, et al. (March 11, 2020 at 10:08 AM (EST)) (REVPROB0028-00009376).
See also Email from Nancy Shimel on behalf of Bennett Walsh to the Soldiers’ Home staff (March 17, 2020 at
3:52 PM (EST)) (REVPROB0028-00008686).
525Interview of Celeste Surreira, Soldiers’ Home Assistant Director of Nursing (April 17, 2020) (noting that
there were Board of Health city meetings that Ms. Gosselin was likely attending).
526Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020); Secretary’s Week in Advance
03-14-2020 (March 6, 2020 at 5:09 PM (EST)) (GOV0040970) (noting that Mr. Walsh participated in the weekly
managers’ meeting hosted by Secretary Urena on March 9).
  Interview of Kwesi Ablordeppey, Nursing Assistant I (April 7, 2020); Interview of Cory Bombredi, SEIU
527

Local 888 Internal Organizer (April 7, 2020) (noting that the topic of the meeting was to launch the campaign,
“Protect Our Veterans, Stop Mandation.”).
528Email from Andrea Fox to Jeffrey Krok et al. (March 13, 2020 (9:42 AM (EST)) (REVPROB0028-
00009113); Email from Andrea Fox to Jeffrey Krok et al. (March 11, 2020 (10:09 AM (EST)) (REVPROB0028-
00005146)
529   Interview of Brenda Rodrigues, SEIU Local 888 President (April 6, 2020).
530   Interview of Denise Coughlin, Licensed Practical Nurse II (May 22, 2020).
531   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
532Email from Jeff Krok to Bennett Walsh, Vanessa Lauziere, David Tranghese, Jessica Powers, Mark
Yankopoulos (March 11, 2020 at 12:09 PM (EST)) (REVPROB0028-00009358) (passing along the MNA’s
request and attached a Q&A on COVID-19 preparedness).
533   Interview of Brenda Rodrigues, SEIU Local 888 President (April 6, 2020).


                                                       158
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 159 of 174




  Interview of Brenda Rodrigues, SEIU Local 888 President (April 6, 2020); Interview of Andrea Fox and
534

Roland Goff, Associate Director of the MNA Division of Labor Action and the Director of Strategic
Campaigns (April 15, 2020).
535 Email from Vanessa Lauziere to the Soldiers’ Home staff (March 11, 2020 5:13 PM (EST)) (REVPROB0028-

00009301) (attaching guidelines noting that the executive team would look into “room changes to allow for at
least 2 empty rooms in case of the need for isolation”).
536   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
537   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
538Interview of Thomas Lingenberg, Building Maintenance Supervisor II (May 5, 2020); Interview of Patricia
Sullivan, Nursing Assistant I (April 21, 2020).
539Interview of Emily Boronski, Registered Nurse II (May 21, 2020); Interview of Denise Coughlin, Licensed
Practical Nurse II (May 22, 2020); Interview of Robyn Fowler, Registered Nurse IV (April 30, 2020); Interview
of Vanessa Gosselin, Soldiers’ Home Infection Control Nurse (April 16, 2020).
540Interview of Denise Coughlin, Licensed Practical Nurse II (May 22, 2020); Email from Kelly Hansen to
Vanessa Lauziere, Bennett Walsh, Emily Moriarty, Robyn Fowler, Robert Malikin, Carolyn Rogers, Michele
Haymes, Kelley Rathman, Celeste Surreira (March 17, 2020 at 9:06 AM (EST)) (REVPROB0028-00005043);
Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
541 Interview of Denise Coughlin, Licensed Practical Nurse II (May 22, 2020) (noting that when asked why they

were emptying these rooms, Walsh said that they had to do it so that they could have a negative pressure room
in place in case there was a COVID-19 outbreak).
542Email from Kelly Hansen to Vanessa Lauziere, Bennett Walsh, Emily Moriarty, Robyn Fowler, Robert
Malikin, Carolyn Rogers, Michele Haymes, Kelley Rathman, Celeste Surreira (March 17, 2020 at 9:06 AM
(EST)) (REVPROB0028-00005043).
543Email from Kelly Hansen to Vanessa Lauziere, Bennett Walsh, Emily Moriarty, Robyn Fowler, Robert
Malikin, Carolyn Rogers, Michele Haymes, Kelley Rathman, Celeste Surreira (March 17, 2020 at 9:06 AM
(EST)) (REVPROB0028-00005043).
544March 20, 2020 9:00 AM (EST) Department Head COVID-19 Meeting Minutes (REVPROB0028-
00008243).
545Interview of Emily Boronski, Registered Nurse II (May 21, 2020); Interview of Denise Coughlin, Licensed
Practical Nurse II (May 22, 2020).
546   Interview of Vanessa Gosselin, Soldiers’ Home Infection Control Nurse (April 16, 2020).
547Considerations for the Public Health Response to COVID-19 in Nursing Homes, CENTERS FOR DISEASE CONTROL
AND     PREVENTION, available at https://www.cdc.gov/coronavirus/2019-ncov/hcp/nursing-homes-
responding.html (noting that facilities should dedicate health care providers to work only on COVID-19 care
units).
548   Interview of Vanessa Gosselin, Infection Prevention/ Clinical Nursing Coordinator (April 16, 2020).
549   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
550   Id.
551 Interview of Linda Lariviere, Registered Nurse III, MDS Coordinator (May 15, 2020). In her interview,
Lariviere noted that she thinks that Veteran 1’s illness was underestimated because of his history of respiratory
illnesses.
552Interview of Cindy Cormier, Licensed Practical Nurse II (May 5, 2020); Interview of Mary Bergeron,
Licensed Practical Nurse (May 1, 2020); Interview of Jillian Orzechowski, Social Worker I (April 27, 2020);

                                                       159
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 160 of 174




Interview of Lindsay Korsen, Nursing Assistant I (April 24, 2020); Interview of Carmen Rivera, Nursing
Assistant I (April 8, 2020).
553   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
554   Interview of Lindsay Korsen, Nursing Assistant I (April 24, 2020).
555Interview of Cindy Cormier, Licensed Practical Nurse II (May 5, 2020); Interview of Margaret Feyre,
Recreation Program Coordinator III (May 24, 2020); Interview of Doris Santana, Nursing Assistant I (April 23,
2020).
556   Interview of Thalia Rivers, Nursing Assistant I (April 21, 2020).
557   Id.
558   Id.
559   Id.
560 Interview of Cindy Cormier, Licensed Practical Nurse II (May 5, 2020); Interview of Lindsay Korsen,

Nursing Assistant I (April 24, 2020).
  Interview of Lindsay Korsen, Nursing Assistant I (April 24, 2020); Interview of Carmen Rivera, Nursing
561

Assistant I (April 8, 2020).
  Interview of Celeste Surreira, Soldiers’ Home Assistant Director of Nursing (April 17, 2020); Interview of
562

Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 15, 2020).
563 Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020). The critical incident
report notes that the test was conducted on March 16, however other information suggests that March 17 is
the more probable testing date. March 22, 2020 Critical Incident Report (REVPROB0028-00008095). Mr.
Walsh recalled that Ms. Surreira brought up Veteran 1’s symptoms at the morning huddle and he was tested
later that day. Ms. Lauziere notified Lindsay Korsen via voicemail that Veteran 1 would be tested for COVID-
19, but that he was low risk for the virus and likely did not have it.
564   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 3, 2020).
565   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
566   Id.
567   Interview of Bennett Walsh, Soldiers’ Home Superintendent (April 6, 2020).
568   Interview of Kwesi Ablordeppey, Nursing Assistant I (April 7, 2020).
569   Interview of Lindsay Korsen, Nursing Assistant I (April 24, 2020).
  Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020); Interview of Bennett
570

Walsh, Soldiers’ Home Superintendent (June 1, 2020).
571   Interview of Lindsay Korsen, Nursing Assistant I (April 24, 2020).
572   Interview of Cindy Cormier, Licensed Practical Nurse II (May 5, 2020).
573   Interview of Carmen Rivera, Nursing Assistant I (April 8, 2020).
574Interview of Cindy Cormier, Licensed Practical Nurse II (May 5, 2020); Interview of Eileen Gregersen,
Licensed Practical Nurse (April 24, 2020); Interview of Doris Santana, Nursing Assistant I (April 23, 2020);
Interview of Elisia Stafford, Nursing Assistant I (April 28, 2020); Interview of Anne Taft, Registered Nurse IV
(April 30, 2020). One aide reported that she was only allowed to wear a mask later in the day on March 17, after
Veteran 1 had been tested. Interview of Elisia Stafford, Nursing Assistant I (April 28, 2020).
575   Interview of Dr. Clinton, Soldiers’ Home Medical Director (April 21, 2020).


                                                         160
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 161 of 174




576   Id.
577   Id.
578   Id.
579   Interview of Bennett Walsh, Soldiers’ Home Superintendent, (June 1, 2020).
580   Interview of Emily Boronski, Registered Nurse II (May 21, 2020).
581   Interview of Denise Coughlin, Licensed Practical Nurse II (May 22, 2020).
582   Interview of Lindsay Korsen, Licensed Practical Nurse II (April 24, 2020).
583   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
584Interview of Lindsay Korsen, Licensed Practical Nurse II (April 24, 2020); Interview of Cindy Cormier,
Licensed Practical Nurse II (May 5, 2020).
585   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
586   Interview of Lindsay Korsen, Licensed Practical Nurse II (April 24, 2020).
587   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
588   Id.
589   Id.
590   Interview of Patricia Sullivan, Nursing Assistant I (April 21, 2020).
591   Interview of Ulises Suarez, Nursing Assistant I (May 18, 2020).
592   Id.
593   Interview of Emily Boronski, Nursing Assistant I (May 21, 2020).
594   Id.
595   Id.
596   Interview of Carrie Forrant, Social Worker (April 27, 2020).
597   Id.
598   Id.
599   Id.
  Interview of Terri Gustafson, Social Worker (April 29, 2020); Interview of Carrie Forrant, Social Worker
600

(April 27, 2020); Interview of Jill Orzachowski, Social Worker (April 27, 2020).
601   Interview of Carrie Forrant, Social Worker (April 27, 2020).
602   Id.
603   Id.
604   Id.
  Email from Cory Bombredi to Bennett Walsh et al. (March 17, 2020 (10:52 AM (EST)) (REVPROB0028-
605

00008736).
606   Email from Cory Bombredi to Bennett Walsh et al. (March 25, 2020 4:05 PM (EST)) (GOV0034916).
607   Email from Cory Bombredi to Bennett Walsh et al. (March 26, 2020 9:36 AM (EST)) (GOV0034908).
608   Id.

                                                          161
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 162 of 174




609   Id.
610   Id.
611Email from Cory Bombredi to Bennett Walsh et al. (March 28, 2020 5:36 PM (EST)) (REVPROB0028-
00015961).
  Email from Cory Bombredi to Suzanne Quersher et al. (March 23, 2020 3:20 PM (EST)) (REVPROB0028-
612

00015942); Interview of Cory Bombredi, SEIU Local 888 Internal Organizer (April 7, 2020); Interview of
Kwesi Ablordeppey, Nursing Assistant (April 7, 2020).
613   Interview of Brenda Rodrigues, SEIU Local 888 President (April 6, 2020).
  Interview of Brenda Rodrigues, SEIU Local 888 President (April 6, 2020); Interview of Kwesi Ablordeppey,
614

Nursing Assistant I (April 7, 2020).
615 Email from Cory Bombredi to Brenda Rodrigues et al. (March 30 8:48 AM (EST)) (REVPROB0028-

00015958).
616   Interview of Kwesi Ablordeppey, Nursing Assistant I (April 7, 2020).
617   Interview of Carrie Forrant, Social Worker (April 27, 2020).
  Interview of Robyn Fowler, Registered Nurse IV (April 30, 2020); Email and attachment from Vanesa
618

Gosselin to all Soldiers’ Home Staff (March 23 4:13 PM (EST)) (GOV0076083).
619   Interview of Cheryl Poppe, Soldiers’ Home in Chelsea Superintendent (June 8, 2020).
620 Email from Vanessa Gosselin to Bennett Walsh, Vanessa Lauziere, and Dr. David Clinton (March 25, 2020

12:16 PM (EST)) (REVPROB0028-00007727).
621   Id.
622   Id.
623 Email from Kwesi Ablordeppey to Bennett Walsh et al. (March 24, 2020 8:29 PM (EST)) (REVPROB0028-

00007765).
624   Id.
625   Id.
626Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020); Interview of Cory
Bombredi, SEIU Local 888 Internal Organizer (April 7, 2020); Interview of Jeffrey Krok, EOHHS Labor
Relations Specialist (Springfield Office) (April 16, 2020); Staffing Assignment Sheet for the Third Shift of
March 18, 2020 (GOV0012604).
627   Interview of Vanessa Gosselin, RN, Infection Prevention/Clinical Nursing Coordinator (April 16, 2020).
  Email from Kwesi Ablordeppey to Bennett Walsh et al. (March 24, 2020 8:29 PM (EST)) (REVPROB0028-
628

00007765).
629 Email from Kwesi Ablordeppey to Bennett Walsh et al. (March 24, 2020 8:29 PM (EST)) (REVPROB0028-

00007765).
630 Memorandum from Vanessa Lauziere to Kwesi Ablordeppey (March 20, 2020) (REVPROB0028-00015801).

  Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020); Interview of Kwesi
631

Ablordeppey, Nursing Assistant I (April 7, 2020).
  Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020); Interview of Kwesi
632

Ablordeppey, Nursing Assistant I (April 7, 2020).



                                                        162
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 163 of 174




  Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020); Interview of Kwesi
633

Ablordeppey, Nursing Assistant I (April 7, 2020).
634   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
635   Interview of Kwesi Ablordeppey, Nursing Assistant I (April 7, 2020).
636   Id.
  Email from Kwesi Ablordeppey to Bennett Walsh et al. (March 24, 2020 8:29 PM (EST)) (REVPROB0028-
637

00007765).
  Email from Vanessa Lauziere to Bennett Walsh et al. (March 27, 2020 7:32 PM (EST)) (REVPROB0028-
638

00007306).
639   Soldiers’ Home Morgue Census (April 23, 2020) (REVPROB0028-00016168).
640   Interview of Dr. David Clinton, Soldiers’ Home Medical Director (April 21, 2020).
641   Interview of Celeste Surreira, Assistant Director of Nursing (May 19, 2020).
642   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
643   Id.
644   Id.
645   Id.
646   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
  Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020); Interview of Carrie Forrant, Social
647

Worker (April 27, 2020).
648   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
649   Interview of Carrie Forrant, Social Worker (April 27, 2020).
650   Id.
651   Interview of Sandy Marino, Registered Nurse IV, Veteran Care Coordinator (May 6, 2020).
652   Interview of Ulises Suarez, Launderer I (May 18, 2020).
653   Id.
654   Id.
655   Id.
  Email from Vanessa Lauziere to Soldiers’ Home staff (March 27, 2020 7:10 PM (EST)) (REVPROB0028-
656

00007306).
657   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
658   Interview of Carrie Forrant, Social Worker (April 27, 2020).
659 Interview of Mary Bergeron, Registered Nurse (May 1, 2020).); Interview of Cindy Cormier, Licensed

Practical Nurse (May 5, 2020).
660   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
661   Id.
662   Id.
663   Id.

                                                        163
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 164 of 174




664   Interview of Terri Gustafson, Social Worker I (April 29, 2020).
665   Interview of Jill Orzechowski, Social Worker I (April 27, 2020).
666   Id.
667   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
668   Id.
669   24-Hour Nursing Report (March 20, 2020) (REVPROB0028-00002252).
670   Interview of Terri Gustafson, Social Worker I (April 29, 2020).
671 Interview of Emily Boronski, Registered Nurse II (May 21, 2020); Interview of Cindy Cormier, Licensed

Practical Nurse II (May 5, 2020); Interview of Carrie Forrant, Social Worker I (April 27, 2020); Interview of
Orzechowski, Social Worker I (April 27, 2020).
672   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
  Email from Maryellen Baker to Vanessa Gosselin, Bennett Walsh, Vanessa Lauziere, Celeste Surreiea, et al.
673

(March 29, 2020 9:19 AM (EST)) (REVPROB0028-00006811).
674   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
675   Id.
676   Interview of Carrie Forrant, Social Worker (April 27, 2020).
  Email from Cory Bombredi to Brenda Rodrigues et al. (March 30, 2020 8:33 AM (EST)) (REVPROB0028-
677

00015958).
678   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
679   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
 Interview of Cindy Cormier, Licensed Practical Nurse II (May 5, 2020); Interview of Terri Gustafson, Social
680

Worker I (April 29, 2020).
681   Interview of Terri Gustafson, Social Worker I (April 29, 2020).
682   Id.
683   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
684   Soldiers’ Home Morgue Census (April 23, 2020) (REVPROB0028-00016168).
685   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
686   See, e.g., March 22, 2020 Critical Incident Report (GOV0010942).
687   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
688   Id.
  Email from Paul Moran to Cheryl Poppe and Bennett Walsh (March 25, 2020 1:48 PM (EST))
689

(GOV0080500).
690   EOHHS Confirmed COVID-19 Daily Case Tracker, March 24, 2020 (REVPROB0028-00007435).
691Email from Colleen Arons to Mark Yankopoulos (March 27, 2020 4:44 PM (EST)) (REVPROB0028-
00007347).
692Email from Secretary Urena to Cheryl Poppe and Bennett Walsh (March 29, 2020 10:38 AM (EST))
(REVPROB0028-00006800).
693   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).

                                                        164
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 165 of 174




694   Email from Bennett Walsh to Secretary Urena et al. (March 21, 2020 10:54 PM (EST)) (GOV0045632).
  Interview of Joyce Cohen, Department of Public Health Epidemiologist and Influenza Coordinator (May 8,
695

2020).
696   Interview of Dr. David Clinton Interview, Soldiers’ Home Medical Director (April 21, 2020).
697   Email from Bennett Walsh to Secretary Urena et al. (March 21, 2020 10:54 PM (EST)) (GOV0045632).
  Email from Alda Rego to Secretary Urena and Daniel Tsai et al. (March 22, 2020 5:32 AM (EST))
698

(GOV0040939).
  Email from Daniel Tsai to Secretary Sudders and Leslie Darcy (March 22, 2020 9:31 AM (EST))
699

GOV0051381).
  Email from Bennett Walsh to Secretary Urena, Catherine Mick, Brooke Karanovich, Colleen Arons, and
700

Daniel Tsai et al. (March 22, 2020 9:54 AM (EST)) and March 22, 2020 Critical Incident Report Attachment
(REVPROB0028-00008094 and REVPROB0028-00008095).
701Email from Bennett Walsh to Paul Moran et al. (March 22, 2020 10:17 AM (EST)) (REVPROB0028-
00008109).
702   Email from Bennett Walsh to Secretary Urena et al. (March 22, 2020 11:17 AM (EST)) (GOV0048262).
703 Email from Linda Lariviere to Elvira Loncto (VA)(March 23, 2020 10:11 AM (EST)) (REVPPROB0028-

00008034).
704   Interview of Vanessa Gosselin, Soldiers’ Home Infection Control Nurse (April 16, 2020).
  Massachusetts Department of Public Health MAVEN database entries, March 24, 2020-May 3, 2020
705

(GOV0039324).
706Email from Lindsay Tucker to Secretary Urena (March 25, 2020 (11:09 AM (EST)) (REVPROB0028-
00007110).
707   Email from Lindsay Tucker to Bennett Walsh et al. (1:09 PM (EST)) (REVPROB0028-00007405).
  Interview of Joyce Cohen, Department of Public Health Epidemiologist and Influenza Coordinator (May 8,
708

2020).
709Email from Vanessa Gosselin to Bennett Walsh, Vanessa Lauziere, and Dr. David Clinton (March 25, 2020
12:16 PM (EST)) (REVPROB0028-00007727).
710   Text Message from Daniel Tsai to Secretary Sudders (March 25, 2020 2:21 PM (EST)) (GOV0051560).
711 Interview of Joyce Cohen, Department of Public Health Epidemiologist and Influenza Coordinator (May 8,

2020).
712Email from Bennett Walsh to Vanessa Lauziere and Celeste Surreira (March 25, 2020 4:34 PM (EST))
(REVPROB0028-00004892).
713   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
714 Email from Bennett Walsh to Vanessa Lauziere (March 26, 2020 11:11: AM (EST)) (REVPROB0028-

00006960)
715   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
  Email from Melissa Cumming to Vanessa Lauziere et al. (March 26, 2020 4:29 PM (EST))(REVPROB0028-
716

00016117).
717Text Messages between Bennett Walsh and Secretary Urena (March 27, 2020 9:45 AM (EST))
(GOV0051814).


                                                       165
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 166 of 174




718 Email from Deborah Schaier to Vanessa Gosselin (March 27, 2020 (10:23 AM (EST)) (REVPROB0028-

00000733).
719   Department of Public Health MAVEN Notes (GOV0039324).
720   Id.
721   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (June 5, 2020).
722   Email from Bennett Walsh to Secretary Urena (March 27, 2020 at 1:24 PM (EST)) (GOV0044938).
723   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
  Email from Vanessa Lauziere to Vanessa Gosselin, Jennifer DeWitt, Linda Betley, Sandra Marino, Robyn
724

Fowler, Tracy Clapp, Darcy Barry, Joseph Grab, Emily Moriarty, Kelly Hansen, Celeste Surreira, Erika Scoble,
Kimberly Szczur, Jodie Alaimo, Anne Taft, and Linda Lariviere (March 27, 2020 1:32 PM (EST))
(REVPROB0028-00000393) (Lauziere circulated dial-in number for “emergency staff meeting” for those who
were not present at the meeting).
725   Interview of Catherine Mick, EOHHS Undersecretary of Human Services (May 30, 2020).
726   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
727Email from Mark Yankopoulos to Colleen Arons (March 27, 2020 3:41 PM (EST)) (REVPROB0028-
00007440).
728Email from Mark Yankopoulos to Colleen Arons (March 27, 2020 4:42 PM (EST)) (REVPROB0028-
00007391).
729Email from Colleen Arons to Mark Yankopoulos (March 27, 2020 4:44 PM (EST)) (REVPROB0028-
00007356).
  Email from Bennett Walsh to Colleen Arons, Alda Rego, Catherine Starr, and Secretary Urena (March 27,
730

2020 4:11 PM (EST)) (GOV0044864).
  Email from Mark Yankopoulos to Colleen Arons and Bennett Walsh (March 27, 2020 5:25 PM (EST))
731

(REVPROB0028-00007347).
  Email from Vanessa Gosselin to Bennett Walsh, Vanessa Lauziere, Dr. David Clinton, Debra Foley, , Mark
732

Yankopoulos, and Celeste Surreira (March 27, 2020 6:30 PM (EST)) (REVPROB0028-00007331).
733   Department of Public Health MAVEN Notes (GOV0039324).
734Email from Deborah Schaier to Vanessa Gosselin (March 27, 2020 8:33 PM (EST)) (REVPROB0028-
00000723).
  Copies of Vanessa Gosselin’s COVID-19 Interview Tool for Confirmed Cases (GOV0083409;
735

GOV0083428; GOV0083447; GOV0083523).
736 Email from Deborah Schaier to Vanessa Gosselin (March 27, 2020 8:33 PM (EST)) (REVPROB0028-

00000723).
737   Id.
738Email from “smith smith” to Mayor Alex Morse (March 28, 2020 7:29 AM (EST)) (REVPROB0028-
00016033).
  Email from Amy Phillips (WWLP) to Anthony Preston and Bennett Walsh (March 28, 2020 9:26 AM (EST))
739

(REVPROB0028-00007236).
740Email from Mark Yankopoulos to Colleen Arons (March 28, 2020 1!:22 AM (EST)) (REVPROB0028-
00007220).


                                                       166
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 167 of 174




741Email from Mark Yankopoulos to Colleen Arons (March 28, 2020 11:39 AM (EST)) (REVPROB0028-
00007193).
  Email from Colleen Arons to Secretary Sudders and Daniel Tsai et al. (March 28, 2020 4:37 PM (EST))
742

(GOV0039498).
743Email from Paul Moran to Mark Yankopoulos (March 28, 2020 9:14 PM (EST)) (REVPROB0028-
00007092).
744   Email from Brenda Rodrigues to Secretary Sudders (March 28, 2020 8:11 PM (EST)) (GOV0049128).
745Interview of Brenda Rodrigues, President of SEIU Local 888 (April 6, 2020); Interview of Marylou Sudders,
Secretary of EOHHS (June 7, 2020).
746Email from Bennett Walsh to Secretary Urena (March 28, 2020 9:56 PM (EST)) (REVPROB0028-
00006817).
747Email from Secretary Urena to Bennett Walsh (March 28, 2020 10:01 PM (EST)) (REVPROB0028-
00007079).
748Email from Bennett Walsh to Secretary Urena (March 28, 2020 10:03 PM (EST)) (REVPROB0028-
00007079).
749   Text Message from Bennett Walsh to Secretary Urena (March 29, 2020 1:30 PM (EST)) (GOV0051814).
750   Interview of Emily Boronski, Registered Nurse II (May 21, 2020).
751   Interview of Caitlin Clark, Licensed Practical Nurse II (April 28, 2020)
752Email from Paul Moran to Bennett Walsh, Vanessa Lauziere, Dr. David Clinton, Jessica Powers, Debra
Foley, Mark Yankopoulos, Mohammad Dar, Secretary Urena, and Anthony Preston (March 29, 2020 12:39 PM
(EST)) (REVPROB0028-00006788).
753   Interview of Daniel Tsai, Acting Secretary of EOHHS (May 27, 2020).
754   Email from Mohammad Dar to Daniel Tsai, et al. (4:18 PM (EST)) (GOV0050903)
755 See, e.g. Interview of Daniel Tsai, Acting Secretary of EOHHS (May 27, 2020); Interview of Francisco Urena,

Secretary of the Department of Veterans’ Services (May 28, 2020).
756Email from Mark Yankopoulos to Colleen Arons (March 29, 2020 2:48 PM (EST)) (REVPROB0028-
00006779).
757   Id.
758   Interview of Stuart Ivimey, General Counsel for the Department of Veterans’ Services (June 4, 2020).
759   Id.
  Cancelled Calendar Invite and Message from Alda Rego to Secretary Urena, Catherine Mick, Daniel Tsai,
760

Bennett Walsh et al. (March 29, 2020) (REVPROB0028-00007058).
761   Email from Colleen Arons to Marylou Sudders et al. (March 29, 2020 3:36 PM (EST)) (GOV0040196).
762Email from Bennett Walsh to Soldiers’ Home Board of Trustees (March 29, 2020 4:19 PM (EST))
(REVPROB0028-00006874).
  Interview of Christopher Dupont, Soldiers’ Home Board of Trustee member (April 13, 2020); Email form
763

Nancy Shimel to Bennett Walsh and the Board of Trustees (March 30, 2020 3:55 PM (EST)) (REVPROB0028-
00006874) (noting that the call needed to be postponed until March 31, 2020).
764 Email from Mark Yankopoulos to Bennett Walsh (March 29, 2020 4:31 PM (EST)) (REVPROB0028-

00007032).


                                                         167
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 168 of 174




765   Interview of Alex Morse, Mayor of Holyoke (April 3, 2020).
766   Id.; Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
767   Interview of Alex Morse, Mayor of Holyoke (April 3, 2020).
768   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
769   Id.
770   Id.
771   Id.
772   Interview of Stuart Ivimey, General Counsel of the Department of Veterans’ Services (June 4, 2020).
773   See id.
774   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
775   Id.; Interview of Daniel Tsai, Acting Secretary of EOHHS (May 27, 2020).
776Interview of Stuart Ivimey, General Counsel of the Department of Veterans’ Services (June 4, 2020);
Interview of Paul Moran, Chief of Staff to Secretary of DVS (May 26, 2020); Interview of Daniel Tsai, Acting
Secretary of EOHHS (May 27, 2020); Interview of Francisco Urena, Secretary of the Department of Veterans’
Services (May 28, 2020); Interview of Catherine Mick, EOHHS Undersecretary of Human Services (May 30,
2020).
777   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
778   Id.
779   Id.
780   Interview of Karyn Polito, Lieutenant Governor of Massachusetts (May 21, 2020).
781   Interview of Alex Morse, Mayor of Holyoke (April 3, 2020).
782Text Messages Between Secretary Urena and Catherine Mick (March 29, 2020 8:42 PM (EST), 8:45 PM
(EST)) (GOV0051829).
783   Interview of Catherine Mick, EOHHS Undersecretary of Human Services (May 30, 2020).
784Interview of Charlie Baker, Governor of Massachusetts (May 19, 2020); Interview of Marylou Sudders,
Secretary of EOHHS (May 28, 2020).
785   Interview of Marylou Sudders, Secretary of EOHHS (May 28, 2020).
786   Text Messages between Bennett Walsh and Secretary Urena (March 29, 2020) (GOV0051814).
787   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
788   Text Messages between Daniel Tsai and Catherine Mick (March 29, 2020) (GOV0051560).
789   Interview of Charlie Baker, Governor of Massachusetts (May 19, 2020).
790   Interview of Marylou Sudders, Secretary of EOHHS (May 28, 2020).
  Calendar Invitation to Catherine Mick, Secretary Urena, Secretary Sudders, Colleen Arons, Catherine Starr,
791

Bennett Walsh, Vanessa Lauziere, and Daniel Tsai (March 29, 2020 9:30 PM (EST)) (GOV0039335).
792   Interview of Marylou Sudders, Secretary of EOHHS (May 28, 2020).
793   Id.
794   Interview of Catherine Mick, Undersecretary of Human Services, EOHHS (May 30, 2020).


                                                       168
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 169 of 174




795   Interview of Daniel Tsai, Acting Secretary of EOHHS (May 27, 2020).
796   Interview of Marylou Sudders, Secretary of EOHHS (May 28, 2020).
797Email from Mark Yankopoulos to Bennett Walsh (March 29, 2020 4:31 PM (EST)) (REVPROB0028-
00006776); Text Messages between Mark Yankopoulos and Bennett Walsh (March 29, 2020).
798   Text Message from Bennett Walsh to Secretary Francisco (March 29, 2020 10:28 PM (EST)) (GOV0051814).
799Email from Vanessa Lauziere to Secretary Urena and Bennett Walsh (March 30, 2020 4:04 AM (EST)) and
attached “COVID Master Census 2020” (REVPROB0028-00005988 & REVPROB0028-00005989).
800Email from Vanessa Lauziere to Secretary Urena and Bennett Walsh (March 30, 2020 4:31 AM (EST))
(REVPROB0028-00006756).
801   Text Message from Bennett Walsh to Secretary Urena (March 30, 2020 6:14 AM (EST)) (GOV0051814).
802   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
803   Id.
804   Text Message from Daniel Tsai to Secretary Sudders (March 30, 2020 7:13 AM (EST)) (GOV0051560).
805Email from Vanessa Lauziere to Secretary Urena and Bennett Walsh (March 30, 2020 7:19 AM (EST))
(REVPROB0028-00006753).
  Email from Secretary Urena to Daniel Tsai, Secretary Sudders, Catherine Mick, Catherine Starr, Colleen
806

Arons, Alda Rego, Paul Moran, Anthony Preston, and Stuart Ivimey (March 30, 2020 7:36 AM (EST))
(GOV0044697).
807   Email from Catherine Mick to Secretary Urena (March 30, 2020 7:46 AM (EST)) (GOV0044697).
  Email from Secretary Urena to Daniel Tsai, Secretary Sudders, Catherine Mick, Catherine Starr, Colleen
808

Arons, Alda Rego, Paul Moran, Anthony Preston, and Stuart Ivimey (March 30, 2020 7:51 AM (EST))
(GOV0044697).
809   Text Message from Daniel Tsai to Secretary Sudders (March 30, 2020 8:02 AM (EST)) (GOV0051560).
810   Text Messages between Daniel Tsai and Secretary Sudders (March 30, 2020 1:36 PM (EST)) (GOV0051560).
811Interview of Brenda Rodrigues, President of SEIU Local 888 (April 6, 2020); Interview of Marylou Sudders,
Secretary of EOHHS (May 28, 2020 & June 7, 2020).
812   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
813   Id.
814   Id.
815   Id.
816   Id.
817   Id.
818   Interview of Marylou Sudders, Secretary of EOHHS (May 28, 2020).
819   Id.
820   Interview of Daniel Tsai, Acting Secretary of EOHHS, (May 28, 2020).
821   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
822   Email from Sharon Torgerson to Secretary Sudders, et. al (March 31, 2020 10:13 AM (EST))(GOV0050789).
823   Infection Control Chart (GOV0039324).

                                                       169
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 170 of 174




824Interview of Colleen Bartlett, Licensed Practical Nurse II (April 23, 2020); Interview of Lisa Colombo,
Soldiers’ Home Incident Command Lead (April 13, 2020); Interview of Cindy Cormier, Licensed Practical
Nurse II (May 5, 2020); Interview of Joan Miller, Registered Nurse II (April 22, 2020); Interview of Eileen
Driscoll, family member (May 7, 2020).
825   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
826   Interview of Lisa Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
827   Interview of Valenda Liptak, Acting Superintendent (April 9, 2020).
828   Id.; Interview of Lisa Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
829   Interview of Valenda Liptak, Acting Superintendent (April 9, 2020).
830   Interview of Lisa Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
831   Id.
832   Id.
833   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
834   Id.
835 Interview of Melissa Cumming, Epidemiologist Bureau of Infectious Disease and Laboratory Sciences (May
8, 2020).
836   Interview of Lisa Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
837   Id.
838   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
839   Id.
840   Interview of Sandy Marino, Registered Nurse IV (May 6, 2020).
841   Id.
842   Id.
843   Veteran Medical Chart from the Soldiers’ Home (GOV0067423).
844   Id.
845   Google.com COVID-19 Alert, Coronavirus Disease, Total Cases.
846R. Weisman, R. Ostriker, “For the first time, state divulges death toll by nursing home, and more than 80 have 20 or more
COVID-19       deaths,”      THE         BOSTON            GLOBE,           May        27,      2020,       available     at
https://www.bostonglobe.com/2020/05/27/metro/first-time-state-divulges-death-toll-by-nursing-home-
more-than-80-have-20-or-more-covid-19-deaths/
847   Interview of Dr. David Clinton Interview, Soldiers’ Home Medical Director (April 21, 2020).
848   Interview of Celeste Surreira, Soldiers’ Home Assistant Director of Nursing (April 17, 2020).
849   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
850 Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020); Interview of Carrie Forrant, Social

Worker I (April 27, 2020).
851   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
852   Id.
853   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).

                                                           170
         Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 171 of 174




854Interview of Sandy Marino, Registered Nurse IV (May 6, 2020); Interview of Carrie Forrant, Social Worker
I (April 27, 2020).
855Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020); Interview of Dr. David Clinton,
Soldiers’ Home Medical Director (April 21, 2020).
856   Interview of Carrie Forrant, Social Worker I (April 27, 2020).
857 Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020). Ms. Liptak said she
observed some staff with gowns and no masks, some with only masks, and only some with gloves on. Ms.
Liptak’s initial assessment was that “there was no understanding of what the infection control guidelines were.”
Id.
858Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020); Interview of Vanessa Lauziere,
Soldiers’ Home Chief Nursing Officer (May 14, 2020).
859   COVID-19 Monitoring Spreadsheet (March, 2020) (GOV0001245).
860 “RE: Testing of Persons with Suspect COVID-19,” Massachusetts Department of Public Health, April 2,

2020.
861See e.g., Interview of Robyn Fowler, Registered Nurse IV (April 30, 2020); Interview of Jill Orzechowski,
Social Worker I (April 27, 2020); Interview of Denise Coughlin, Licensed Practical Nurse II (May 22, 2020).
862Email from Elvira Loncto to Bennett Walsh, Linda Lariviere, and Debra Foley (March 6, 2020 (EST))
(REVPROB0028-00005274).
  Email from Paul Moran to Anthony Preston, Cheryl Poppe, Bennett Walsh, Francisco Urena, Stuart Ivimey,
863

Evan Makrinikolas, Daniel Brennan, and Susan McDonough (March 12, 2020 (EST)) (REVPROB0028-
00009195).
864 “Policies and Procedures for Restricting Resident Visitors in Nursing Homes and Rest Homes and Personal

Protective Equipment Recommendation Updates during the COVID-19 Outbreak,” Massachusetts
Department of Public Health, March 16, 2020, available at https://www.mass.gov/doc/policies-and-
procedures-for-restricting-resident-visitors-in-nursing-homes-and-rest-homes-and/download.
865   Interview of Vanessa Lauziere, Soldiers’ Home Chief Nursing Officer (May 14, 2020).
866Interview of Rachel Gauthier, Recreational Therapist I (April 7, 2020); interview of Sheila Serra, Dietician
III (May 18, 2020).
867   Interview of Celeste Surreira, Soldiers’ Home Assistant Director of Nursing (April 17, 2020).
868Interview of Francisco Urena, Secretary of Veterans Services (June 5, 2020); Interview of Kwesi
Ablordeppey, Nursing Assistant (April 7, 2020).
869   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (June 5, 2020).
870 Interview of Lynn Lacombe, Licensed Practical Nurse II (April 8, 2020); Interview of Mary Bergeron,

Licensed Practical Nurse II (May 1, 2020).
871   24 Hour Nursing Report (March 21, 2020) (REVPROB0028-00002251).
872   Email from Bennett Walsh to Secretary Urena (March 21, 2020 10:54PM (EST)) (GOV0048298).
873   Critical Incident Report of Bennett W. Walsh, March 22, 2020 (REVPROB0028-00008095).
874Guidance for Infection Control and Prevention of Coronavirus Disease 2019 (COVID-19) in Nursing
Homes (REVISED), CENTER FOR CLINICAL STANDARDS AND QUALITY/QUALITY, SAFETY & OVERSIGHT
GROUP, CENTERS FOR MEDICARE & MEDICAID SERVICES, March 13, 2020, available at
https://clientcentral.mwe.com/cc/099746/0028/Documents/Research/Guidelines%20re%20COVID%20a
nd%20IC/CMS/2020-03-13%20CMS%20-%20nursing-home-guidance-covid-19.pdf.

                                                        171
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 172 of 174




875   Interview of Melissa Cumming, Department of Public Health Epidemiologist (May 8, 2020).
876   Interview of Mary Bergeron, Licensed Practical Nurse II (May 1, 2020).
877“Policies and Procedures for Restricting Resident Visitors in Nursing Homes and Rest Homes and Personal
Protective Equipment Recommendation Updates during the COVID-19 Outbreak,” MASSACHUSETTS
DEPARTMENT OF PUBLIC HEALTH, March 16, 2020. ”Early reports suggest person-to-person transmission
most commonly happens during close exposure to a person infected with COVID-19.” Id.
878Text exchange between Secretary Urena and Bennett Walsh (March 29, 2020 (12:16 PM (EST))
(GOV0051814)
879Interview of Eileen Gregersen, Licensed Practical Nurse (April 24, 2020). One aide reported that she was
only allowed to wear a mask later in the day on March 17, after Veteran 1 had been tested. Interview of Elisia
Stafford, Nursing Assistant I (April 28, 2020).
880   Interview of Emily Boronski, Registered Nurse II (May 21, 2020).
881   Id.
882   Id.
  Email from Kwesi Ablordeppey to Bennett Walsh, Cory Bombredi, Jeffrey Krok, Suzanne Quersher, Brenda
883

Rodrigues, and Maureen Medeiros (March 24, 2020 8:39PM (EST)) (REVPROB0028-00007765).
884See e.g., Interview of Eileen Gregerson, Licensed Practical Nurse II (April 24, 2020); Interview of Sherrie
Gentile, Nursing Assistant I (April 22, 2020); Interview of Melissa James, Nursing Assistant III (April 20, 2020);
Interview of Donna Mancini, Medical Assistant (May 4, 2020).
885   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
  Incident Report email from Kwesi Ablordeppey to Bennett Walsh, Cory Bombredi, Jeffrey Krok, Suzanne
886

Quersher, Brenda Rodrigues, and Maureen Medeiros (March 24, 2020 8:39PM (EST)) (REVPROB0028-
00007765).
887   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
888   Id.
889   Interview of Lisa Colombo, Soldiers’ Home Incident Command Lead (April 13, 2020).
890   Interview of Valenda Liptak, Soldiers’ Home Interim Administrator (April 9, 2020).
891   Interview of Karl Bartscht, BRG (June 18, 2020).
892   See Mass. Gen. Laws c. 6A, § 16.
893   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
894   Id.; Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
895   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
896   Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
897   Id.
898   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
899   Interview of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
900   Id.
901   Id.
902   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).

                                                         172
            Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 173 of 174




903   Id.
904   Id.
905   Id.
906   Id.
907   Interview of Marylou Sudders, Secretary EOHSS (May 28, 2020).
908   Interview of David Laplante, Former Soldiers’ Home Deputy Superintendent (May 4, 2020).
909   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
910   Id.
911   Id.
912   Mass. Gen. Laws Ann. C. 115A, § 12
913Email     from Bennett Walsh to Secretary Urena et al. (March 21, 2020 (10:54 PM (EST)) (GOV0045632)
914   Interview of Daniel Tsai, Acting Secretary of EOHSS (May 27, 2020).
915   Interview of Bennett Walsh, Soldiers’ Home Superintendent (June 1, 2020).
916   Id.
917   Interview of Melissa Cumming, Department of Public Health Epidemiologist, May 8, 2020.
918 Text exchange between Secretary Urena and Bennett Walsh (March 29, 2020 (12:16 PM (EST))

(GOV0051814)
919   Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020).
920Email from Colleen Arons to Mark Yankopoulos (March 27, 2020 4:44 PM (EST)) (REVPROB0028-
00007356). ).
921   Id.
922Email from Secretary Urena to Cheryl Poppe and Bennett Walsh (March 29, 2020 10:38 AM (EST))
(REVPROB0028-00006800).
923   Interview of Stuart Ivimey, General Counsel of the Department of Veterans Services (June 4, 2020).
924   Id.
925   Id.
926   Text Messages between Mark Yankopoulos and Bennett Walsh (March 29, 2020).
927   Interview of Paul Barabani, Former Superintendent of the Soldiers’ Home (April 28, 2020).
928 Holyoke Soldiers’ Home Gets Overhaul in Wake of Deaths, WBUR (May 13, 2020), available at
https://www.wbur.org/news/2020/05/13/holyoke-soldiers-home-management-fewer-residents-safety.
929   Interview of Mark Bowman, President, National Association of State Veteran Homes (May 6, 2020).
930   Interview of Valenda Liptak, Interim Superintendent of the Soldiers’ Home in Holyoke (April 9, 2020).
931 Interview of Francisco Urena, Secretary of the Department of Veterans’ Services (May 28, 2020); Interview

of Paul Moran, Department of Veterans’ Services Chief of Staff (May 26, 2020).
932Email from Bennett Walsh to Francisco Urena (March 28, 2020 10:03PM (EST)) (REVPROB0028-
00007079). In response to a complaint from Brenda Rodriguez, raising the alarm to Secretary Sudders about
the unfolding crisis at the Soldiers’ Home, Mr. Walsh responded: “Mr. Secretary; what should be discussed is


                                                       173
      Case 3:20-cv-30194-MGM Document 1-3 Filed 12/23/20 Page 174 of 174




the amount of call outs by 888 the past week. The reference that the management is creating this issue and has
a part in deaths is very concerning.” Id.




                                                     174
